                 Case 18-12309-JKS             Doc 17      Filed 10/10/18        Page 1 of 77

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
                                                       1
ONE AVIATION CORPORATION, et al.,                              :   Case No. 18-12309 (____)
                                                               :
                  Debtors.                                     :   Joint Administration Requested
                                                               :
---------------------------------------------------------------x

       CERTIFICATION OF DEBTORS’ CONSOLIDATED LIST OF CREDITORS

        In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and Rule
1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the “List”)
of ONE Aviation Corporation and its above-captioned affiliated debtors as debtors in possession
(collectively, the “Debtors”) is filed by attachment hereto.

       The List has been prepared on a consolidated basis, from the Debtors’ books and records.
The undersigned, the Secretary of each of the Debtors, hereby certifies that the List contains the
names and addresses of all creditors of the Debtors that could be ascertained after diligent
inquiry, based on a review of the Debtors’ books and records, and is consistent with Local Rule
1007-2(a). The Debtors reserve the right to amend or supplement the list as necessary.

         Although the information contained in the List is based on a review of the Debtors’ books
and records, the Debtors have not completed a comprehensive legal and/or factual investigation
with regards to possible defenses of the Debtors and their estates to any claims of the potential
claimants included in the List. In addition, certain of the parties included in the List may not
hold outstanding claims as of the date hereof, and therefore may not be creditors of the Debtors
and their estates for purposes of these chapter 11 cases. Therefore, the List does not, and should
not be deemed or otherwise construed to, constitute either (i) a waiver of any defenses of the
Debtors and their estates to any claims that may be asserted against the Debtors and their estates
or (ii) an acknowledgement or admission of the validity, priority, or amount of any claims that
may be asserted against the Debtors and their estates.

Dated: October 10, 2018
       Wilmington, Delaware                      /s/ Michael Wyse
                                                 Michael Wyse
                                                 Chairman

1
        The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
        number, as applicable, are: ONE Aviation Corporation (9649); ACC Manufacturing, Inc. (1364); Aircraft
        Design Company (1364); Brigadoon Aircraft Maintenance, LLC (9000); DR Management, LLC (8703);
        Eclipse Aerospace, Inc. (9000); Innovatus Holding Company (9129); Kestrel Aircraft Company, Inc.
        (2053); Kestrel Brunswick Corporation (6741); Kestrel Manufacturing, LLC (1810); Kestrel Tooling
        Company (9439); and OAC Management, Inc. (9986). The Debtors’ corporate headquarters is located at
        3250 Spirit Drive SE, Albuquerque, NM 87106.
208 AVIATION CC          Case    18-12309-JKS
                                        3M        Doc 17      Filed 10/10/18   Page  2 of 77
                                                                                 50 WORDS LLC
PO BOX 14556                            2807 PAYSPHERE CIR                       615 PROSPECT STREET
SINOVILLE                               CHICAGO, IL 60674                        MAPLEWOOD, NJ 07040
PRETORIA 0129 SOUTH AFRICA




A&G MACHINE INC.                        A&M PRECISION MEASURING SERVICES         AAA-ACME RUBBER COMPANY
1231 37TH ST NW                         23414 SE 244 CT.                         2003 E. 5TH STREET #1
AUBURN, WA 98001                        MAPLE VALLEY, WA 98038                   TEMPE, AZ 85281




AARON ANDREWS                           AARON ATKINS                             AARON DARNELL
1960 CORTA RUSTICA                      5901 W. EASTWOOD AVE                     100 S. GENEVA RD, UNIT K401
LOS LUNAS, NM 87031                     CHICAGO, IL 60630                        VINEYARD, UT 84058




AB TIRE COMPANY                         ABBOTT AEROSPACE SEZC LTD                ABCWUA
2848 GIRARD BLVD                        BAYTOWN PLAZA, 68 WEST BAY ROAD          ONE CIVIC PLAZA NW
LAS VEGAS, NV 87707                     PO BOX 10315                             ROOM 5027
                                        GEORGE TOWN KY1-1003                     ALBUQUERQUE, NM 87102
                                        GRAND CAYMAN CAYMAN ISLANDS



ABCWUA                                  ABCWUA                                   ABQ AIRPORT
PO BOX 1313                             PO BOX 27226                             2200 SUNPORT BLVD
ALBUQUERQUE, NM 87103                   ALBUQUERQUE, NM 87125-7226               ALBUQUERQUE, NM 87106




ABQ AUTO PARTS, LLC                     ABQ LEDA (ECON DEV)                      ABS TOOLS
100 INDUSTRIAL AVE NE                   NEW MEXICO ECONOMIC DEV DEPT             401 W. LONE CACTUS D. SUITE 1
ALBUQUERQUE, NM 87107                   JOSEPH M. MONTOYA BUILDING               PHOENIX, AZ 85027
                                        1100 S. ST FRANCIS DRIVE
                                        SANTA FE, NM 87505



ACADEMY REPROGRAPHICS                   ACAR AUTO RENTAL                         ACC MANUFACTURING INC.
8900 N. SAN MATEO BLVD NE               2521 MILLER TRUNK HWY                    2 PEGASUS STREET
ALBUQUERQUE, NM 87113                   DULUTH, MN 55811                         BRUNSWICK, ME 04011




ACCESS EVENT SOLUTIONS                  ACCOUNTEMPS                              ACEINNA TRANSDUCER SYSTEM CO, LTD.
1410 GREG ST SUITE 412                  865 S. FIGUEROA STREET, SUITE 2600       NO. 2 XINHUILHUAN ROAD WUXI NEW DIS
SPARKS, NV 89431                        LOS ANGELES, CA 90017-25439              WUXI, JIANGSU, P.R. 214028 CHINA




ACER EXHIBITS & EVENTS, LLC             ACES                                     ACME INDUSTRIAL SUPPLY
4610 MERCEDES DRIVE, SUITE 210          418 VALLEY AVE NW, BLDG B, SUITE 11      441 MAPLE AVENUE
BELCAMP, MD 21017                       PUYALLUP, WA 98371                       CARPENTERSVILLE, IL 60110




ACME TOOLS                              ACME TOOLS                               A-COPI IMAGING SYSTEMS
4332 GRAND AVENUE                       PO BOX 13720                             PO BOX 2240
DULUTH, MN 55807-2738                   GRAND FORKS, ND 58208-3720               AUGUSTA, ME 04338
ACR ELECTRONICS, INC.     Case 18-12309-JKS    Doc 17INC.Filed 10/10/18
                                      ACR ELECTRONICS,                       Page  3 of PANELS
                                                                               ACT TEST 77     LLC
2-12 JEFFRIES STREET                   5757 RAVENSWOOD ROAD                    273 INDUSTRIAL DRIVE
BOSTON, MA 02128                       FORT LAUDERDALE, FL 33312-6645          HILLSDALE, MI 49242




ACTION HOSE, INC.                      ADAM BELMORE                            ADAM FLORES
3315 STANFORD DR NEW                                                           687 ARKANSAS ST SE
ALBUQUERQUE, NM 87107                                                          RIO RANCHO, NM 87124




ADAM HANCEY                            ADAMS BALLOONS LLC                      ADAPCO
3836 BUCKSKIN LOOP NE                  3900 2ND STREE NW                       550 AERO LN
RIO RANCHO, NM 87144                   ALBUQUERQUE, NM 87107                   SANFORD, FL 32771




ADELANTE DEVELOPMENT CTR, INC          ADELANTE DOCUMENT DESTRUCTION SERVI     ADP
3900 OSUNA RD NE                       1618 1ST STREET NW                      400 W COVINA BLVD
ALBUQUERQUE, NM 87109                  ALBUQUERQUE, NM 87102                   SAN DIMAS, CA 91773




ADP                                    ADRIAN ARROYO-ALVAREZ                   ADRIAN NORRIS
ONE ADP BOULEVARD                      5764 LIZARD LN. SW
MAIL STOP C421                         ALBUQUERQUE, NM 87121
ROSELAND, NJ 07068




ADVANCED AIRCRAFT SEAL                 ADVANCED AVIATION RENO, INC.            ADVANCED CHEMICAL TRANSPORT INC
3051 MYERS STREET                      655 S ROCK BLVD                         6137 EDITH BOULEVARD NE
RIVERSIDE, CA 92503                    RENO, NV 89502                          ALBUQUERQUE, NM 87105




ADVANCED DISTRIBUTION SOLUTIONS        ADVANCED ENGINEERING TECHNOLOGIES       ADVANCED PRESENTATION SYSTEMS
955 N. PLUM GROVE RD                   401 MARKET STREET                       6729 LUELLA ANNE NE
SCHAUMBURG, IL 60173                   PHILADELPHIA, PA 19106                  ALBUQUERQUE, NM 87109




ADVENT AIRCRAFT SYSTEMS, INC.          ADVENT AIRCRAFT SYSTEMS, INC.           AEARO TECHNOLOGIES LLC
8712 SOUTH PEORIA AVENUE               KENNARD E. GOLDSMITH JR MANAGING        DENISE RUTHERFORD PRESIDENT
TULSA, OK 74132                        DIRECTOR                                7911 ZIONSVILLE ROAD
                                       500 BRACKETT ROAD                       INDIANAPOLIS, IN 46268
                                       RYE, NH 03870



AEARO TECHNOLOGIES, LLC                AERAZUR-ZODIAC AEROSPACE,               AERIS AVIATION
PO BOX 844202                          CORPORATION                             BRANSCOMBE AIRFIELD
DALLAS, TX 75284                       PATRICE COLLIN                          BRANSCOMBE, SEATON EX12 3BL GREAT
                                       4 RUE LESAGE MAILLE                     BRITAIN
                                       CAUDEBEC, LES EIBEUF 76320 FRANCE



AERO EXPO CORPORATE SERVICES, INC      AERO PERFORMANCE                        AERO RUBBER CO., INC.
1133 BUCHANAN AVE                      PO BOX 4000                             8100 WEST 185TH STREET
OSHKOSH, WI 54902                      CORONA, CA 92878                        TINLEY PARK, IL 60487
AERO SPECIALTIES, INC.     Case 18-12309-JKS     Doc 17
                                       AEROCAD, INC             Filed 10/10/18   Page 4 of 77 LTDA
                                                                                   AEROCARDAL,
11175 W. EMERALD                        1595 BLUFF DR.                             AV DIEGO BARROS ORTIZ N
BOISE, ID 83713                         FLORISSANT, MO 63031                       SANTIAGO 2065 CHILE




AEROFLEX WICHITA, INC.                  AERO-HOSE CORP                             AERO-HOSE CORP
10200 WEST YORK STREET                  JOSEPH LEMIEUX JR.VICE PRESIDENT           JOSEPH LEMIEUX JR.VICE PRESIDENT
WICHITA, KS 67215-8999                  1845 TOWN CENTER BLVD, SUITE 140           1845 TOWN CENTER BLVD.SUITE 140
                                        ORANGE PARK, FL 32003                      ORANGE PARK, FL 32003




AEROINDUSTRYJOBS, INC                   AERO-MACH TCO MANUFACTURING, INC.          AEROMAOZ
1001 WYNDHAM WAY, UNIT 1237             7707 E. FUNSTON                            MAIN OFFICE BLDG
KNOXVILLE, TN 37923                     WICHITA, KS 67207                          KIBBUTZ YAVNE 79233 ISRAEL




AERO-NEWS NETWORK, INC                  AEROPARTS MANUFACTURING & REPAIR           AEROPORTI DI PUGLIA
6001 ARGYLE FOREST BVLD, STE 21-252     431 RIO RANCHO BLVD NE                     431 RIO RANCHO BLVD NE
JACKSONVILLE, FL 32244                  RIO RANCHO, NM 87124                       RIO RANCHO, NM 87124




AEROPRO, INC.                           AEROSCIENCES, INC.                         AEROSONIC LLC
111 HUNTER ROAD                         2208 PINOAK KNOLLS                         1212 N. HERCULES AVE.
FREEPORT, ME 04032                      SAN ANTONIO, TX 78248                      CLEARWATER, FL 33765




AEROSPACE ASSOCIATES, LLC               AEROSPACE MANUFACTURING TECH               AEROSPACE MANUFACTURING, INC.
CHRIS JACKMAN                           20100 71ST AVE NE                          1045 GEMINI ROAD
6340 BOBCAT HILL PLACE NE               ARLINGTON, WA 98223                        EAGAN, MN 55121
ALBUQUERQUE, NM 87111




AEROSPACE OPTICS, INC                   AEROSPACE PRODUCTS INTERNATIONAL           AERO-SPACE REPORTS
3201 SANDY LANE                         3778 DISTRIPLEX DRIVE NORTH                P.O. BOX 720452
FORT WORTH, TX 76112                    MEMPHIS, TN 38118                          OKLAHOMA CITY, OK 73172




AEROSPACE TRUST MANAGEMENT GMBH         AERO-TECH ENGINEERING                      AEROTECT PROTECTIVE FILMS
BUSINESS AVIATION CENTRE 3RD FLOOR      2326 SOUTHEAST BLVD.                       1935 MCKINLEY AVE UNIT F
ZURICH 8058 SWITZERLAND                 WICHITA, KS 67211                          LA VERNE, CA 91750




AEROWIND CORPORATION                    AFCO CORPORATION                           AFCO CREDIT
ATTN: BILL KOUSENS                      4501 COLLEGE BLVD                          4501 COLLEGE BLVD
1959 JOHN TOWERS AVE                    SUITE 320                                  SUITE 320
EL CAJON, CA 92020                      LEAWOOD, KS 66211                          LEAWOOD, KS 66211




AFCO CREDIT                             AFCO CREDIT                                AFCO
5600 NORTH RIVER ROAD                   PO BOX 360572                              PO BOX 360572
SUITE 400                               PITTSBURGH, PA 15250-6572                  PITTSBURGH, PA 15250-6572
ROSEMONT, IL 60018
AGINSKY CONSULTING GROUP Case
                         LLC         18-12309-JKS     Doc
                                            AIDANT FIRE     17 Filed 10/10/18
                                                        & SECURITY              Page  5 of 77
                                                                                  AIMEEBETH MCLYNN
411 NW PARK AVENUE                           15836 NORTH 77TH ST                  11825 BROOK HILL CT
SUITE 402                                    SCOTTSDALE, AZ 85260                 ORLAND PARK, IL 60467
PORTLAND, OR 97209




AIR 88, INC. DBA CROWNAIR AVIATION           AIR COMM CORPORATION (ACC)           AIR COMM CORPORATION
RAY RICHMOND, GM                             KEITH STEINER, PRESIDENT             1575 WEST 12TH AVENUE
3753 JOHN J. MONTGOMERY DRIVE                1575 WEST 124TH AVENUE SUITE 210     SUITE 210
SAN DIEGO, CA 92123                          WESTMINSTER, CO 80234                WESTMINSTER, CO 80234




AIR GRAPHICS LLC                             AIR INCORPORATED                     AIRCRAFT PARTS CORPORATION
5525 BJORKSTEN PLACE                         8 FORGE PARK                         4611 WEST HARRY
FITCHBURG, WI 53711                          FRANKLIN, MA 02038                   WICHITA, KS 67209




AIRCRAFT SERVICING (GUERNSEY) LIMIT          AIRCRAFT SPRUCE                      AIRE FILTER PRODUCTS OF NEW MEXICO
WEST GRASS HANGAR LA PLANQUE LANE            AIRCRAFT SPRUCE & SPECIALITY         3324 COLUMBIA DR NE
FOREST GUERNSEY GY8 0DS GREAT                PO BOX 4000                          ALBUQUERQUE, NM 87107
BRITAIN                                      CORONA, CA 92878-4000




AIRPLUS MAINTENANCE GMBH                     AIRPLUS MAINTENANCE GMBH             AIRPORT JOURNALS
FLUGHAFEN 28                                 PETER SCHLEDER, CEO
FRIEDRICHSHAFEN D-88046 GERMANY              FLUGHAFEN 28
                                             FRIEDRICHSHAFEN GERMANY




AIRSPEED AVIATION                            AIRSPEED AVIATION                    AIRTECH INTERNATIONAL, INC.
2099 S SKYWEST DRIVE                         20995 SKYWEST DRIVE                  5700 SKYLAB ROAD
HAYWARD, CA 94541                            HAYWARD, CA 94541                    HUNTINGTON BEACH, CA 92647




AIRTECH RESOURCES, LLC                       AIRTECH RESOURCES, LLC               AIRWORTHINESS CONSULTING, LLC
349 CIELO AZUL                               RUSTY PICARD                         2855 E. BONANZA COURT
CORRALES, NM 87048                           349 CIELO AZUL                       GILBERT, AZ 85297
                                             CORRALES, NM 87048




AIS                                          AJ PUBLICATIONS                      AKTION SUPPLY INC
ADVANDED INSPECTION SERVICES                 1931 COMMERCE LANE                   28310 AVENUE CROCKER UNIT A
15150 25TH AVENUE NORTH                      JUPITER, FL 33458                    VALENCIA, CA 91355
SUITE 200
PLYMOUTH, MN 55447



ALABAMA DEPARTMENT OF REVENUE                ALABAMA DEPARTMENT OF REVENUE        ALABAMA DEPARTMENT OF REVENUE
50 NORTH RIPLEY STREET                       BUSINESS PRIVILEGE TAX SECTION       INDIVIDUAL AND CORPORATE TAX DIVISION
MONTGOMERY, AL 36104                         PO BOX 327431                        CORPORATE TAX SECTION
                                             MONTGOMERY, AL 36132-743             PO BOX 327430
                                                                                  MONTGOMERY, AL 36132-7430



ALAN ENZBIGILIS                              ALAN KLAPMEIER                       ALBANY ENGINEERED COMPOSITES, INC.
1425 71ST STEET                              3557 NELSON RD                       112 AIRPORT DRIVE
DOWNERS GROVE, IL 60516                      CLOQUET, MN 55720-9406               ROCHESTER, NY 03867
ALBERT BACA                   Case 18-12309-JKS    Doc 17
                                          ALBERT BELT            Filed 10/10/18   Page  6 ofMUNOZ
                                                                                    ALBERT   77
1061 CANAL BLVD                           6109 MURCIA NW                            2755 PARKLANE DR
LOS LUNAS, NM 87031                       ALBUQUERQUE, NM 87114                     BOSQUE FARMS, NM 87068




ALBUQUERQUE AIRPORT GOLF CHALLENGE        ALBUQUERQUE ECONOMIC DEVELOPMENT          ALBUQUERQUE FLORIST, INC.
ALBUQUERQUE, NM 87190                     INC                                       3121 SAN MATEO NE
                                          851 UNIVERSITY BLVD SE                    ALBUQUERQUE, NM 87110
                                          ALBUQUERQUE, NM 87106




ALBUQUERQUE FORKLIFT & EQUIPMENT          ALBUQUERQUE POLISHED CONCRETE CO.         ALBUQUERQUE RECYCLING, INC
5501 MIDWAY PARK PI NE                    2720A VASSAR NE                           3726 HAWKINS ST NE
ALBUQUERQUE, NM 87109                     ALBUQUERQUE, NM 87107                     ALBUQUERQUE, NM 87109




ALBUQUERQUE VALVE & FITTING               ALCOA INC.                                ALEXIS ARTERY
2732 VASSAR PLACE NE SUITE A              201 ISABELLA STREET                       724 CARLISLE BLVD SE
ALBUQUERQUE, NM 87107                     PITTSBURGH, PA 15212                      ALBUQUERQUE, NM 87106




ALFRED E. MANN LIVING TRUST DATED         ALFRED E. MANN LIVING TRUST DATED         ALFREDO CALZADILLAS
04/09/99                                  04/09/99                                  343 E. FAIRGROUND DR
25134 RYE CANYON LOOP                     25134 RYE CANYON LOOP                     TUCSON, AZ 85714
ALFRED MANN                               ALFRED MANN
VALENCIA, CA 91335                        VALENCIA, CA 91355



ALFREDO PEREZ                             ALI MODARES                               ALIJHA LEBEAU
1928 GUNNISON PL NW                       6987 ELLIOT PARLIAMENT ST                 8000 MONTGOMERY NE APT 904
ALBUQUERQUE, NM 87120                     MISSISSAUGA, ON L5W 1B7                   ALBUQUERQUE, NM 87109




ALLIANCE COATING INC.                     ALLIED WIRE & CABLE                       ALP AVIATION CORPORATION
1666 N MAGNOLIA AVE STE G                 101 KESTREL DRIVE                         SENAY IDIL GENERAL MANAGER
EL CAJON, CA 92020                        COLLEGEVILLE, PA 19426                    ORGANIZE SANAYI8INCI CADDE
                                                                                    ESKISEHIR 26110 TURKEY




ALP AVIATION                              ALPHA GRAPHICS                            ALTOVA, INC
ORGANIZE SAN. BOLG. 8. CAD.               2002 C CERRILLOS RD                       900 CUMMINGS CENTER
ESKISEHIR 26110 TURKEY                    SANTA FE, NM 87505                        BEVERLY, MA 01915




AMANDA BRANTLEY                           AMANDA MONTANO                            AMAZON
517 VISTA PORTOLA LOOP                    7412 MESQUITE WOOD DR NW                  701 5TH AVENUE
LIBERTY HILL, TX 78642                    ALBUQUERQUE, NM 87120                     SEATTLE, WA 98104




AMERCIAN PROMOTIONAL PRODUCTS             AMERICAN AUTOCLAVE CO                     AMERICAN BARCODE AND RFID
7240 CROSS PARK DRIVE                     7819 RIVERSIDE ROAD EAST                  3431 EAST ELWOOD STREET
NORTH CHARLESTON, SC 29418                SUMMER, WA 98390                          PHOENIX, AZ 85040
                        Case
AMERICAN CARPET WHOLESALERS       18-12309-JKS    Doc 17SERVICE
                                         AMERICAN CHARGE   Filed 10/10/18   Page 7 of 77
                                                                              AMERICAN EXPRESS
PO BOX 1954                               834 E. RAND ROAD                    PO BOX 650448
DALTON, GA 30722-1954                     MT. PROSPECT, IL 60056              DALLAS, TX 75265




AMERICAN KESTREL COMPANY LLC              AMERICAN PRECISION AVIONICS         AMERICAN STEEL & ALUMINUM
95 BROWN RD, STE 1005                     3815 PROSPERITY ROAD                PO BOX 415890
ITHACA, NY 14850                          DULUTH, MN 55811                    BOSTON, MA 02241-5890




AMERICAN WELDING & GAS                    AMERIGAS                            AMEX
6944 S PULASKI RD                         PO BOX 192                          PO BOX 650448
CHICAGO, IL 60629                         PERALTA, NM 87042                   DALLAS, TX 87106




AMPLIFY LLC                               AMSAFE                              AMSOIL
186 SEVEN FARMS DR STE F#399              1043 NORTH 47TH AVE                 925 TOWER AVE
CHARLESTON, SC 29492                      PHOENIX, AZ 85043                   SUPERIOR, WI 54880




ANALYTICAL SOLUTIONS, INC.                ANDERSON PEST SOLUTIONS             ANDREA GIRON
10401 RESEARCH RD SE                      PO BOX 600670                       8100 BARSTOW ST NE, APRT 15201
ALBUQUERQUE, NM 87123                     JACKSONVILLE, FL 32260              ALBUQUERQUE, NM 87122




ANDRES GEORGIEFF                          ANDREW GORDON                       ANDREW LIDDY
207 LANIER DR SE                          7523 SAN BENITO NW                  569 EASTERN PARKWAY
ALBUQUERQUE, NM 87123                     ALBUQUERQUE, NM 87120               LOUISVILLE, KY 40217




ANDREW NEILD                              ANDY PRODOEHL                       ANDY PRUDHOMME
571 EAST AVE                              1864 ASHFORD LANE                   18210 PINE VISTA PL.
STREAMWOOD, IL 60107                      CRYSTAL LAKE, IL 60014              COLORADO SPRINGS, CO 80908




ANGELA BACA                               ANITA JOHNSON                       ANN WALKO
21 MANZANO VIEW RD                                                            C/O KESTREL AIRCRAFT
LOS LUNAS, NM 87031                                                           2 PEGASUS ST
                                                                              BRUNSWICK, ME 04011




ANNE SALADINO                             ANNE WELCH                          ANTENNA HOUSE, INC
5408 DONAHOO CT NE                        3137 N KIMBALL AVE                  POWDER MILL SQUARE MALL BUILDING
ALBUQUERQUE, NM 87111                     CHICAGO, IL 60618                   GREENVILLE, DE 19807




ANTHEM BCBS                               ANTHONY CORDOVA                     ANTHONY CURRANS
ANTHEM BLUE CROSS & BLUE SHIELD           6220 WHISPER RIDGE                  2 GOLDENROD
ATTN: SMALL GROUP UNDERWRITING            ALBUQUERQUE, NM 87120               LOS LUNAS, NM 87031
N17 W24340 RIVERWOOD DRIVE
WAUKESHA, WI 53188
ANTHONY GALLEY         Case 18-12309-JKS     Doc 17
                                   ANTHONY MAIURA             Filed 10/10/18   Page  8 of MELONE
                                                                                 ANTHONY  77
14 RIVERSIDE CLOSE                 1031 POTLATCH DR                              426 MARSHALL RD
WILSHIRE                           FOX ISLAND, WA 98333                          BENENVILLE, IL 60106
LAVERSTOCK SP1 1QW GREAT BRITAIN




ANTHONY MONTFORD                     ANTHONY PULOS                               ANTHONY STANGANELLI
12432 TULAROSA TR NE                 100 PINE CT. SE                             1364 REYNOSA LOOP
ALBUQUERQUE, NM 87111                RIO RANCHO, NM 87124                        RIO RANCHO, NM 87124




ANTHONY THOMAS                       ANTHONY WYATT                               ANTONIO SALINAS
10904 TANZANITE DRIVE NW             6500 MONTGOMERY BLVD NEAPT232               6000 UNITAS LANE NW
ALBUQUERQUE, NM 87114                ALBUQUERQUE, NM 87109                       ALBUQUERQUE, NM 87114




AON PREMIUM FINANCE LLC              AON RISK SERVICES CENTRAL, INC.             AON RISK SERVICES
200 E RANDOLPH STREET                ATTN: JOHN GEISEN & LARISSA SHECK           THE AON CENTER
CHICAGO, IL 60601                    5600 WEST 83RD STREET                       THE LEADENHALL BLDG.
                                     MINNEAPOLIS, MN 55437                       122 LEADENHALL STREET
                                                                                 LONDON EC3V 4AN



AOPA                                 AOPA                                        AP TECHNOLOGY
ATTN: ACCOUNTS RECEIVABLE            ATTN: AOPA AVIATION SUMMIT                  5973 AVENIDA ENCINAS, SUITE 140
421 AVIATION WAY                     421 AVIATION WAY                            CARLSBAD, CA 92008
FREDERICK, MD 21701                  FREDERICK, MD 21701




API                                  APPLIED AVIONICS, INC.                      ARCONIC FASTENING SYSTEMS & RINGS
PO BOX 535447                        3201 SANDY LANE                             3724 E. COLUMBIA STREET
ATLANTA, GA 30353-5447               FORT WORTH, TX 76112                        TUCSON, AZ 85714




ARCONIC INC.                         ARCPOINT LABS OF CHARLESTON                 ARENA AMERICAS
201 ISABELLA STREET                  2470 MALL DRIVE SUITE A                     7000 S 10TH STREET
PITTSBURGH, PA 15212                 NORTH CHARLESTON, SC 29406                  OAK CREEK, WI 53154




ARENA AMERICAS                       ARIZONA AIRCRAFT EXPO                       ARLINGTON INTERNATIONAL AVIATION PR
PO BOX 776368                        19417 N 101ST STREET                        7321 COMMERCIAL BLVD. EAST
CHICAGO, IL 60677-6368               SCOTTSDALE, AZ 85255                        ARLINGTON, TX 76001




ARMANDO SANCHEZ                      ARMID CHICK                                 ARMSTRONG SERVICES, INC
1928 GUNNISON PL NW                  10139 AVENIDA VISTA SOL NW                  2409 PRINCETON NE
ALBUQUERQUE, NM 87120                ALBUQUERQUE, NM 87114                       ALBUQUERQUE, NM 87107




ARROWHEAD PRINTING                   ARTEX AIRCRAFT SUPPLIES, INC.               ARTISTIC UPHOLSTERY
625 HUGHITT AVENUE                   5757 RAVENSWOOD ROAD                        5600 MCLEOD ROAD, NE, STE S
SUPERIOR, WI 54880                   FORT LAUDERDALE, FL 33312                   ALBUQUERQUE, NM 87109
ASA ARDEN                     Case 18-12309-JKS   DocSOLUTIONS
                                          ASCENDBRIDGE 17 Filed   10/10/18
                                                               INC.              Page 9 of 77
                                                                                   ASCENSION AIR
                                           50 ACADIA AVE SUITE 123                 2007 FLIGHTWAY DR
                                           MARKHAM L3R 0B3 CANADA                  ATLANTA, GA 30341




ASG LTD                                    ASHLEY SALAZAR                          ASIG ALBUQUERQUE
ASG LTD                                    36 VISTA DEL CERRO                      P.O. BOX 402458
WEST GRASS HANGAR, LA PLANQUE LANE         LOS LUNAS, NM 87031                     ATLANTA, GA 30384
FOREST GUERNSEY




ASPEN AVIONICS                             ASSEMBLY GUIDANCE SYSTEMS, INC          ASSOCIATED GLOBAL SYSTEMS INC.
5001 INDIAN SCHOOL ROAD NE                 27 INDUSTRIAL AVENUE                    3333 NEW HYDE PARK ROAD
ALBUQUERQUE, NM 87110                      CHELMSFORD, MA 01824                    NEW HYDE PARK, NY 11042




ASSURANCE HEATING & AIR CONDITIONIN        ASTRONICS ADVANCED                      ASTRONICS LUMINESCENT SYSTEMS, INC.
760 HASTINGS LN                            12950 WILLOWS ROAD NE                   130 COMMERCE WAY
BUFFALO GROVE, IL 60089                    KIRKLAND, WA 98034                      EAST AURORA, NY 14052-2164




ASTRONICS LUMINESCENT SYSTEMS, INC.        ASTROSEAL PRODUCTS MFG CORPORATION      AT&T
4 LUCENT DRIVE                             85 AIRPORT INDUSTRIAL PARK RD           AT&T MOBILITY
LEBANON, NH 03766                          CHESTER, CT 06412                       PO BOX 6463
                                                                                   CAROL STREAM, IL 60197-6463




AT&T                                       AT&T                                    AT&T
AT&T MOBILITY                              ONE AT&T WAY                            PO BOX 5080
PO BOX 6463                                BEDMINSTER, NJ 07921                    CAROL STREAM, IL 60197-5080
CAROL STREAM, IL 60197-6483




AT&T                                       ATLAS INSPECTION TECHNOLOGIES, INC.     ATP
PO BOX 6463                                500 ELLIOTT AVENUE                      101 SOUTH HILL DRIVE
CAROL STREAM, IL 60197-6463                WEST SEATTLE, WA 98119                  QLD
                                                                                   BRISBANE 94005-1251 AUSTRALIA




ATTORNEY GENERAL FOR STATE OF              ATTORNEY GENERAL FOR STATE OF NEW       ATTORNEY GENERAL FOR STATE OF
CALIFORNIA                                 MEXICO                                  WISCONSIN
ATTN: XAVIER BECERRA                       ATTN: HECTOR BALDERAS                   ATTN: BRAD SCHIMEL
CALIFORNIA DEPARTMENT OF JUSTICE           201 3RD ST NW                           WISCONSIN DEPARTMENT OF JUSTICE
P.O. BOX 944255                            SUITE 300                               P.O. BOX 7857
SACRAMENTO, CA 94244-2550                  ALBUQUERQUE, NM 87102                   MADISON, WI 53703-7857


ATTORNEY GENERAL FOR THE STATE OF          AU LY                                   AUDREY KING
ILLINOIS                                   6200 EUBANK BLVD NE #2035               3517 SHILOH RD NE
ATTN: LISA MADIGAN                         ALBUQUERQUE, NM 87111                   RIO RANCHO, NM 87144
100 WEST RANDOLPH STREET
CHICAGO, IL 60601



AUDREY MORRIS-ECKART                       AUTO VALUE PAINT & BODY                 AUTODESK
4412 DE LA CRUZ NW                         1726 W MICHIGAN ST                      PO BOX 2188
ALBUQUERQUE, NM 87107                      DULUTH, MN 55806                        CAROL STREAM, IL 60132-2188
                       Case
AUTOMATED CONTROL SYSTEMS, INC18-12309-JKS      Doc 17INC.Filed
                                      A-VAC INDUSTRIES,           10/10/18   Page 10 of 77 INTEGRATED SYSTEMS
                                                                               AVALEX/LEXAVIA
5801 MCLEOD NE                        1845 SO. LEWIS ST                        2665 GULF BREEZE PKWY
ALBUQUERQUE, NM 87109                 ANAHEIM, CA 92805                        GULF BREEZE, FL 32563




AV-DEC                                 AVENTURE GROUP                          AVERY BLACKBURN
3215 W LOOP 820 S                      PO BOX 76 562                           16108 TERRY LN
FORT WORTH, TX 76116                   MANUKAU CITY 2241 NEW ZEALAND           HUNTERSVILLE, NC 28078




AVFUEL CORPORATION                     AVIALL SERVICES                         AVIALL SERVICES
PO BOX 1387                            2750 REGENT BLVD                        PO BOX 842267
ANN ARBOR, MI 48108-1387               DALLAS, TX 75261-9048                   DALLAS, TX 75284-2267




AVIATION BUSINESS CONSULTING, LLC      AVIATION EXPO LLC                       AVIDYNE CORPORATION
10707 BALDWIN AVE NE                   LAS VEGAS, NV 89125                     ACCOUNTS RECEIVABLE
ALBUQUERQUE, NM 87112                                                          55 OLD BEDFORD RD
                                                                               LINCOLN, MA 01773




AVILUTION, LLC                         AVION GRAPHICS                          AVIONIC INSTRUMENTS LLC
2000 HOUSTON GOODSON WAY, HANGAR B     27192 BURBANK                           1414 RANDOLPH
HUNTSVILLE, AL 35824                   FOOTHILL RANCH, CA 92610                AVENEL, NJ 07001




AVIONTEQ                               AZTEC DISCOUNT SUPPLIES INC             B & B SERVICES, INC.
7240 HAYVENHURST PL                    1521 BROADWAY NE SUITE C                P.O. BOX 4826
VAN NUYS, CA 91406                     ALBUQUERQUE, NM 87102                   BUFFALO GROVE, IL 60089




B MILLER PRODUCTS, INC                 B&B PRECISION MACHINE, INC.             B/E AEROSPACE INC.
PO BOX 544                             6762 HIGHWAY 431 SOUTH                  10800 PFLUMM ROAD
HIBBING, MN 55746                      OWENS CROSS ROADS, AL 35763             LENEXA, KS 66215-4061




B/E AEROSPACE INC.                     B/E AEROSPACE, INC.                     BALDACCI CONSULTING GROUP
88269 EXPEDITE WAY                     JEAN-PIERRE POULON VP                   254 COMMERCIAL ST
CHICAGO, IL 60695-0001                 10800 PFLUMM ROAD                       PORTLAND, ME 04101
                                       LENEXA, KS 66215




BALLARD TECHNOLOGY, INC                BANK OF AMERICA                         BANK OF MAINE
11400 AIRPORT RD, SUITE 201            P.O. BOX 15220                          99 ENTERPRISE DRIVE
EVERETT, WA 98204                      WILMINGTON, DE 19886                    SUITE B
                                                                               GARDINER, ME 04935




BANK OF UTAH                           BANKRUPTCY MANAGEMENT SOLUTIONS         BARFIELD, INC.
200 EAST SOUTH TEMPLE, SUITE 210       INC                                     4101 N.W. 29TH STREET
SALT LAKE CITY, UT 84111               ATTN: MORGAN WISBEY                     MIAMI, FL 33142
                                       5 PETER'S CANYON RD
                                       SUITE 200
                                       IRVINE, CA 92606
                       Case
BARRY WRIGHT CORPORATION         18-12309-JKS     Doc 17
                                         BATH INDUSTRIAL     Filed 10/10/18
                                                         SALES                Page 11- HEALTH
                                                                                BCBS    of 77 CARE CORPORATION
NEIL E O'HARA                             56 NEW MEADOWS ROAD                    5701 BALLOON FIESTA
4510 VANOWEN STREET                       WEST BATH, ME 04530                    PARKWAY NE
BURBANK, CA 91505                                                                ALBUQUERQUE, NM 87113




BCBS - HEALTH CARE CORPORATION            BCBS OF NEW MEXICO, A DIVISION OF      BCC PRODUCTS, INC.
PO BOX 27630                              HEALTH CARE SERVICE CORPORATION        PO BOX 327
ALBUQUERQUE, NM 87125-7630                MAUREEN SERGEL                         FRANKLIN, IN 46131
                                          PO BOX 27630
                                          ALBUQUERQUE, NM 87125



BEATRICE CERVANTES                        BEAU KLINGBEIL                         BEAU WALSH DESIGN LLC
7215 MAYO ST. NW                          2700 ROSEWOOD CT                       600 N 23RD AVE E APT 205
ALBUQUERQUE, NM 87120                     WOODRIDGE, IL 60517                    DULUTH, MN 55812




BECKER & ASSOCIATES, INC                  BELINDA GUERNSEY                       BEMSCO, INC.
563 COMMONWEALTH DR.                      44 JENSEN LN                           1193 SOUTH 400 WEST
EAST DUNDEE, IL 60118                     BELEN, NM 87002                        SALT LAKE CITY, UT 84660




BENEFITFOCUS.COM, INC                     BENJAMIN CORK                          BENSON ELECTRIC COMPANY
100 BENEFITFOCUS WAY                      1N040 POULEY RD                        TM ELECTRIC MOTORS
CHARLESTON, SC 29492                      ELBURN, IL 60119                       1102 NORTH THIRD STREET
                                                                                 SUPERIOR, WI 54880




BENTLEY & ASSOCIATES, LLC                 BERENDSEN FLUID POWER                  BERNADETTE GARCIA
4900 PAN AMERICAN FWY                     3250 QUENTIN STREET, UNIT 136          PO BOX 92965
ALBUQUERQUE, NM 87109                     AURORA, CO 80011                       ALBUQUERQUE, NM 87199




BERNALILLO COUNTY TREASURER               BERNALILLO COUNTY TREASURER            BEST WESTERN PLUS BRUNSWICK BATH
ONE CIVIC PLAZA NW, BASEMENT              PO BOX 269                             71 GURNET ROAD
ALBUQUERQUE, NM 87102                     ALBUQUERQUE, NM 87103                  BRUNSWICK, ME 04011




BEST WESTERN PREMIER WATERFRONT           BESTSTAFF, INC                         BETATRON ELECTRONICS
OSHKOSH                                   PO BOX 65550                           1381 FLIGHTWAY SE #B
PO BOX 1203                               ALBUQUERQUE, NM 87193                  ALBUQUERQUE, NM 87106
OSHKOSH, WI 54903-11203




BETH SKYE                                 BHW COMPONENTS LTD.                    BI TECHNOLOGIES, INC.
1023 WEEKS AVE.                           WORTHINGTON WAY, HAWKLEY BROOK         4200 BONITA PLACE
SUPERIOR, WI 54880                        WIGAN WN3 6XE GREAT BRITAIN            FULLERTON, CA 92835




BIALSON, BERGEN & SCHWAB                  BILL ALBERTS CONSULTING                BILL BARCLAY
633 MENLO AVE, SUITE 100                  PO BOX 7452                            7304 CALLE MONTANA NE
MENLO PARK, CA 94025                      HILTON HEAD, SC 29938                  ALBUQUERQUE, NM 87113
BINGHAM AVIATION SERVICESCase
                         LLC    18-12309-JKS    Doc 17 Filed 10/10/18
                                        BIRCH COMMUNICATIONS                 Page 12COMMUNICATIONS
                                                                               BIRCH of 77
14601 S. LOCUST ST.                     320 INTERSTATE NORTH PARKWAY           PO BOX 105066
OLATHE, KS 66062                        SOUTHEAST                              ATLANTA, GA 30348-5066
                                        ATLANTA, GA 30339




BIRK AEROSYSTEMS CORPORATION            BISCO INDUSTRIES                       BJG ELECTRONICS, INC.
14321 COMMERCE DRIVE                    1500 N LAKEVIEW AVE                    141 REMINGTON BLVD
GARDEN GROVE, CA 92843                  ANAHEIM, CA 92807                      RONKONKOMA, NY 11779-6911




BLACK DUCK, INC.                        BLAIR EQUIPMENT COMPANY                BLUE CROSS BLUE SHIELD OF NEW MEXICO
4820 PAN AMERICAN FWY NE                P.O. BOX 2005                          4411 THE 25 WAY
ALBUQUERQUE, NM 87109                   FLINT, MI 48501                        ALBUQUERQUE, NM 87109




BLUE CROSS BLUE SHIELD OF NM            BLUE CROSS BLUESHIELD OF NM            BLUE RIDGE PAINT
4411 THE 25 WAY                         CHICAGO, IL 60690                      8605 BLUE RIDGE BLVD
ALBUQUERQUE, NM 87109                                                          KANSAS CITY, MO 64138




BLUEJAY CORIZ                           BNY MELLON CORPORATE TRUST             BOARD OF BOILERS & PRESSURE VESSELS
7712 WILLIAM MOYERS AVE NE              P.O. BOX 392013                        35 STATE HOUSE STATION
ALBUQUERQUE, NM 87122                   PITTSBURGH, PA 15251-9013              AUGUSTA, ME 04333-0035




BOB'S PAINTING, INC                     BOCA AIRCRAFT MAINTENANCE LLC          BOGUE MACHINE COMPANY, INC.
5816 SIGNAL AVE NE                      HAMID HASHEMI                          7401 EDITH, NE
ALBUQUERQUE, NM 87113                   3300 AIRPORT ROAD SUITE 203            ALBUQUERQUE, NM 87113
                                        BOCA RATON, FL 33431




BOND PAINT COMPANY                      BONG P-38 FUND, INC.                   BONG P-38 FUND, INC.
8510 MONTGOMERY BLVD NE                 RICHARD I BONG VETERANS HISTORICAL     RICHARD I BONG VETERANS HISTORICAL
ALBUQUERQUE, NM 87111                   CENTER                                 CENTER
                                        305 HARBOR VIEW PARKWAY                305 HARBOR VIEW PARKWAY
                                        SUPERIOR, WI 54880                     SUPERIOR, WI 54880



BOSE CORPORATION                        BOSE CORPORATION                       BOX INC
100 THE MOUNTAIN RD MS#6B1              HRATCH ASTORJIAN MGR. GLOBAL SALES     PO BOX 39000
FRAMINGHAM, MA 01701                    AND SERVICES                           SAN FRANCISCO, CA 94139
                                        THE MOUNTAIN
                                        FARMINGHAM, MA 01701



BRAD KRESSIN                            BRAD RATCLIFF                          BRALCO METALS
3427 JOSHUA TREE DR. NE                 6600 65TH AVE                          15090 NORTHAM STREET
RIO RANCHO, NM 87144                    VERO BEACH, FL 32967                   LA MIRADA, CA 90638




BRALCO METALS                           BREK MANUFACTURING COMPANY             BRENT K. CHRISTNER
6718 JEFFERSON BLVD NE                  1513 W. 132ND ST.                      17180 OXBRIDGE RD
ALBUQUERQUE, NM 87109                   GARDENA, CA 90249                      MONUMENT, CO 80132
BRETT OWEN               Case 18-12309-JKS     Doc 17
                                      BRIAN DUBBERT          Filed 10/10/18   Page 13GORDON
                                                                                BRIAN of 77
61 PINON TRAIL                        2500 SAN JACINTO BLVD                     10436 BOX CANYON PL NW
CEDAR CREST, NM 87008                 AUSTIN, TX 78705                          ALBUQUERQUE, NM 87114




BRIAN J ADAMCZAK                      BRIAN JANZIG                              BRIGADOON MANUFACTURING GROUP, LLC
115 E PALKIE ROAD                     HERMANTOWN, MN 55811                      26 EAST PALAINE RD.
ESKO, MN 55733                                                                  WHEELING, IL 60090




BRITTANY PEPKE                        BROOKE STONE                              BROOKS MACHINE PRODUCTS, LTD.
1016 NORTH PLUM GROVE #308            5416 EL ENCANTO PLACE NE                  8 MARTINBROOK STREET
SCHAUMBURG, IL 60173                  ALBUQUERQUE, NM 87110                     UNADILLA, NY 13849




BROWN AVIATION TOOL SUPPLY            BRUCE CADY                                BRUCE'S CUSTOM COVERS
2536 SE 15TH STREET                   3011 GOLFVIEW DR                          18850 ADAMS COURT
OKLAHOMA CITY, OK 73129               VERO BEACH, FL 32960                      MORGAN HILL, CA 95037




BRUNO VON FORSTMEYER                  BRUNS BROS                                BRUNSWICK AEROSPACE, LLC
6208 NATALIE AVE NE                   PO BOX 240                                84 MARGINAL WAY, SUITE 600
ALBUQUERQUE, NM 87110                 GRAY, ME 04039-0240                       PORTLAND, OR 04101




BRYAN CAVE LLP                        BRYAN SUMMERS                             BUEHLER
P.O. BOX 503089                       1400 32ND CIRCLE                          39343 TREASURY CENTER
ST LOUIS, MO 63150                    RIO RANCHO, NM 87124                      CHICAGO, IL 60694-9300




BURGESS COMPUTER                      BUTLER AMERICA INC.                       BUTLER BROS
BURGESS TECHNOLOGY SERVICES           25649 NETWORK PLACE                       2001 LISBON STREET
6 OAK GROVE AVE                       CHICAGO, IL 60673                         PO BOX 1375
BATH, ME 04530                                                                  LEWISTON, ME 04240




BUXTON & COLLIE, LLC                  BYK USA, INC.                             BYRON TURNER
940 JOHNNIE DODDS BLVD                9104 GUILFORD ROAD                        #46 ROSA AVE
SUITE 205                             COLUMBIA, MD 21046                        LOS LUNAS, NM 87031
MT. PLEASANT, SC 29464




C&D ZODIAC, INC.                      C2 AVIATION LTD.                          CAAC SETTLEMENT CENTER
5701 BOLSA AVENUE                     HANGAR C2, COTSWOLD AIRPORT               D-16-19 TOWER LANDSCAPE
HUNTINGTON BEACH, CA 92647            CIRENCESTER GL7 6FD UNITED KINGDOM        CHAOYANG DISTRICT 100020 CHINA




CAITLIN GREEN                         CALAMERICA MOBILE                         CALEB BROWN
202 FISHBURNE ST                      4287 BELT LINE ROAD #247                  1611 ANDERSON PLACE SE
CHARLESTON, SC 29403                  ADDISON, TX 75001                         ALBUQUERQUE, NM 87108
CALEB ROBINSON              Case 18-12309-JKS     Doc
                                         CALIFORNIA     17 EXPO
                                                    AIRCRAFT Filed 10/10/18      Page 14 of 77
                                                                                   CALIFORNIA DEPARTMENT OF TAX AND FEE
7908 RIDGEFIELD CT NE                      19417 N 101ST STREET                     ADMINISTRATION
ALBUQUERQUE, NM 87109                      SCOTTSDALE, AZ 85255                     PO BOX 942879
                                                                                    450 N STREET
                                                                                    SACRAMENTO, CA 94279



CAMDEN NATIONAL BANK                       CAMERON AACH                             CANON SOLUTIONS AMERICA
6 GURNET RD                                                                         12379 COLLECTIONS CENTER DRIVE
BRUNSWICK, ME 04011                                                                 CHICAGO, IL 60693




CANTOR FITZGERALD SECURITIES               CAPITAL SPRING DIVISION                  CARGO SYSTEMS, INC.
AS ADMINISTRATIVE AGENT                    1517 MOMENTUM PLACE                      2120 DENTON DR # 108
ATTN: JON STAPLETON                        CHICAGO, IL 60689                        AUSTIN, TX 78758
110 EAST 59TH STREET
NEW YORK, NY 10022



CARL THIEL                                 CARLA BROWN                              CARLISLE INTERCONNECT TECHNOLOGIES
26420 89TH ST                              PO BOX 93312                             5300 W FRANKLIN DRIVE
SALEM, WI 53168                            ALBUQUERQUE, NM 87199-3312               FRANKLIN, WI 53132




CARLO SEDILLO                              CARLOS LLANAS                            CAROL CORP
4501 SAFELITE RD. NE APT. 6305             10200 2ND ST NW AP #2                    4055 N PARK RD
RIO RANCHO, NM 87144                       ALBUQUERQUE, NM 87114                    LINCOLN, NE 68524




CAROLINA INDEPENDENT TRUCKERS SERVI        CAROLYN VERPLANKE                        CAROMAR-PRECIMECAN
1606 E CHURCH ST                           9414 BAY COLONY DR #1 S                  TECHNOPOLE IZARBEL
CHERRYVILLE, NC 28021                      DES PLAINES, IL 60016                    BIDART 64210 FRANCE




CARR LANE MANUFACTURING CO.                CARROLL GLOSTER                          CARY A. WINTER
4200 CARR LANE CT.                         898 BENTLEY RD                           2015 WICKLOW ROAD
ST LOUIS, MO 63119                         SUGAR GROVE, NC 28679                    NAPERVILLE, IL 60564




CASBE INDUSTRIES                           CASCO BAY NAVY LEAGUE                    CASTLE METALS
43178 BUSINESS PARK DRIVE                  C/O ALION SCIENCE & TECHNOLOGY           13843 COLLECTIONS CENTER DRIVE
TEMECULA, CA 92590                         662 WASHINGTON STREET                    CHICAGO, IL 60693
                                           BATH, ME 04530




CCM COMMUNITY DEVELOPMENT XXIII LLC        CCM COMMUNITY DEVELOPMENT XXIII LLC      CCM COMMUNITY DEVELOPMENT XXIII LLC
C/O CEI CAPITAL MANAGEMENT LLC             C/O CEI CAPITAL MANANGEMENT LLC          C/O JOHNSON & MCCAA LLC
ATTN ASSET MANAGEMENT                      ATTN ASSET MANAGEMENT                    ATTN JANET C MCCAA, ESQ
TWO PORTLAND FISH PIER, SUITE 206          TWO PORTLAND FISH PIER, SUITE 206        75 PEARL STREET
PORTLAND, ME 04101                         PORTLAND, ME 04101                       PORTLAND, ME 04101



CCM COMMUNITY DEVELOPMENT XXIII LLC        CCM COMMUNITY DEVELOPMENT XXIII LLC      CCM COMMUNITY DEVELOPMENT XXIII LLC
C/O KEATING MUETHING & KLEKAMP PLL         C/O NIXON PEABODY LLC                    C/O NIXON PEABODY LLP
ATTN JOHN CRANLEY, ESQ                     ATTN GREGORY N DORAN, ESQ                ATTN GREGORY N DORAN, ESQ
ONE EAST FOURTH STREET, SUITE 1400         401 NINTH STREET NW, SUITE 900           401 NINTH STREET NW, SUITE 900
CINCINNATI, OH 45202                       WASHINGTON, DC 20004-2128                WASHINGTON, DC 20004-2128
                       Case
CCM COMMUNITY DEVELOPMENT XXIII18-12309-JKS
                                LLC              Doc 17
                                       CCM COMMUNITY       Filed 10/10/18
                                                      DEVELOPMENT  XXIII LLC   Page 15COMMUNITY
                                                                                 CCML  of 77 DEVELOPMENT XXIII, LLC
TWO PORTLAND FISH PIER                 TWO PORTLAND FISH PIER                    100 COMMERCIAL STREET, SUITE 406
SUITE 206                              SUITE 206                                 PORTLAND, ME 04101
PORTLAND, ME 04101                     PORTLAND, ME 04101-4698




CCP INDUSTRIES                           CDN SYSTEMS - DOUGDEALS                 CDS PUBLICATIONS
PO BOX 73627                             12510 TRAILS END ROAD                   2655 SOUTH PACIFIC HWY
CLEVELAND, OH 44193                      LEANDER, TX 78641                       MEDFORD, OR 97501




CDW LLC                                  CEDRIC HOLLINS                          CEI CAPITAL MANAGEMENT LLC
200 N. MILWAUKEE AVENUE                  3212 RIO MARIA DR SW                    100 COMMERCIAL STREET
VERNON HILLS, IL 60061                   ALBUQUERQUE, NM 87124                   SUITE 406
                                                                                 PORTLAND, ME 04101




CEI CAPITAL MANAGEMENT LLC               CENTURION NDT                           CENTURY BANK
TWO FISH PIER, STE 206                   1400 YORKSHIRE DR                       520 FOLLY ROAD, STE P-183
PORTLAND, ME 04101                       STEAMWOOD, IL 60107                     CHARLESTON, SC 29412




CENTURY LINK                             CENTURYLINK COMMUNICATIONS LLC          CENTURYLINK
TOM ARMIJO                               1801 CALIFORNIA STREET                  PO BOX 29080
                                         DENVER, CO 80202                        PHOENIX, AZ 85038




CENTURYLINK                              CENTURYLINK                             CENTURYLINK
PO BOX 4648                              PO BOX 52187                            PO BOX 91155
MONROE, LA 71211                         PHOENIX, AZ 85072-2187                  SEATTLE, WA 98111




CERTIFIED PACKING, CRATING & DELIVE      CESAR HERNANDEZ                         CET, LLC
3361 COLUMBIA DR NE                      2909 DONNA MARIA DR                     13695 RIDER TRAIL NORTH
ALBUQUERQUE, NM 87107                    ALBUQUERQUE, NM 87121                   EARTH CITY, MO 63045




CHAD ELKINS                              CHAD ZYLSTRA                            CHADD CREED
202 FISHBURNE ST                         6628 WILDWOOD CT                        35015 LANTERN LIGHT DR.
CHARLESTON, SC 29403                     LISLE, IL 60532                         WINCHESTER, CA 92596




CHANTEL MCLELLAN                         CHARLES BECK-MOSKOWITZ                  CHARLES BUCK
                                         333 N. JEFFERSON ST APT #505            920 TONY SANCHEZ DR SE
                                         CHICAGO, IL 60661                       ALBUQUERQUE, NM 87123




CHARLES CHAVEZ                           CHARLES STEELE                          CHARTER COMMUNICATIONS
1120 PARKVIEW DRIVE                      1109 VASSAR DRIVE SE                    PO BOX 3019
LOS LUNAS, NM 87031                      ALBUQUERQUE, NM 87106                   MILWAUKEE, WI 53201-3019
CHASE ALFORD              Case 18-12309-JKS    Doc AERO
                                       CHATTANOOGA 17 SERVICE,
                                                        Filed 10/10/18
                                                               INC             Page 16 ofEXECUTIVE
                                                                                 CHICAGO  77       AIRPORT
5817 DELBERT NW                         1001 AIRPORT RD                           1020 S. PLANT RD
ALBUQUERQUE, NM 87114                   CHATTANOOGA, TN 37421                     WHEELING, IL 60090




CHICAGO SUBURBAN EXPRESS, INC           CHILDERS MACHINE & WELDING CO             CHISHOLM-HIBBING AIRPORT AUTHORITY
5504 W 47TH ST                          PO BOX 27332                              11038 HWY 37
CHICAGO, IL 60638                       ALBUQUERQUE, NM 87125                     HIBBING, MN 55746




CHRIS BETTEZ                            CHRIS BURKHART                            CHRIS CHINO
2806 NE 145TH AVE                       518 S. GOODLING ST                        3238 MIZHONI DR
VANCOUVER, WA 98682                     WINNEBAGO, IL 61088                       SANTA FE, NM 87507




CHRIS JACKMAN                           CHRIS UTT                                 CHRIS WALLACE
6340 BOBCAT HILL PL NE                  KESTREL AIRCRAFT                          945 BENJAMIN DR SE
ALBUQUERQUE, NM 87111                   1832 W MICHIGAN ST                        RIO RANCHO, NM 87124
                                        DULUTH, MN 55806




CHRISTIAN NICHOLS                       CHRISTOPHER B NELSON                      CHRISTOPHER DANIELS
2705 LERMA RD                           7427 284TH STREET NE                      7009 NAGOYA ROAD
RIO RANCHO, NM 87144                    ARLINGTON, WA 98223                       RIO RANCHO, NM 87144




CHRISTOPHER HOWARD                      CHRISTOPHER SAIS                          CHRISTOPHER TAYLOR
304 HEATHERHILL DR #284                 3932 CAMINO ALAMEDA SW                    4837 HWY 92 N
GREENSBORO, NC 27406                    ALBUQUERQUE, NM 87105                     FAYETTEVILLE, GA 30214




CIGNA/NFP NATIONAL SERVICES             CIGNA/NFP NATIONAL SERVICES               CINTAS
1601 CHESTNUT STREET                    CORPORATE HEADQUARTERS                    3292 MOMENTUM PLACE
PHILADELPHIA, PA 19192                  900 COTTAGE GROVE ROAD                    CHICAGO, IL 60689-5332
                                        BLOOMFIELD, CT 06002




CIRRUS OWNERS AND PILOTS ASSOCIATION    CIRRUS PILOT                              CISCO CAPITAL
2830 N RANCHO DR SUITE B                2779 AERO PARK DRIVE                      PO BOX 742927
LAS VEGAS, NV 89130                     TRAVERSE CITY, MI 49685                   LOS ANGELES, CA 90074




CISCO SYSTEM CAPITAL CORPORATION        CISCO SYSTEM CORP C/O BIALSON BERGEN      CISCO SYSTEM CORP C/O BIALSON BERGEN
3675 CISCO WAY                          & SCHWAB                                  & SCHWAB
SAN JOSE, CA 95134                      ATTN: THOMAS A. BURG                      ATTN: THOMAS A. BURG
                                        633 MENLO AVE                             PO BOX 60008
                                        SUITE 100                                 PALO ALTO, CA 94306
                                        MENLO PARK, CA 94025


CISCO SYSTEMS CAPITAL CORPORATION       CISCO SYSTEMS CAPITAL CORPORATION         CITIKING INTERNATIONAL US, LLC
170 W TASMAN DRIVE                      PO BOX 311746                             14 WALL STREET, 20TH FLOOR
MS SJ13-3                               NEW BRAUNFELS, TX 78131-1746              NEW YORK, NY 10005
SAN JOSE, CA 95134
                       Case
CITON COMOUTER CORPORATION      18-12309-JKS    Doc 17CORPORATION
                                        CITON COMPUTER   Filed 10/10/18       Page 17 of 77
                                                                                CITRIX/GETGO
209 W 1ST STREET                        209 W 1ST STREET                        PO BOX 50264
DULUTH, MN 55802                        DULUTH, MN 55802                        LOS ANGELES, CA 90074-0264




CITY OF ALBUQUERQUE AVIATION            CITY OF ALBUQUERQUE AVIATION            CITY OF ALBUQUERQUE
CITY OF ALBUQUERQUE INTERNATIONAL       CITY OF ALBUQUERQUE INTERNATIONAL       DIRECTOR OF AVIATION, ALBUQUERQUE
SUNPORT                                 SUNPORT                                 INTERNATIONAL SUNPORT
2200 SUNPORT SE                         PO BOX 9948                             PO BOX 9948
ATTN: NYIKA ALLEN                       ALBUQUERQUE, NM 87119                   ALBUQUERQUE, NM
ALBUQUERQUE, NM 87106


CITY OF ALBUQUERQUE                     CITY OF ALBUQUERQUE, TREASURY DIVIS     CITY OF GRAND RAPIDS
P.O. BOX 1293                           CILIA AGLIALORO, CTP                    420 POKEGAMA AVENUE N
ALBUQUERQUE, NM 87103                   P.O. BOX 17                             GRAND RAPIDS, MN 55744
                                        ALBUQUERQUE, NM 87103




CITY OF SUPERIOR                        CLARK MANUFACTURING INC.                CLICK BOND, INC.
TREASURERS OFFICE                       1936 A STREET                           2151 LOCKHEED WAY
1316 NORTH 14TH STREET                  WELLINGTON, KS 67152                    CARSON CITY, NV 89706
SUPERIOR, WI 54880




CNB VISA                                CNB VISA                                COASTAL DISTRIBUTORS, INC.
BANK OF MAINE VISA - BACKLUND           PO BOX 790408                           93 MAIN STREET
                                        ST LOUIS, MO 63179-0408                 BELFAST, ME 09415




COAST-LINE INTERNATIONAL                COAST-LINE INTERNATIONAL                COCOADA, INC
200 DIXON AVENUE                        PO BOX 428                              42 BIRKHALL CIRCLE
AMITYVILLE, NY 11701                    AMITYVILLE, NY 11701                    GREENVILLE, SC 29605




CODY PUDWILL                            CODY SHEVICH                            COLE-PARMER INSTRUMENT COMPANY LLC
451 SUNDANCE DR.                                                                625 E. BUNKER COURT
BARTLETT, IL 60103                                                              VERNON HILLS, IL 60061




COLORADO DEPARTMENT OF LABOR AND        COLUMBIA AIR SERVICE                    COLUMBIA AIR SERVICES
EMPLOYMENT                              112 CARUSO DRIVE                        175 TOWER AVE
633 17TH STREET, SUITE 201              HANCOCK CO/BAR HARBOR AIRPORT           GROTON, CT 06340
DENVER, CO 80202-3660                   TRENTON, ME 04605




COM ED                                  COM ED                                  COM ED
C/O EXELON                              COM ED OAKBROOK                         PO BOX 6111
10 S DEARBORN ST                        2 LINCOLN CENTER                        CAROL STREAM, IL 60197-6111
48TH FL                                 OAKBROOK TERRACE, IL 60181
CHICAGO, IL 60603



COMANT INDUSTRIES, INC.                 COMCAST - 2 PEGASUS                     COMFORT SYSTEMS
577 BURNING TREE RD                     PO BOX 1577                             CITY OF COMFORT SYSTEMS
FULLERTON, CA 92833                     NEWARK, NJ 07101-1577                   PO BOX 169008
                                                                                DULUTH, MN 55816-9008
COMMEMORATIVE AIR FORCE Case   18-12309-JKS   Doc
                                       COMMERCE AND17   Filed
                                                   INDUSTRY   10/10/18
                                                            INSURANCE         Page 18 of 77 OF REVENUE SERVICES
                                                                                COMMISSIONER
PO BOX 764769                          COMPANY                                  450 COLUMBUS BLVD
DALLAS, TX 75376                       175 WATER STREET                         HARTFORD, CT 06103
                                       NEW YORK, NY 10038




COMMISSIONER OF REVENUE SERVICES       COMMONWEALTH OF MASSACHUSETTS            COMMONWEALTH OF MASSACHUSETTS
SCOTT D. JACKSON                       EZDRIVEMA PAYMENT PROCESSING CENTER      SECRETARY OF THE COMMONWEALTH
450 COLUMBUS BLVD                      PO BOX 847840                            CORPORATIONS DIVISION
STE 1                                  BOSTON, MA 02284-7840                    ONE ASHBURTON PLACE, 17TH FLOOR
HARTFORD, CT 06104                                                              BOSTON, MA 02108



COMMONWEALTH TRADING PARTNERS INC      COMPASS AEROSPACE NORTHWEST, INC.        COMPOSITES ONE
300 NORTH LEE ST.                      3561 PAYSPHERE CIRCLE                    PO BOX 409328
ALEXANDRIA, VA 22314                   CHICAGO, IL 60674                        ATLANTA, GA 30384-9328




COMPTROLLER OF PUBLIC ACCOUNTS         COMPTROLLER OF PUBLIC ACCOUNTS           COMPUCRAFT INDUSTRIES
111 EAST 17TH STREET                   P.O. BOX 149355                          8787 OLIVE LANE
AUSTIN, TX 78774                       AUSTIN, TX 78714-9355                    SANTEE, CA 92072




COMPUDYNE                              COMPUDYNE                                COMPUTER INTEGRATED MACHINING INC.
1524 EAST 37TH STREET                  MARK BARON                               10960 WHEATLANDS AVENUE, STE 103
HIBBING, MN 55746                      306 WEST MICHIGAN ST SUITE 200           SANTEE, CA 92071
                                       DULUTH, MN 55802




CONCENTRA                              CONKLIN & DE DECKER ASSOCIATES, INC      CONTINENTAL MACHINING COMPANY
OCCUPATIONAL HEALTH CENTERS OF THE     62B CRANBERRY HIGHWAY                    6824 WASHINGTON NE
SW                                     ORLEANS, MA 02653                        ALBUQUERQUE, NM 87109
PO BOX 1297
BROOKFIELD, WI 53008-1297



CONTINUUM APPLIED TECHNOLOGY, INC.     CONTINUUM APPLIED TECHNOLOGY, INC.       CONTRACT MANUFACTURING, INC.
DEPT CH 19913                          MELISSA ZOSS ADMINISTRATIVE SERVICES     10963 LEROY DRIVE
PALATINE, IL 60055-9913                MANAGER                                  NORTHGLENN, CO 80233
                                       9601 AMBERGIEN BOULEVARD, SUITE 109
                                       AUSTIN, TX 787929



CON-WAY FREIGHT                        COOK COUNTY ASSESSOR'S OFFICE            COOLING & HERBERS PC
PO BOX 5160                            JOSEPH BERRIOS                           2400 CITY CENTER SQUARE
PORTLAND, OR 97208-5160                118 NORTH CLARK STREET                   1100 MAIN STREET
                                       THIRD FLOOR, ROOM #320                   KANSAS CITY, MO 64105
                                       CHICAGO, IL 60602



COOPERAGE SEAGULL CATER INC            CORE COMPOSITES                          CORPORATE SERVICE SUPPLY AND MANUFA
6101 MOON NE SUITE #4000               ROM DEVELOPMENT CORP                     80A AIR PARK DR
ALBUQUERQUE, NM 87111                  108 TUPELO STREET                        RONKONKOMA, NY 11779
                                       BRISTOL, RI 02809




CORPORATION SERVICE COMPANY            CORRALES ELECTRIC, INC.                  CORY JOHNSON
PO BOX 13397                           10504 RICHFIELD AVE NE                   3505 GLORIETA ST NE
PHILADELPHIA, PA 19101                 ALBUQUERQUE, NM 87122                    ALBUQUERQUE, NM 87111
COX & COMPANY, INC.        Case 18-12309-JKS    DocINC17
                                        COX MACHINE            Filed 10/10/18   Page 19 of 77
                                                                                  CRAFTSMEN INDUSTRIES
CHIEF OPERATING OFFICER                  5338 W. 21ST STREET                      3101 ELM POINT DT.
1664 OLD COUNTRY ROAD                    WICHITA, KS 67025                        ST CHARLES, MO 63301
PLAINVIEW, NY 11803




CREDENCY SOLUTIONS INC                   CRESTWOOD TECHNOLOGY GROUP               CROSSBOW TECHNOLOGY
6 CENTERPOINTE DRIVE STE 700             1 O'DELL PLAZA, SUITE 139                4145 NORTH FIRST STREET
LA PALMA, CA 90623                       YONKERS, NY 10701                        SAN JOSE, CA 95134




CROUZET AUTOMATISMES SAS                 CROWNAIR AVIATION                        CRYSTAL FINANCIAL SBIC LP
2 RUE DU DOCTEUR ABEL BP 59              3753 JOHN J. MONTGOMERY DRIVE            AS ADMINISTRATIVE AGENT
VALENCE 26902 FRANCE                     SAN DIEGO, CA 92123                      TWO INTERNATIONAL PLACE
                                                                                  17TH FLOOR
                                                                                  BOSTON, MA 02110



CT CORPORATION                           CT CORPORATION                           CTL AERO SOLUTIONS
4400 EASTON COMMONS                      PO BOX 4349                              5762 GROSSETO DR.
COLUMBUS, OH 43219                       CAROL STREAM, IL 60197-4349              FRISCO, TX 75034




CUBESMART                                CURBELL PLASTICS                         CURTIS WRIGHT CONTROLS CORPORATION
1004 S. MILWAUKEE AVENUE                 14746 COLLECTIONS CENTER DRIVE           665 N. BALDWIN PARK BLVD.
WHEELING, IL 60090                       CHICAGO, IL 60693-4746                   CITY OF INDUSTRY, CA 91746-1502




CURTISS-WRIGHT CONTROLS                  CUTTERPROS.COM                           CW HAYDEN
28965 AVENUE PENN                        8550 N 91ST AVENUE, BLDG G, STE 80       PO BOX 1030
SANTA CLARITA, CA 91355                  PEORIA, AZ 85345                         AUBURN, ME 04211-1030




CW TECHNOLOGY                            CYTEC INDUSTRIAL MATERIALS (OK) INC      D.J. SMITH TRUCKING
5614 GRAND AVE                           5350 S 129TH E AVENUE                    1713 HEGBERG RD
DULUTH, MN 55807                         TULSA, OK 74134                          DULUTH, MN 55804




D.L. SALES                               DAIKIN APPLIED                           DALCO
130 N. 139TH AVE                         2201 SAN PEDRO BLDG #1 SUITE 225         PO BOX 64777
PHOENIX, AZ 85009                        ALBUQUERQUE, NM 87110                    ST PAUL, MN 55164-0777




DALE HEINCELMAN JR                       DALE HEINCELMAN                          DALLAS AVIONICS
10400 DELICADO PL NE                     1015 WASHINGTON ST SE                    2525 SANTA ANNA AVE
ALBUQUERQUE, NM 87111                    ALBUQUERQUE, NM 87108                    DALLAS, TX 75228




DALLAS COUNTY TAX OFFICE                 DALLAS EGBERT                            DAMASIO ZEPEDA
PO BOX 139033                            105 PARKWOOD DR                          1112 72ND PL NW
DALLAS, TX 75313                         STREAMWOOD, IL 60107                     ALBUQUERQUE, NM 87121
DAN SOLHEIM                 Case 18-12309-JKS     Doc 17
                                         DANIEL ATKESON        Filed 10/10/18   Page 20 CASPI
                                                                                  DANIEL of 77
1191 CARRIZO ST NW                       6610 30TH AVE                            11310 RIDGELINE AVE NE
LOS LUNAS, NM 87031                      KENOSHA, WI 53142                        ALBUQUERQUE, NM 87111




DANIEL HUST                              DANIEL KINGSTON                          DANIEL RICE
9005 LA BARRANCE NE                      9600 PALOMAS AVE NE                      5401 CIMARRON RD NW
ALBUQUERQUE, NM 87111                    ALBUQUERQUE, NM 87109                    ALBUQUERQUE, NM 87120




DANIEL RIOS                              DANIELS MANUFACTURING CORP               DARCO PRODUCTS, INC.
228 10TH AVE SW                          526 THORPE ROAD                          8406 WASHINGTON PLACE NE
RIO RANCHO, NM 87124                     ORLANDO, FL 32824                        ALBUQUERQUE, NM 87113




DARON WORLDWIDE TRADING, INC.            DASSAULT SYSTEMES AMERICAS CORP          DATHAN POWER
24 STEWART PL UNIT 4                     PO BOX 415728                            800 9TH STREET
FAIRFIELD, NJ 07004                      BOSTON, MA 02241-5728                    RIO RANCHO, NM 87124




DAVE AGUILAR                             DAVE CHIARELLI                           DAVE HARALSON
1217 26TH ST SW                          440 ASBURY RD NE                         10135 AVENIDA VISTA SOL NW
RIO RANCHO, NM 87124                     RIO RANCHO, NM 87124                     ALBUQUERQUE, NM 87114




DAVID BARBOUR                            DAVID BURKE                              DAVID COLEMAN
621 S 68TH AVENUE                        2017 GOMEZ RD                            1535 CLOVERDALE AVE
YAKIMA, WA 98908                         LOS LUNAS, NM 87031                      HIGHLAND PARK, IL 60035




DAVID ELLIOTT                            DAVID GACHUPIN                           DAVID M. TODARO
1800 31ST STREET SE                      74 WALATOWA BLVD.                        14 EVERGREEN DRIVE
RIO RANCHO, NM 87124                     JEMEZ PUEBLO, NM 87024                   NORTH HAMPTON, NH 03862




DAVID OTERO                              DAVID SMITH                              DAVIES MOLDING LLC
2801 BOSQUE DEL SOL LN NW                TWO HABORS, MN 55616                     350 KEHOE BVLD
ALBUQUERQUE, NM 87120                                                             CAROL STREAM, IL 60188-1818




DAVIS & KUELTHAU                         DDH GROUP                                DEAN & LISA OLEJNICZAK
111 E KILBOURN                           8893 SE HAWKS NEST COURT                 1600 ELK TRAIL COURT
SUITE 1400                               HOBE SOUND, FL 33455                     NEENAH, WI 54956
MILWAUKEE, WI 53202




DEAN MINARDI                             DEBBIE BACKLUND                          DEBORAH BACKUS
1401 SOUTH RIDGE ROAD                                                             8527 MONITOR DR NE
DULUTH, MN 55804                                                                  ALBUQUERQUE, NM 87109
DEBORAH LUCERO             Case 18-12309-JKS    Doc 17
                                        DEBRA BACKLUND       Filed 10/10/18   Page 21 of 77
                                                                                DEERFIELD FLORIST
3317 CYPERESS DR NE                     SIMPSONVILLE, SC 29681                   20522 MILWAUKEE AVE
ALBUQUERQUE, NM 87105                                                            DEERFIELD, IL 60015




DEIDRE TOWSTER                          DELAWARE SECRETARY OF STATE              DELAWARE SECRETARY OF STATE
560 SHORELY DRIVE #203                  410 FEDERAL STREET, STE 4                VENDOR #XX-XXXXXXX
BARRINGTON, IL 60010                    DOVER, DE 19901                          DELAWARE DIVISION OF CORPORATIONS
                                                                                 PO BOX 5509
                                                                                 BINGHAMTON, NY 13902-5509



DELAWARE STATE TREASURY                 DELEWARE TAX                             DELL SOFTWARE INC.
820 SILVER LAKE BLVD, SUITE 100         PO BOX 5509                              PO BOX 731381
DOVER, DE 19904                         BINGHAMTON, NY 13902-5509                DALLAS, TX 75373-1381




DELOITTE & TOUCHE LLP                   DELOITTE & TOUCHE LLP                    DELTA DENTAL PLAN OF NEW MEXICO, INC
DELOITTE & TOUCHE LLP                   PO BOX 7247-6446                         RICH BOLSTAD
PO BOX 844708                           PHILADELPHIA, PA 19170                   2500 LOUISIANA BLVD NE SUITE 600
DALLAS, TX 75284-4708                                                            ALBUQUERQUE, NM 87110




DELTA DENTAL                            DENCO SALES CO. INC.                     DENISE WATHEN
11300 TOMAHAWK CREEK PARKWAY            55 SOUTH YUMA STREET                     6703 SAND PEBBLE AVE
#350                                    DENVER, CO 80223                         TEMPLE TERRACE, FL 33637
OVERLAND PARK, KS 66211




DENNIS BOZZA                            DENNIS MAXWELL                           DENNIS RIVERA
2416 WESTLINE DR                        5119 CORAL REEF DR.                      4410 PUMICE DRIVE
JOLIET, IL 60431                        JOHNS ISLAND, SC 29455                   RIO RANCHO, NM 87124




DENNIS WHITETURKEY                      DEPARTMENT OF REVENUE SERVICES           DEPARTMENT OF REVENUE SERVICES
5912 RIO ARRIBA RD NE                   STATE OF CONNECTICUT                     STATE OF CONNECTICUT
RIO RANCHO, NM 87144                    450 COLUMBUS BLVD                        PO BOX 150406
                                        HARTFORD, CT 06103                       HARTFORD, CT 06115-0406




DEPARTMENT OF REVENUE SERVICES          DEPENDABLE FIRE EQUIPMENT, INC.          DEPENDABLE SPRING COMPANY
SCOTT D. JACKSON                        60 LE BARON STREET                       414 BEAVERCREEK RD., STE 702
450 COLUMBUS BLVD                       WAUKEGAN, IL 60085                       OREGON CITY, OR 97045
STE 1
HARTFORD, CT 06104



DEREK REHBOCK                           DESIGN EYE-Q, LLC                        DESIGN EYE-Q, LLC
633 HUDSON AVE                          107B E SUPERIOR ST                       4515 DODGE ST
ROMEOVILLE, IL 60446                    DULUTH, MN 55802                         DULUTH, MN 55804




DEUTSCH DAO                             DEV THAPA                                DEVIN MACDONALD
250 EDDIE JONES WAY                     APT 105                                  3047 N OAKLEY AVE UNIT 403
OCEANSIDE, CA 92058                     DULUTH, MN 55806                         CHICAGO, IL 60618
DEVIN MCLELLAN              Case 18-12309-JKS    Doc- USA
                                         DHL EXPRESS   17        Filed 10/10/18   Page
                                                                                    DIAB22 of 77 LP
                                                                                         AMERICAS
                                          16592 COLLECTIONS CENTER DR.              DEPT 2299
                                          CHICAGO, IL 60693                         PO BOX 122299
                                                                                    DALLAS, TX 75312-2299




DICKENS CONSULTING                        DIGI-KEY CORPORATION                      DIGI-KEY
13536 KENSINGTON PLACE                    PO BOX 677                                DIGI-KEY CORP 2052972
CARMEL, IN 46032                          THEIF RIVER FALLS, MN 56701-0677          PO BOX 250
                                                                                    THIEF RIVER FALLS, MN 56701-0250




DILLON                                    DIRECT DECALS                             DISCOUNT STEEL
                                          209 WEST WASHINGTON                       216 27TH AVE N
                                          NAVASOTA, TX 77868                        MINNEAPOLIS, MN 55411




DIVELY SCALE CO., INC.                    DIVERSIFIED PLASTICS INC.                 DIVERSIFIED SILICONE PRODUCTS, INC
4012 ALAMEDA AVE.                         8617 XYLON COURT NORTH                    13937 ROSECRANS AVE
EL PASO, TX 79905-3799                    MINNEAPOLIS, MN 55445                     SANTA FE SPRINGS, CA 90670




DLA PIPER, LLP                            DMNMEDIA                                  DOCUMENT TECHNOLOGIES LLC
PO BOX 64029                              P.O. BOX 660040                           DTI
BALTIMORE, MD 21264-4029                  DALLAS, TX 75266                          PO BOX 936158
                                                                                    ATLANTA, GA 31193-6158




DOMINIC ABEITA                            DOMINIC CARDELLI                          DON AUGUSTINE
6112 STARGAZER AVE. NW                    2953 RYF RD                               726 S. 11TH AVE
ALBUQUERQUE, NM 87114                     OSHKOSH, WI 54904                         ST. CHARLES, IL 60174




DON CRABBE                                DON RICE                                  DON WICHHART
1577 VICTORIA PARK CIRCLE                 205 INDIAN HILLS RD.                      8308 RANCHO PLENO NW
AURORA, IL 60504                          MORIARTY, NM 87035                        ALBUQUERQUE, NM 87120




DOUG HAWLEY                               DOUGLAS COUNTY REVOLVING LOAN FUND        DOUGLAS COUNTY REVOLVING LOAN FUND
9709 AVENIDA DEL OSO NE                   INC                                       COUNTY TREASURER'S OFFICE
ALBUQUERQUE, NM 87111                     1401 TOWER AVENUE, SUITE 302              1313 BELKNAP ST, ROOM 102
                                          JOSEPH J TILL III/COUNTY TREASURER        SUPERIOR, WI 54880
                                          SUPERIOR, WI 54880



DOUGLAS COUNTY REVOLVING LOAN FUND,       DOUGLAS MARGRAF                           DOW-KEY MICROWAVE CORP.
INC.                                      8627 CHILTE PINE ROAD NW                  4822 MCGRATH STREET
1401 TOWER AVENUE, SUITE 302              ALBUQUERQUE, NM 87120                     VENTURA, CA 93003
JOSEPH J TILL III/COUNTY TREASURER
SUPERIOR, WI 54880



DOWN TO THE LAST DETAIL, INC              DR MANAGEMENT, LLC                        DRUMMOND WOODSUM - BRUNSWICK
8616 W AINSLIE                                                                      AEROSPACE
NORRIDGE, IL 60706-2818                                                             ATTN: ACCOUNTS RECEIVABLE
                                                                                    84 MARGINAL WAY, SUITE 600
                                                                                    PORTLAND, ME 04101-2480
DRUMMOND WOODSUM           Case   18-12309-JKS   Doc
                                          DUCOMMUN    17 Filed 10/10/18
                                                   AEROSTRUCTURES, INC.       Page 23 of 77
                                                                                DUCOMMUN  LABARGE TECHNOLOGIES, INC.
ATTN: TIMOTHY E. STEIGELMAN               ADAM LAND PROGRAM MANAGER              1505 MAIDEN LANE
84 MARGINAL WAY, SUITE 600                268 EAST GARDENA BLVD.                 JOPLIN, MO 64804
PORTLAND, ME 04101                        GARDENA, CA 90247




DUCOMMUN, INC.                            DUFF & PHELPS                          DUKES AEROSPACE, INC.
810 CHAMPLIN AVENUE                       9078 PAYSPHERE CIRCLE                  STEPHANIE CURTIS
BERRYVILLE, AR 72616                      CHICAGO, IL 60674                      9060 WINNETKA, AVE
                                                                                 NORTHRIDGE, CA 91324-3235




DUKE'S TOWING                             DULUTH RUNNING CO.                     DULUTH TRAVEL AGENCY
6110 GRAND AVE                            1026 EAST SUPERIOR ST                  EARL ROGERS
DULUTH, MN 55807                          DULUTH, MN 55802                       432 RUSTWOOD LANE
                                                                                 DULUTH, MN 55804




DULUTH TYPE & BUSINESS FURNITURE CO       DWAYNE VICTOR                          DWIGHT WOODALL
30 NORTH 3RD AVENUE WEST                  PO BOX 19321                           2011 GREYSTEM CIRCLE #201
PO BOX 156                                ALBUQUERQUE, NM 87119                  GURNEE, IL 60031
DULUTH, MN 55801-0156




DWYER INSTRUMENTS, INC.                   DYNAMIC TELECOMMUNICATIONS, INC        DYNOMAX, INC.
102 INDIANA HWY. 212                      205 TECHNOLOGY PARK LANE               1535 ABBOTT DRIVE
MICHIGAN CITY, IN 46361                   FUQUAY VARINA, NC 27526                WHEELING, IL 60090




DYSOL, INC                                DYSOL, INC.                            EA HAVACILIK AS
PO BOX 471836                             PO BOX 471836                          TOPHANELIOGLU C. 6
FORT WORTH, TX 76147                      FORT WORTH, TX 76147                   USKUDAR
                                                                                 ALTUNIZADE 34662 TURKEY




EAA                                       EAI                                    E-A-R, AEARO TECHNOLOGIES, LLC
EAA AVIATION CENTER                                                              7911 ZIONSVILLE ROAD
ATTN: A/R                                                                        INDIANAPOLIS, IN 46268
PO BOX 3043
OSHKOSH, WI 54903-3043



EARL ARCHULETA                            EAST COAST AVIATION SUPPLIES, INC      EAST COAST CALIBRATION
11501 LA VISATA GRANDE NE                 399 EAST DRIVE                         22 WHITTEN RD
ALBUQUERQUE, NM 87111                     MELBOURNE, FL 32904                    HALLOWELL, ME 04347




EASTERN FIRE SERVICES                     EASTMAN MACHINE COMPANY                EATON
PO BOX 1582                               PO BOX 1031
AUBURN, ME 04211-1582                     BUFFALO, NY 14205




EATON AEROSPACE, LLC                      EATON INDUSTRIAL CORPORATION           EATON INDUSTRIAL CORPORATION
CHICAGO, IL 60673                         28209 NETWORK PLACE                    9650 JERONIMO RD
                                          CHICAGO, IL 60673                      IRVINE, CA 92618
ECLIPSE (V)               Case 18-12309-JKS     Doc
                                       ECLIPSE 500   17 CLUB
                                                   OWNERS Filed 10/10/18   Page 24 of
                                                                             ECLIPSE   77
                                                                                     AEROSPACE SRV CTR
                                        JEFF RUBENSTIEN, TREASURER            26 EAST PALATINE ROAD
                                        2945 JOHNNYCAKE HILL RD               WHEELING, IL 60090
                                        HAMILTON, NY 13346




ECLIPSE AEROSPACE                       ECLIPSE MANAGEMENT, LLC               ECLIPSE OWNERS CLUB
2503 CLARK CARR LOOP SE                 3250 SPIRIT DRIVE SE                  125 GOOSE BAY VIEW TRAIL
ALBUQUERQUE, NM 87106                   ALBUQUERQUE, NM 87106                 CHESTER, CA 96020




ED GARCIA                               ED LUERAS                             ED LUNDEEN
1321 ROBYN PL SW                        800 CLIFFVIEW AVE NW                  1004 NOVAK LANE NW
LOS LUNAS, NM 87031                     ALBUQUERQUE, NM 87120                 ALBUQUERQUE, NM 87114




EDDIE HUERTA                            EDDIE MOLLOHAN                        EDEN L. SHARP
10204 COUNTRY MEADOWS DR. NW            604 ADDIE LN                          11 SUGAR BEACH DRIVE
ALBUQUERQUE, NM 87114                   ALBUQUERQUE, NM 87105                 SANTA ROSA BEACH, FL 32459




EDMO                                    EDO CORPORATION                       ED'S REFRIGERATION, INC
12830 E MIRABEAU PKWY                   585 JOHNSON AVENUE                    2920 GIRARD BLVD NE
SPOKANE, WA 99216                       BOHEMIA, NY 11716                     ALBUQUERQUE, NM 87107




EDWARD KATS & ASSOC.                    EDWARD M LUNDEEN                      EDWARD M LUNDEEN
511 S. MARIA AVE.                       1004 NOVAK LANE NW                    C/O RMC LAWYERS, P.A.
REDONDO BEACH, CA 90277                 ALBUQUERQUE, NM 87114                 ATTN SHARI L CORDOVA / BRIAN VOGLER
                                                                              316 OSUNA RD. NE., UNIT 201
                                                                              ALBUQUERQUE, NM 87107



EDWARD M LUNDEEN                        EDWARD UNDERWOOD                      EDWARD UNDERWOOD, JR.
C/O RMC LAWYERS, P.A.                   11 SUGAR BEACH DRIVE                  11 SUGAR BEACH DRIVE
ATTN SHARI L CORDOVA/BRIAN VOGLER       SANTA ROSA BEACH, FL 32459            SANTA ROSA BEACH, FL 32459
316 OSUNA RD. NE., UNIT 201
ALBUQUERQUE, NM 87107



EIS PHOENIX                             EJOPA                                 ELECTROMECH TECHNOLOGIES
CHICAGO, IL 60693                       ECLIPSE JET OWNERS & PILOTS           2600 S CUSTER AVE
                                        ASSOCIATION                           WICHITA, KS 67217
                                        3151 E THOMAS ST
                                        INVERNESS, FL 34453



ELECTRONIC CABLE SPECIALISTS, INC.      ELECTRONIC PARTS COMPANY, INC         ELI BERNSTEIN
MILWAUKEE, WI 53201-2088                2620 RHODE ISLAND ST NE               6404 AVE LA CUCHILLA NW
                                        ALBUQUERQUE, NM 87110                 ALBUQUERQUE, NM 87107




ELITE LUXURY EVENTS LTD                 ELVIA PAOLA RENOVA                    EMBRY TAX CONSULTING LLC
NATIONAL WESTMINSTER BANK ENGLAND       2919 VANHORNE WAY SW                  571 PROVIDENCE CLUB DR.
                                        ALBUQUERQUE, NM 87121                 MONROE, GA 30656
EMERSON NETWORK              Case 18-12309-JKS     Doc 17
                                          EMIGDIO CHOQUE         Filed 10/10/18   Page 25KEE
                                                                                    EMILY of 77
610 EXECUTIVE CAMPUS DR.                  5607 INDIAN SCHOOL NE                     2875 TRADEWIND DR
WESTERVILLE, OH 43082                     ALBUQUERQUE, NM 87110                     MOUNT PLEASANT, SC 29466




EMILY SHAW                                EMMET, MARVIN & MARTIN                    EMMETT VALLO
10712 STANLEY DR NW                       ATTN: THOMAS A. PITTA                     2026 S 11TH ST WEST
ALBUQUERQUE, NM 87114                     120 BROADWAY, 32ND FLOOR                  MISSOULA, MT 59801
                                          NEW YORK, NY 10271




EMPIRE SCREEN PRINTING INC                EMPLOYEE FIDUCIARY                        EMPOWER (FKA GREAT WEST FINANCIAL)
N5206 MARCO RD                            MOBILE, AL 36652                          EMPOWER RETIREMENT
ONALASKA, WI 54650-0218




EMPRESA NACIONAL DE AERONAUTICA           EMTEQ, INC.                               ENCO MFG CO
GRAN AVDA. JOSE M. CARRERA 11087          5349 S. EMMER DRIVE                       DEPT CH 14137
EL BOSQUE                                 NEW BERLIN, WI 53151                      PALATINE, IL 60055-4137
SANTIAGO CHILE




ENERSYS ENERGY PRODUCTS INC.              ENFLITE, INC                              ENTERPRISE ELECTRICAL SERVICES
PO BOX 96831                              105 W. COOPERATIVE WAY                    9708 BELL AVENUE SE
CHICAGO, IL 60693                         GEORGETOWN, TX 78626                      ALBUQUERQUE, NM 87123




EREPLACEMENTPARTS.COM, LLC                ERFFMEYER & SON CO., INC                  ERIC BECKWITH
7036 SOUTH HIGH TECH DRIVE                PO BOX 240047                             6720 AUGUSTA HILLS DR. NE
MIDVALE, UT 84047                         MILWAUKEE, WI 53224-9002                  ALBUQUERQUE, NM 87144




ERIC GUSTAVSSON                           ERIC PETERSON                             ERIC WHYTE
                                          11416 KEY WEST DRIVE NE                   1834 HICKORY ST
                                          ALBUQUERQUE, NM 87111                     SOUTH MILWAUKEE, WI 53172




ERNEST CRUZ                               ERNEST RICKS                              ERP INTEGRATED SOLUTIONS, INC
5865 SANDOVAL DR NE                       4 HARMONY COURT                           5001 AIRPORT PLAZA DRIVE SUITE 125
RIO RANCHO, NM 87144                      LOS LUNAS, NM 87031                       LONG BEACH, CA 90815




ESCO AEROSPACE MFG, INC.                  ESHO ORAHA                                ESSENTIA HEALTH
214 S 9TH AVE                             616 W CENTRAL ROAD                        PO BOX 856582
CITY OF INDUSTRY, CA 91746                ARLINGTON HEIGHTS, IL 60005               MINNEAPOLIS, MN 55485-6582




ESSENTRA PLASTICS, LLC                    ESSEX INDUSTRIES                          ESSEX INDUSTRIES, INC.
3123 STATION ROAD                         6 SUNNEN DRIVE                            MITCHELL D. WALDMAN PRESIDENT
ERIE, PA 16510                            ST LOUIS, MO 63134                        7700 GRAVOIS RD.
                                                                                    ST. LEWIS, MO 63123
ESTERLINE POWER SYSTEM      Case 18-12309-JKS   Doc 17
                                         EUROCONTROL          Filed 10/10/18   Page 26 of 77
                                                                                 EUROCONTROL
6900 ORANGETHORPE AVE.                  RUE DE LA FUSEE96                        RUE DE LA FUSSE96
BUENA PARK, CA 90620                    BRUXELLES 1130 BELGIUM                   BRUXELLES 1130 BELGIUM




EUROPEAN AVIATION SAFETY AGENCY         EVELYN BLACK                             EVEREST SOFTWARE
POSTFACH 10 12 53                       10423 JOHNCOCK AVE SW                    DBA SHERPA SOFTWARE PARTNERS
COLOGNE 50679 GERMANY                   ALBUQUERQUE, NM 87121                    456 WASHINGTON AVE, SUITE 2
                                                                                 BRIDGEVILLE, PA 15017




EXCEL 4 APPS                            EXCEL MANUFACTURING INC.                 EXECU-SYS, LTD
2581 WASHINGTON RD.                     9916 COCHITI ROAD S.E.                   1411 BROADWAY SUITE 1220
PITTSBURGH, PA 15241                    ALBUQUERQUE, NM 87123                    NEW YORK, NY 10018




EXECUTIVE CONTROLLER                    EXECUTIVE CONTROLLER                     EXPERIMENTAL AIRCRAFT ASSOCIATION
PO BOX 85310                            PO BOX 85670                             PO BOX 3816
LINCOLN, NE 68501-5310                  LINCOLN, NE 68501-5670                   OSHKOSH, WI 54903




EXPRESS TOLL                            EXTANT AEROSPACE                         FAA AIRCRAFT REGISTRATION BRANCH
E-470 PUBLIC HIGHWAY AUTHORITY          1615 WEST NASA BLVD                      PO BOX 25504
PO BOX 5470                             MELBOURNE, VIC 32901-2613 AUSTRALIA      OKLAHOMA CITY, OK 73125
DENVER, CO 80217-5470




FACTORY DIRECT MODELS, LLC              FARNAN LLP                               FARNBOROUGH AIRCRAFT
PHOENIX-GATEWAY AIRPORT                 919 NORTH MARKET STREET 12TH FLOOR       FARNBOROUGH AIRPORT
5803 SOUTH SOSSAMAN ROAD, SUITE 119     WILMINGTON, DE 19801                     HAMPSHIRE GU14 6XA UNITED KINGDOM
MESA, AZ 85212




FARO TECHNOLOGIES INC                   FARRINGTON JAMES                         FASTENAL COMPANY
250 TECHNOLOGY PARK LAKE                2321 INTERNATIONAL BLVD SE               530 HINTZ ROAD
MARY, FL 32746                          ALBUQUERQUE, NM 87106                    WHEELING, IL 60090




FASTENAL                                FASTSIGNS                                FEDERAL AVIATION ADMINISTRATION
PO BOX 1286                             407 2ND ST. SW                           AIRCRAFT REGISTRATION BRANCH
WINONA, MN 55987-1286                   ALBUQUERQUE, NM 87102                    OKLAHOMA CITY, OK 73125




FEDERAL AVIATION ADMINISTRATION         FEDEX FREIGHT                            FEDEX FREIGHT
MIKE MONRONEY                           DEPT CH PO BOX 10306                     P.O. BOX 223125
AERONAUTICAL CENTER                     PALATINE, IL 60055-0306                  PITTSBURGH, PA 15251-2125
OKLAHOMA CITY, OK 73169




FEDEX                                   FEDEX                                    FEDEX
P.O. BOX 223125                         P.O. BOX 371461                          P.O. BOX 94515
PITTSBURGH, PA 15250-2125               PITTSBURGH, PA 15250-7461                PALATINE, IL 60094-4515
FELIX SANTIAGO           Case 18-12309-JKS      Doc 17 Filed
                                      FIDELITY INVESTMENTS       10/10/18
                                                           INSTITUTIONAL         Page  27 ofINVESTMENTS
                                                                                   FIDELITY   77        INSTITUTIONAL
3312 W CULLOM                           100 CROSBY PARKWAY                          P.O. BOX 770002
CHICAGO, IL 60618                       KC1G                                        CINCINNATI, OH 45277-1102
                                        COVINGTON, KY 41015




FIDELITY INVESTMENTS INSTITUTIONAL      FIDELITY MANAGEMENT TRUST COMPANY           FIDELITY
PO BOX 73307                            STEPHAN BRANTLEY                            100 CROSBY PARKWAY
CHICAGO, IL 60673                       ONE DESTINY WAY                             KC1G
                                        WESTLAKE, TX 76262                          COVINGTON, KY 41015




FIELD LOGIC                             FIFTHQUARTER INC                            FIGEAC-AERO
101 MAIN STREET                         C/O DAVID JANSEN                            ZI DE L'AIGUILLE
SUPERIOR, WI 54880                      PO BOX 6157                                 FIGEAC 46100 FRANCE
                                        FALMOUTH, ME 04105




FINCHAM MOBILE STORAGE                  FISHMAN JACKSON PLLC                        FIX A LIFT, INC.
5601 WILSHIRE N.E.                      THREE GALLERIA TOWER, SUITE 700, LB#13      24 HAWTHORNE LANE
ALBUQUERQUE, NM 87113                   13155 NOEL ROAD                             STREAMWOOD, IL 60107
                                        DALLAS, TX 75240




FLAME ENTERPRISES, INC                  FLEET SERVICES - WEX                        FLIGHT DATA SYSTEMS LLC
21500 GLEDHILL STREET                   MSC 30425                                   1118 E MISSOURI AVE, SUITE B-1
CHATSWORTH, CA 91311                    NASHVILLE, TN 37241                         PHOENIX, AZ 85014




FLIGHT PLAN LLC                         FLIGHT-DECK AVIONICS LLC                    FLIGHTLEVEL BRUNSWICK, LLC
574 HERITAGE ROAD                       176 NORTH 2200 WEST STE 120                 2 PEGASUS STREET
SOUTHBURY, CT 06488                     SALT LAKE CITY, UT 84116                    BRUNSWICK, ME 04011




FLORIDA DEPARTMENT OF STATE             FLORIDA DEPARTMENT OF STATE                 FLORIDA DEPT OF REVENUE
DIVISION OF CORPORATIONS                DIVISION OF CORPORATIONS                    5050 W TENNESSEE STREET
CLIFTON BUILDING                        P.O. BOX 6327                               TALLAHASSEE, FL 32399-0135
2661 EXECUTIVE CENTER CIRCLE            TALLAHASSEE, FL 32314
TALLAHASSEE, FL 32301



FLUID COMPONENTS INTERNATIONAL, LLC     FLYBYWIRE AVIATION ART                      FOAMERICA
1755 LACOSTA MEADOWS DRIVE              76 IRONWOOD STREET                          15000 S BROADWAY
SAN MARCOS, CA 92078-5178               WONDERBOOM 0182 SOUTH AFRICA                GARDENA, CA 90248




FORD MURRAY                             FORUS ADVISORS, LLC                         FOURPOINTS MULTIMEDIA CORPORATION
66 PEARL STREET                         350 TOWNSEND STREET SUITE 422A              6-295 QUEEN ST., EAST, #390
SUITE 311                               SAN FRANCISCO, CA 94108                     BRAMPTON L6W 4S6 CANADA
PORTLAND, ME 04101




FOX VALLEY METROLOGY                    FRANCHISE TAX BOARD                         FRANCISCO LUCERO
3125 MEDALIST DRIVE                     PO BOX 942857                               5517 TIMBERLINE AVE NW
OSHKOSH, WI 54902                       SACRAMENTO, CA 94257-0540                   ALBUQUERQUE, NM 87120
FRANKLIN PRODUCTS, INC       Case 18-12309-JKS    Doc& 17
                                          FREDRICKSON  BYRONFiled
                                                             P.A. 10/10/18       Page 28 of 77& BYRON - KAC
                                                                                   FREDRIKSON
BOSTON, MA 02241-8562                      PO BOX 1484                              200 SOUTH 6TH ST #4000
                                           MINNEAPOLIS, MN 55480-1484               MINNEAPOLIS , MN 55402




FREEFLIGHT ACQUISITION COROPORATION        FREEFLIGHT SYSTEMS                       FREEMAN MFG. & SUPPLY COMPANY
TIM TAYLOR                                 3700 INTERSTATE 35                       1101 MOORE ROAD
3700 INTERSTATE 35 S                       WACO, TX 76706                           AVON, OH 44011
WACO, TX 76706




FREEMAN MFG. & SUPPLY COMPANY              FREUDENBERG NOK, INC.                    FRIES AUTOMOTIVE
PO BOX 72523                               STATION A                                81 OLD PALATINE RD
CLEVELAND, OH 44192-65000                  TORONTO N5W 3N9 CANADA                   WHEELING, IL 60090




FRYBERGER, BUCHANAN, SMITH &               FUJI HEAVY INDUSTRIES, LTD.              FW WEBB
FREDERICK                                  1-1-11 YONAN                             160 MIDDLESEX TURNPIKE
302 W SUPERIOR ST STE 700                  UTSUNOMIYA 3208564 JAPAN                 BEDFORD, MA 01730
DULUTH, MN 55802-5150




G&K SERVICES                               GABE JORGENSEN                           GABRIEL ACOSTA
PO BOX 1450 N.W. 7536                      5050 LINDAHL ROAD                        6 HOPI DRIVE
MINNEAPOLIS, MN 55485-1450                 DULUTH, MN 55811                         LOS LUNAS, NM 87031




GABRIEL CANDELARIA                         GABRIEL ST REMY                          GAGE BILT INC.
3279 PRARIE RIDGE                          133 MIKAELA RD                           44766 CENTRE COURT
LOS LUNAS, NM 87031                        CORRALES, NM 87048                       CLINTON TOWNSHIP, MI 48038




GALLAGHER BASSET SERVICES, INC.            GAMA                                     GAMMA ENGINEERING INC.
6000 UPTOWN BLVD NE                        GENERAL AVIATION MANUFACTURERS ASSN      601 AIRPORT DRIVE
ALBUQUERQUE, NM 87110                      1400 K STREET NW                         MANSFIELD, TX 76063
                                           SUITE 801
                                           WASHINGTON, DC 20005



GARCIA'S TENTS AND EVENTS                  GARMIN INTERNATIONAL, INC.               GARMIN USA, INC.
303 ARVADA AVE NW                          1200 E. 151ST ST.                        CARL WOLF
ALBUQUERQUE, NM 87102                      OLATHE, KS 66062                         1200 E. 151ST STREET
                                                                                    OLATHE, KS




GARMIN USA, INC.                           GARMIN USA, INC.                         GARRETT SMITH
VICE PRESIDENT, AVIATION MARKETING         VP, AVIATION MARKETING AND SALES
AND SALES; WITH COPY TO LEGAL              ,ASSISTANT GENERAL COUNSEL
DEPARTMENT                                 1200 E. 151ST STREET
1200 E. 151ST STREET                       OLATHE, KS
OLATHE, KS


GARY BUSHOUSE                              GARY FISHER                              GARY HIRSCH
12200 ACADEMY ROAD NE APT. 1225            4500 AZTEC RD NE, APT 1                  10927 FAROLA DR NW
ALBUQUERQUE, NM 87111                      ALBUQUERQUE, NM 87110                    ALBUQUERQUE, NM 87114
GARY JONES               Case 18-12309-JKS    Doc 17
                                      GARY SOUTH           Filed 10/10/18   Page 29 of WARBIRDS
                                                                              GAUNTLET 77
9118 BRENTFIELD RD                    7528 RIO SALADO CT. NW                  43W514 US 30
HUNTERSVILLE, NC 28078                ALBUQUERQUE, NM 87120                   SUGAR GROVE, IL 60554




GE INSPECTION TECHNOLOGIES            GE INTELLIGENT PLATFORMS                GE MEASUREMENT
14348 COLLECTIONS CENTER DR.          2500 AUSTIN DRIVE                       ATLANTA, GA 30384
CHICAGO, IL 60693                     CHARLOTTESVILLE, VA 22911




GEC SCALES                            GENE CORNWELL                           GENEL HAVACILIK A.S.
8000 CALENDAR RD                      602 GRAND VIEW ST                       ATATURK HAVALIMANI
ARLINGTON, TX 76001                   SHERWOOD, AR 72120                      SEFAKOY, ISTANBUL 34630 TURKEY




GENERAL ELECTRODYNAMICS               GENERAL ENTERPRISES B.V.                GENERAL ENTERPRISES BV
CORPORATION                           STEVE MIDDENDORP                        STEVE MIDDENDORP
8000 CALENDER ROAD                    MACHLAAN 8A                             MACHLAAN 8A
ARLINGTON, TX 76001                   EELDE 9761TK THE NETHERLANDS            EEDE 9761TK THE NETHERLANDS




GENUINE AIRCRAFT HARDWARE CO          GEORGE BLEICHER                         GEORGE BUR
4250 AEROTECH CTR WAY UNIT B          600 PLAYFUL MEADOWS                     1300 CHILDERS DR NE
PASO ROBLES, CA 93446                 RIO RANCHO, NM 87144                    ALBUQUERQUE, NM 87112




GEORGI TONDEV                         GERALD COLEMAN                          GERALD R UJDUR
17555 W. HICKORY LN                   3108 GRASSLAND DR SW                    112 RIVENESS RD
GRAYSLAKE, IL 60030                   ALBUQUERQUE, NM 87121                   DULUTH, MN 55811-2873




GERMAN MACHINED PRODUCTS, INC.        GFMI AEROSPACE & DEFENSE                GIDDENS INDUSTRIES INC
12804 S. HOOVER ST.                   11161 SLATER AVENUE                     2600 94TH STREET SW SUITE 150
GARDENA, CA 90247                     FOUNTAIN VALLEY, CA 92708               EVERETT, WA 98204




GILBERT DAVIS                         GILBERT GALLEGOS                        GILBERT SYLVA
2921 AVENIDA NEVADA NE                5825 SANDOVAL DR NE                     101 CAREY RD
ALBUQUERQUE, NM 87110                 RIO RANCHO, NM 87144                    CORRALES, NM 87048




GILMAN ELECTRIC SUPPLY                GKN AEROSPACE/BANDY MACHINING, INC.     GLACIER JET CENTER
PO BOX 98                             3420 N. SAN FERNANDO BLVD.              4170 US HIGHWAY 2 EAST
NEWPORT, ME 04953                     BURBANK, CA 91510                       KALISPELL, MT 59901




GLASS DOCTOR-ALBUQUERQUE              GLOBAL ACCESS LLC                       GLOBAL EAGLE ENTERTAINMENT
4901 PAN AMERICAN PLACE NE            PO BOX 2184                             1050 OAK CREEK DRIVE
ALBUQUERQUE, NM 87109                 MINNEAPOLIS, MN 55402                   LOMBARD, IL 60148
GLOBAL ECLIPSE LLC     Case    18-12309-JKS    Doc 17 COMPANY
                                       GLOBAL EQUIPMENT Filed 10/10/18       Page 30 of
                                                                               GLOBAL    77
                                                                                      INDUSTRIAL EQUIPMENT CO.
KIRAZLITEPE MAH                        PO BOX 905713                            29833 NETWORK PLACE
BOGAZICI CAD 22, D:5                   CHARLOTTE, NC 28290-5713                 CHICAGO, IL 60673-1298
CANGELKOY ISTANBUL TURKEY




GLOBAL JET SERVICES, INC.              GLOBAL JET SERVICES, INC.                GLOBAL PARTS
175 POWDER FOREST DR.                  J.D.MC.HENRY, PRESODENT                  901 INDUSTRIAL ROAD
WEATOGUE, CT 06089                     30 TOWER LANE                            AUGUSTA, KS 67010
                                       AVON, CT 06001




GLOBAL SEARCH AGENCY                   GLOBAL TECHNICAL SERVICES, INC.          GLOBALPARTS.AERO
1712 S. MAIN ST.                       4000 SANDSHELL DR                        29833 NETWORK PLACE
FAIRFIELD, IA 52556                    FORT WORTH, TX 76137                     CHICAGO, IL 60673-1298




GLOBENEWSWIRE                          GOLDEN AERO CONSULTING LLC               GOLDLEAF PARTNERS
LOCKBOX 40200                          228 CAMINO CUATRO SW                     PO BOX 806
PHILADELPHIA, PA 19178                 ALBUQUERQUE, NM 87105                    BRAINERD, MN 56401




GORDON FEINGOLD                        GOVERNMENT OF HONG KONG SAR              GRACO SUPPLY CO.
PO BOX 6163                            27/F, IMMIGRATION TOWER                  1001 MILLER AVENUE
SANTA BARBARA, CA 93160-6163           7 GLOUCESTER ROAD                        FT. WORTH, TX 76105
                                       WAN CHAI HONG KONG




GRAINGER, INC.                         GRAINGER, INC.                           GRAINGER, INC.
DEPT 844597898                         DEPT 880135181                           KANSAS CITY, MO 64141-6267
PALATINE, IL 60038-0001                PALATINE, IL 60038-0001




GRAND RAPIDS ECONOMIC DEVELOPMENT      GRAND RAPIDS ECONOMIC DEVELOPMENT        GRAND RAPIDS PUBLIC UTILITIES
AUTHORITY                              AUTHORITY                                500 SETH ST
THE CITY OF GRAND RAPIDS; ITASCA       THE CITY OF GRAND RAPIDS; ITASCA         GRAND RAPIDS, MN 55744
ECONOMIC DEV CORP                      ECONOMIC DEV CORP
CITY ADMINISTRATOR OR PRESIDENT/CEO    CITY ADMINISTRATOR OR PRESIDENT/CEO
12 NW 3RD STREET                       420 POKEGAMA AVENUE NORTH
GRAND RAPIDS, MN 55744                 GRAND RAPIDS, MN 55744

GRAND RAPIDS PUC                       GRAND RAPIDS STATE BANK                  GREAT ISLAND BOAT YARD
PO BOX 658                             523 NW 1ST AVE                           419 HARPSWELL ISLANDS ROAD
GRAND RAPIDS, MN 55744                 GRAND RAPIDS, MN 55744                   HARSPWELL, ME 04079




GREAT LAKES ALARM & SECURITY           GREAT NORTHERN INSURANCE COMPANY         GREAT WEST RETIREMENT
PO BOX 18056                           15 MOUNTAIN ROAD                         GREAT WEST FINANCIAL
DULUTH, MN 55811-0056                  WARREN, NJ 07059                         8515 E. ORCHARD RD
                                                                                GREENWOOD VILLAGE, CO 80111




GREG BELAK                             GRIFFIN & ASSOCIATES, LLC                GROM ASSOCIATES, INC.
6629 HALLMARK NE                       2398 E CAMELBACK ROAD                    ROBERT GROM, PRESIDENT
ALBUQUERQUE, NM 87109                  SUITE 260                                1 MAIN STREET
                                       PHOENIX, AZ 85016                        FLEMINGTON, NJ
GUADALUPE ESTRADA       Case   18-12309-JKS   DocPARTNERS
                                       GUGGENHEIM  17 Filed 10/10/18          Page 31 of
                                                                                GUOTAI    77 SECURITIES USA INC
                                                                                       JUNAN
428 PEACEFUL MEADOW DR NE              GUGGENHEIM SECURITIES, LLC                630 FIFTH AVENUE
RIO RANCHO, NM 87144                   330 MADISON AVE                           SUITE 1915
                                       NEW YORK, NY 10017                        NEW YORK, NY 10111




H3R, INC                               HALL ENVIRONMENTAL ANALYSIS LAB           HALLMARK
483 MAGNOLIA AVE                       4901 HAWKINS NE                           4401 CUTLER NE
LARKSPUR, CA 94939                     ALBUQUERQUE, NM 87109                     ALBUQUERQUE, NM 87110




HAN LIM                                HANCOCK LUMBER                            HARCO LABORATORIES, INC.
6300 MONTGOMERY BLVD. NE 210           PO BOX 299                                186 CEDAR STREET
ALBUQUERQUE, NM 87109                  CASCO, ME 04015                           BRANFORD, CT 06405




HARCO LABORATORIES, INC.               HARCO LLC AEROSONIC LLC                   HARCO LLC
JOE GROTE PRESIDENT                    JOE GROTE PRESIDENT                       186 CEDAR STREET
1212 NORTH HERCULES                    1212 NORTH HERCULES                       BRANFORD, CT 06405
CLEAR WATER, FL 33765                  CLEAR WATER, FL 33765




HARMONY JACKMAN                        HARRY SANTIAGO-GONZALEZ                   HARSHAD SARAF
6340 BOBCAT HILL                       8089 SW STATE ROAD 247                    5801 EUBANK BLVD NE APT 290
ALBUQUERQUE, NM 87111                  LAKE CITY, FL 32024                       ALBUQUERQUE, NM 87111




HARTEL'S/DBJ DISPOSAL, LLC             HARTFORD LIFE AND ACCIDENT INSURANCE      HARTWELL CORPORATION
930 HWY 2                              COMPANY                                   FILE #41134
PROCTOR, MN 55810-1654                 ONE HARTFORD PLAZA                        LOS ANGELES, CA 90074-1134
                                       HARTFORD, CT 06155




HARTZELL PROPELLER INC.                HARVARD BUSINESS SERVICES, INC.           HAVE GUN WILL TRAVEL
DIRECTOR OF OEM SALES                  16192 COASTAL HIGHWAY                     SOMNAUK, IL 60552
ONE PROPELLER PLACE                    LEWES, DE 19958
PIQUA, OH




HAZMATPAC                              HEADS UP TECHNOLOGIES, INC.               HEARTLAND SERVICES, INC.
7905 BLANKENSHIP DR                    ROBERT C. HARSHAW                         14206 OVERBROOK
HOUSTON, TX 77055                      2033 CENNAULT DRIVE STE. 100              LEAWOOD, KS 66224
                                       CARROLLTON, TX 75006




HEIGHTS KEY LOCK & SAFE, INC.          HELLIER SOUTH CENTRAL                     HENRY GONZALEZ
920 SAN MATEO BOULEVARD NORTHEAST      16631 WEST HARDY ROAD                     5011 W. DIVERSEY AVE APT 3S
ALBUQUERQUE, NM 87108                  HOUSTON, TX 77060                         CHICAGO, IL 60639




HENRY ORLOSKY & KATHERYN ORLOSKY       HERALD                                    HERBER AIRCRAFT SERVICE INC
C/O WILLOUGHBY & HOEFER, P.A.          110 ROOSEVELT STREET                      1401 E FRANKLIN AVE
ELIZABETH ZECK                         DILLON, SC 29536                          EL SEGUNDO, CA 90245
930 RICHLAND STREET
COLUMBIA, SC 29201
HERITAGE TURBINES           Case 18-12309-JKS
                                         HESSON & Doc  17LLC Filed 10/10/18
                                                  BIRTCH,                        Page 32 of
                                                                                   HESSON   77
                                                                                          & BIRTCH, LLC
BARNSTABLE AIRPORT                         244 E DOTY AVENUE                        244 E DOTY AVENUE
35 HINCKLEY RD                             PO BOX 705                               PO BOX 705
HYANNIS, MA 02601                          NEENAH, WI 54956                         NEENAH, WI 54957-0705




HEXAGON METROLOGY, INC.                    HEXAGON METROLOGY, INC.                  HILLAERO MODIFICATION CENTER
250 CIRCUIT DR                             LOCKBOX 771742                           4055 NORTH PARK
NORTH KINGSTOWN, RI 02852                  1742 SOLUTIONS CENTER                    LINCOLN, NE 68524
                                           CHICAGO, IL 60677-1007




HINCKLEY SPRINGS                           HIRERIGHT, INC                           HISPANO-SUIZA CANADA
PO BOX 660579                              PO BOX 847783                            2000 FISHER DR PETERBOROUGH
DALLAS, TX 75266                           DALLAS, TX 75284                         PETERBOROUGH K9J 7B1 CANADA




HITEC SENSOR SOLUTIONS, INC.               HOLIDAY INN EXPRESS - SUW                HOLLAND FAMILY TRUST
537 GREAT ROAD                             HOLIDAY INN EXPRESS HOTEL & SUITES       125 FAIRCHILD STREET, SUITE 100
LITTLETON, MA 01460                        303 2ND AVENUE EAST                      MASON HOLLAND
                                           SUPERIOR, WI 54880                       CHARLESTON, SC 29492




HOLLAND FAMILY TRUST                       HOLLAND FAMILY TRUST                     HOLLAND MANAGEMENT SERVICES
186 SEVEN FARMS DRIVE                      C/O MASON HOLLAND, TRUSTEE               125 FAIRCHILD ST, STE 100
SUITE F #399                               125 FAIRCHILD STREET, SUITE 100          CHARLESTON, SC 29492
DANIEL ISLAND, SC 29492-8522               CHARLESTON, SC 29492




HOLLAND PROPERTIES                         HONEYWELL AEROSPACE SINGAPORE            HONEYWELL INTERNATIONAL INC
125 FAIRCHILD ST, STE 100                  PTLTD                                    HONEYWELL AEROSPACE
CHARLESTON, SC 29492                       BLK 512 CHAI CHEE LANE, #05-09, BED      111 SOUTH 34TH STREET
                                           469028 SINGAPORE                         PHOENIX, AZ 85034




HONEYWELL INTERNATIONAL, INC.              HONEYWELL INTERNATIONAL, INC.            HOWARD "PAUL" LAFLAIR
1300 W. WARNER ROAD                        23500 W. 105TH STREET                    2719 SUNNY SKY LN SW
TEMPE, AZ 85284                            OLATHE, KS 66061                         ALBUQUERQUE, NM 87121




HRVOJE MARINOVIC                           HUB INTERNATIONAL INS SVCS, INC.         HUBBARD DAVIS CPAS LLP
4627 HOLIDAY BREEZE PL NE                  P.O. BOX 90756                           990 LAKE HUNTER CIRCLE
ALBUQUERQUE, NM 87111                      ALBUQUERQUE, NM 87199                    MT. PLEASANT, SC 29464




HUBBS MACHINE & MANUFACTURING INC.         HUTCHINSON AEROSPACE & INDUSTRY          HUTCHINSON AEROSPACE
6282 ROCKY GROVE                           4510 VANOWEN ST.                         GRANT HINTZE, CEO
CEDAR HILL, MO 63016                       BURBANK, CA 91505                        4510 VANOWEN STREET
                                                                                    BURBANK, CA 91505




HYDROSOLUTIONS OF DULUTH, INC.             HYDROSOLUTIONS OF DULUTH, INC.           IAN JOHNSON
4845 LACKLAND ST.                          DAN LARSON                               8111 CINNAMON DRIVE
DULUTH, MN 55811                           4845 LACKLAND ST.                        ALBUQUERQUE, NM 87120
                                           DULUTH, MN 55811
IBM CORPORATION             Case 18-12309-JKS     Doc 17LLC Filed 10/10/18
                                         IDRIVE LOGISTICS,                      Page
                                                                                  IEC 33 of 77 CORP
                                                                                      ELECTRONICS
LOCKBOX 676673                            2600 EXECUTIVE PARKWAY STE 160          1450 MISSION AVENUE NE
DALLAS, TX 75267-6673                     LEHI, UT 84043                          ALBUQUERQUE, NM 87107




IFBOA                                     IGE+XAO                                 IGUS
PO BOX 685                                2540 KING ARTHUR BLVD                   PO BOX 14349
BEDFORD, MA 01730                         SUITE 209-M                             EAST PROVIDENCE, RI 02914
                                          LEWISVILLE, TX 75056




IHS GLOBAL INC.                           IHS GLOBAL                              IKON FINANCIAL SVCS
15 INVERNESS WAY EAST                     SZABO ASSOCIATES                        1738 BASS RD
INGLEWOOD, CO 80112                       3355 LENOX RD NE                        MACON, GA 31210-1043
                                          SUITE 945
                                          ATLANTA, GA 30326-1332



ILLINOIS DEPARTMENT OF REVENUE            ILLINOIS DEPARTMENT OF REVENUE          ILLINOIS SECRETARY OF STATE
PO BOX 19008                              WILLARD ICE BUILDING                    501 S. SECOND ST., RM 350
SPRINGFIELD, IL 62794-9008                101 WEST JEFFERSON STREET               SPRINGFIELD, IL 62756
                                          SPRINGFIELD, IL 62702




IMPACT CASES                              IMPACT SEVEN                            IN THE NEWS
3455 14TH AVENUE                          ATTN: BOB MAYER                         TAMPA, FL 33630
MARKHAM L3R 0H4 CANADA                    147 LAKE DRIVE
                                          ALMENA, WI 54805




INCEPTRA                                  INCEPTRA/CATIA                          INGENUITY CORPORATION
2020 NW 150TH AVE STE 300                 2020 NW 150TH AVE STE 300               2432 W. PEORIA AVE., SUITE 1201
PEMBROKE PINES, FL 33028                  PEMBROKE PINES, FL 33028                PHOENIX, AZ 85029




INN ON LAKE SUPERIOR                      INNOVATIVE SOLUTIONS & SUPPORT, INC     INNOVATIVE TOOLING SERVICES
350 CANAL PARK DRIVE                      720 PENNSYLVANIA DRIVE                  2506 W. MARSHALL DRIVE
DULUTH, MN 55802                          EXTON, PA 19341                         GRAND PRAIRIE, TX 75051




INNOVATUS HOLDING COMPANY                 INSTRON                                 INSTRUMENT SERVICE LABORATORIES
1401 TOWER AVE                            75 REMITTANCE DRIVE                     8340 WASHINGTON STREET NE SUITE A
SUPERIOR, WI 54880                        CHICAGO, IL 60675-6826                  ALBUQUERQUE, NM 87113




INSURED AIRCRAFT TITLE SERVICE INC        INTEGRATED IDEAS & TECHNOLOGIES         INTERNAL REVENUE SERVICE
PO BOX 19527                              6164 W. SELTICE WAY                     DEPARTMENT OF THE TREASURY
OKLAHOMA CITY, OK 73144                   POST FALLS, ID 83854                    OGDEN, UT 84201-0020




INTERNAL REVENUE SERVICE                  INTERNATIONAL AERO ENGINEERING LLC      INTERNATIONAL AVIATION SERVICES, LL
P.O. BOX 7346                             9058 ROSECRANS AVE.                     4131 RANCHO ENCANTO NW
PHILADELPHIA, PA 19101-7346               BELLFLOWER, CA 90706                    ALBUQUERQUE, NM 87120
                         Case 18-12309-JKS
INTERNATIONAL RITE-WAY PRODUCTS       INTERSTATEDoc
                                                  TAX17    Filed 10/10/18
                                                      STRATEGIES, P.C.      Page 34 of 77
                                                                              INVENTUS
1725 SOUTH CAMPUS AVENUE              1779 WILLARD WAY                        PO BOX 130114
ONTARIO, CA 91761                     SNELLVILLE, GA 30078                    DALLAS, TX 75313




IRON MOUNTAIN NY                       IRON MOUNTAIN INFORMATION              IRON MOUNTAIN
PO BOX 27128                           MANAGEMENT, INC.                       555 GALLATIN PL NW
NEW YORK, NY 10087                     SEAN ARCHAMBAULT CONTRACTS             ALBUQUERQUE, NM 87121
                                       COORDINATOR
                                       555 GALLATIN PLACE
                                       ALBUQUERQUE, NM 87121


IRON MOUNTAIN                          IRVIN AUTOMOTIVE                       ISAAC BACA
PO BOX 601002                          DETROIT, MI 48267-2681                 1061 CANAL BLVD
PASADENA, CA 91189                                                            LOS LUNAS, NM 87031




ISAAC GILCHRIST                        ISAAC WATTS                            ISRAEL HERRERA
                                       3409 OASIS SPRINGS RD                  4030 B MERCURY CIRCLE SE
                                       RIO RANCHO, NM 87144                   ALBUQUERQUE, NM 87116




ISSAC HULL                             I-STIR TECHNOLOGY, INC                 ITASCA ECONOMIC DEVELOPMENT
7533 STARWOOD DRIVE NW                 707 COUNTY ROAD E WEST                 CORPORATION
ALBUQUERQUE, NM 87120                  SHOREVIEW, MN 55126                    12 NW 3RD ST
                                                                              GRAND RAPIDS, MN 55744




IYON HAVACILIK VE ILERI IMALAT SANA    J.T. SMALLWOOD                         JACK HARRINGTON
EMNIYET EVLERI EMNIYET CADDESI         RM 160 COURTHOUSE 716 RICHARD          94 CAMINO BARRANCA
KAGITHANE, ISTANBUL 34200 TURKEY       BIRMINGHAM, AL 35203                   PLACITAS, NM 87043




JACK MILLHOLLIN                        JACK MUREN                             JACKIE LAGESSE
21 EL CERRO RD                                                                C/O KESTREL AIRCRAFT
LOS LUNAS, NM 87031                                                           1401 TOWER AVE
                                                                              SUPERIOR, WI 54880




JACKIE LAGESSE                         JACQUELINE SHEPARD                     JAMES C CAESAR
PROCTOR, MN 55810                      808 AGORA RD                           1507 MORNINGSIDE AVENUE
                                       RIO RANCHO, NM 87124                   DULUTH, MN 55803




JAMES CASWELL                          JAMES CHYBICKI                         JAMES CURRANS
29 JUNIPER AVENUE                      1120 S. OAKWOOD DR                     2209 INEZ NE
LOS LUNAS, NM 87031                    MT. PROSPECT, IL 60056                 ALBUQUERQUE, NM 87110




JAMES GREGG                            JAMES H. CLUTTER                       JAMES HARTFORD
1100 MONTE ALTO CT                     10690 STROUP ROAD                      2S 641 GRAY AVE
ALBUQUERQUE, NM 87123                  ROSWELL, GA 30075                      LOMBARD, KS 60148
JAMES JANECZEK              Case 18-12309-JKS    Doc 17
                                         JAMES PUCKETT       Filed 10/10/18   Page 35STEELE
                                                                                JAMES of 77
25515 W. BROOKS FARM RD                  9254 PLEASANT HILL CIRCLE              1300 LADRONES CT SW
ROUND LAKE, IL 60073                     TYLER, TX 75707                        ALBUQUERQUE, NM 87121




JAMES STONE                              JAMES WHITTENTON                       JAMIL SULEMAN
10 SUNGLOW                               3509 PARISIAN WAY NE                   1502 BENTON BLVD. APT.9301
EDGEWOOD, NM 87015                       ALBUQUERQUE, NM 87111                  SAVANNAH, GA 31407




JAMS, INC.                               JANE WANG                              JANICE ST. GERMAIN
FILE 1750                                                                       10413 SAN JACINTO AVE NE
1801 W OLYMPIC BLVD                                                             ALBUQUERQUE, NM 87112
PASADENA, CA 91199-1750




JANSENEERING INC                         JANSENEERING INC                       JAPAN RADIO COMPANY, LTD.
40 RYMAT RD                              C/O DAVID JANSEN                       SHIMORENJAKU 5-CHOME, MITAKA-SHI1-1
TOPSHAM, ME 04086                        PO BOX 6157                            TOKYO 1818510 JAPAN
                                         FALMOUTH, ME 04105-6157




JARED STONE                              JASON ANDERSON                         JASON BORDEN
321 E. SPAULDING ST                      116 ACORN CT                           1860 ELM ST
RIVERTON, IL 62562                       ROUND LAKE BEACH, IL 60073             WHITE BEAR LAKE, MN 55110




JASON CHAVEZ                             JASON DEAN                             JASON GUION
51 PATRICIO RD                           10239 SAND SAGE DR NW                  5235 LINDEN RD APT 8111
LOS LUNAS, NM 87031                      ALBUQUERQUE, NM 87114                  ROCKFORD, IL 61109




JASON M BORDEN                           JASON OTTS                             JASON PAUL
WHITE BEAR LAKE, MN 55110                5302 HOBBS CT NE
                                         RIO RANCHO, NM 87144




JASON RUBIN                              JAY CARDON                             JAY CARDON
331 WINTHROP AVE                         2049 CLEARWATER LOOP NE                3250 SPIRIT DRIVE SE
ADDISON, IL 60101                        RIO RANCHO, NM 87144                   ALBUQUERQUE, NM 87106




JAY D. STANKE                            JAY ENN CORPORATION                    JD INSPECTION, INC.
800 MANZANO NE                           33943 DEQUINDRE ROAD                   3420 JAMESWAY DR. SW
ALBUQUERQUE, NM 87110                    TROY, MI 48083                         ALBUQUERQUE, NM 87121




JD LOCKAWAY, LLC                         JEANETTE WHITLOCK                      JEANNE BROWN
767 ROSECRANS STREET                     1401 CUYLER BEST ROAD #503             PO BOX 11754
SAN DIEGO, CA 92106                      GOLDSBORO, NC 27534                    ALBUQUERQUE, NM 87192
JED JUDSON               Case     18-12309-JKS
                                          JEFF BODEDoc 17      Filed 10/10/18   Page
                                                                                  JEFF36 of 77
                                                                                       BOLIN
9251 EAGLE RANCH RD NW APT 1315           11760 CAMEL ROCK DR.                    58 CAMINO SOL Y PAZ
ALBUQUERQUE, NM 87114                     RENO, NV 89506                          STANLEY, NM 87056




JEFF COX                                  JEFF FOSTER TRUCKING, INC               JEFF FREY & ASSOCIATES PHOTOGRAPHY,
26 CAMINO YRISARRI                        PO BOX 367                              INC.
TIJERAS, NM 87059                         SUPERIOR, WI 54880                      CPL IMAGING
                                                                                  2711 WEST SUPERIOR STREET, SUITE 207
                                                                                  DULUTH, MN 55806



JEFF HESSON                               JEFF TIFFT                              JEFFREY ROBERTSON
3250 SPIRIT DRIVE SE                                                              2445 TAPIA BLVD SW
ALBUQUERQUE, NM 87106                                                             ALBUQUERQUE, NM 87105




JEFFREY ULRICH                            JEFFREY YINGLING                        JENNIFER ARCHER
627 QUINCY ST NE                          4909 WOODBURNE ROAD NW                  7 WESTLAKE DR NE
ALBUQUERQUE, NM 87110                     ALBUQUERQUE, NM 87114                   ALBUQUERQUE, NM 87112




JENNIFER MONTANO                          JENNIFER OLAH                           JEPPESEN SANDERSON INC
7021 OTTAWA RD NE                         2029 MINNESOTA AVE                      PO BOX 840864
ALBUQUERQUE, NM 87110-2216                DULUTH, MN 55802                        DALLAS, TX 75284




JERAMES TOOL & MFG                        JERED CHAMBERS                          JEREMY CEPA
9424 ABRAHAM WAY                          10432 VENTICELLO DR NW                  321 N MOZART ST
SANTEE, CA 92071                          ALBUQUERQUE, NM 87114                   PALATINE, IL 60067




JEREMY HOWE                               JEREMY JOHNSON                          JEREMY LAWRENCE
1000 10TH ST SE                           10613 MENAUL BLVD. NE                   3339 CENTRAL AVE NE #317
RIO RANCHO, NM 87124                      ALBUQUERQUE, NM 87112                   ALBUQUERQUE, NM 87106




JEREMY PARRISH                            JEREMY WOODS                            JERRY HOCKING
514 S. REUTER DR                          410 MEADOWS CT                          317 NEVADA AVE
ARLINGTON HEIGHTS, IL 60005               CHENEY, KS 67025                        BOX 461
                                                                                  GILBERT, MN 55741




JESSE SCHWARTZ                            JESSICA BURSACK                         JESSICA NELSON
7100 MOJAVE ST NW                         1 COMING ST APT. A                      8212 FEATHERTOP RD SW
ALBUQUERQUE, NM 87120                     CHARLESTON, SC 29401                    ALBUQUERQUE, NM 87121




JESSIE CADENA                             JESUS NUNEZ                             JET AVIATION DUBAI LLC
1644 6TH AVE                              3120 GRASSLAND DR SW                    DUBAI INTERNATIONAL AIRPORT
ROCKFORD, IL 61104                        ALBUQUERQUE, NM 87121                   DUBAI UNITED ARAB EMIRATES
JET MANUFACTURING, INC.   Case 18-12309-JKS     Doc 17AVIATION
                                       JETEX EXECUTIVE    FiledDWC-LLC
                                                                10/10/18    Page 37FLIGHT
                                                                              JETEX of 77SUPPORT
13445 ESTELLE ST.                       DUBAI INTL AIRPORT                    DUBAI INTL AIRPORT
CORONA, CA 92879                        PO BOX 54698                          PO BOX 54698
                                        DUBAI 06EA UNITED ARAB EMIRATES       DUBAI 06EA UNITED ARAB EMIRATES




JETEX FUELING SERVICES LIMITED          JETEX FZE                             JETEX FZE
ZURICH SWITZERLAND                      DUBAI INTERNATIONAL AIRPORT           DUBAI INTL AIRPORT
                                        PO BOX 54698                          PO BOX 54698
                                        DUBAI 06EA UNITED ARAB EMIRATES       DUBAI 06EA UNITED ARAB EMIRATES




JETEX FZE                               JETLOUNGE GMBH                        JETNET
ZURICH SWITZERLAND                      FLUGPLATZ HAUS 2                      101 FIRST STREET, 2ND FLOOR
                                        SCHONHAGEN 14959 GERMANY              UTICA, NY 13501




JIANGXI HONGDU AVIATION INDUSTRY GR     JILL SCHEPP                           JIM DEMEYER
XINXI QIAO, QINGYUN PU                  1334 MAPLETON AVE                     1615 WINTER ST
NANCHANGE CITY 330024 CHINA             CHARLESTON, SC 29412                  SUPERIOR, WI 54880




JIMMY JOJOLA                            JINGGONG GROUP LIMITED                JK TECH, LLC
408 FENWICK PL. SW                      19 DES VOEUX ROAD                     1441-A EUBANK NE
ALBUQUERQUE, NM 87121                   UNIT 2405 24/F                        ALBUQUERQUE, NM 87112
                                        HONG KONG HONG KONG




JN EQUIPMENT                            JOANN CUMMINS                         JOBS FOR MAINE'S GRADUATES
1042 S. CONGRESS AVENUE                 125 E NAVAJO ST                       45 COMMERCE DRIVE, SUITE 9
PALM SPRINGS, FL 33406                  HUACHUCA CITY, AZ 85616               AUGUSTA, ME 04330




JOBSHQ                                  JOE DAVIS                             JOE FOURNIER
PO BOX 6024                             285 GRANDVIEW TRL                     68 GILL ST #2
FARGO, ND 58107-6024                    TIJERAS, NM 87059                     AUBURN, ME 04210




JOHN PASQUALE                           JOHN DORSO                            JOHN E. THIEL
1430 COMMONS DR #1C                     10700 ACADEMY RD NE APT 2128          KIMBERLY A JOHNSON-THIEL
WOODSTOCK, IL 60098                     ALBUQUERQUE, NM 87111                 2971 RYF ROAD
                                                                              OSHKOSH, WI 54904




JOHN FREVOLA                            JOHN FUGEDY                           JOHN HANCOCK LIFE INSURANCE COMPANY
11020 E GOLD DUST AVE                   4 MARISA CT                           PO BOX 7247-0274
SCOTTSDALE, AZ 85259                    PLACITAS, NM 87043                    PHILADELPHIA, PA 19170-0274




JOHN HAVLINA                            JOHN JUANICO                          JOHN REID
1289 MOUNTAIN VALLEY RD                 6200 MONTANO PLAZA DRIVE NW #1711     10345 PINTURA PLACE NW
SANDIA PARK, NM 87047                   ALBUQUERQUE, NM 87120                 ALBUQUERQUE, NM 87114
JOHN RODGERS               Case 18-12309-JKS    Doc 17
                                        JOHN RUSSOM           Filed 10/10/18   Page 38TRIMMER
                                                                                 JOHN   of 77
43 PLAZA SAN BLAS                       10755 CORONA RANCH RD SW                 12012 EL SOLINDO NE
ALBUQUERQUE, NM 87109                   ALBUQUERQUE, NM 87121                    ALBUQUERQUE, NM 87111




JOHN W. ORVIN                           JOHN WALLEDOM                            JOHNSON & GARRISON, LLC
233 INDIGO BAY CIRCLE                   1550 FAIRWAY DRIVE #102                  5885 CUMMING HIGHWAY
MT. PLEASANT, SC 29464                  NAPERVILLE, IL 60563                     SUGAR HILL, GA 30518




JOHNSON CONTROLS INC                    JON HANSEN                               JON W DWIGHT
PO BOX 730068                           ALBUQUERQUE, NM 87114                    PO BOX 1948
DALLAS, TX 75373                                                                 TELLURIDE, CO 81435




JONA MANUFACTURING SERVICES             JONATHON FOX                             JORDAN GORCHOW
264 DP ROAD                             8207 RUIDOSO RD NE                       370 WELLINGTON AVENUE
LOS ALAMOS, NM 87544                    ALBUQUERQUE, NM 87109                    ELK GROVE VILLAGE, IL 60007




JORMAC AEROSPACE                        JOSE RIOS                                JOSE SANTOS
11221 69TH STREET NORTH                 871 N. RICHMOND ST                       620 PRIMROSE AVE SW
LARGO, FL 33773                         CHICAGO, IL 60622                        LOS LUNAS, NM 87031




JOSEPH ANAYA                            JOSEPH HANLEY                            JOSEPH KING
615 HIGH STREET SE                      308 GOVERNOR DRIVE                       5332 SOLE GRANDE RD NW
ALBUQUERQUE, NM 87102                   SCHAUMBURG, IL 60193                     ALBUQUERQUE, NM 87114




JOSEPHINE ROMERO                        JOSH BURKLAND                            JOSH CALDERON
2524 WOODHILL DR. NW                    914 21ST ST NW                           900 PEACOCK SW
ALBUQUERQUE, NM 87120                   ALBUQUERQUE, NM 87124                    ALBUQUERQUE, NM 87121




JOSHUA ALCAZAR                          JOSHUA AVIATION                          JOSHUA JOURDAIN
2048 WEST HOOD AVE. APT 2A                                                       35 CROSS CREEK DRIVE APT #L4
CHICAGO, IL 60659                                                                CHARLESTON, SC 29412




JOSHUA WAGNER                           JOSSUE ENAMORADO                         JSFIRM LLC
521 JANE ST. NE                         1529 YELLOWSTONE DRIVE                   8205 CAMP BOWIE WEST
ALBUQUERQUE, NM 87123                   STEAMWOOD, IL 60107                      FORT WORTH, TX 76116




JULIAN RIOS                             JUSTIN HORA                              JUSTIN SANSOUCI
9110 B SUNSET GARDENS SW                453 N CAMBRIDGE DR.                      5601 TAYLOR RANCH RD NW APT 912
ALBUQUERQUE, NM 87121                   PALATINE, IL 60067                       ALBUQUERQUE, NM 87120
JUSTIN SPURLOCK           Case 18-12309-JKS     Doc 17
                                       JUSTIN WILSON          Filed 10/10/18   Page 39 of
                                                                                 JUSTINE   77
                                                                                         ASHLEY
                                       38738 EAST ST CLOUD CIRCLE                 PO BOX 4132
                                       RICHMOND, MO 64085                         GALLUP, NM 87305




JVC HYDRAULICS & ASSY. TOOLS           JWR INTERNATIONAL GROUP                    KAC FINANCE COMPANY
11601 PELLICANO STE-D8                 MS XUHUA WANG                              3520 LINCOLN AVE # 1
EL PASO, TX 79936                      205 EAST 92ND STREET, SUITE 15F            OGDEN, UT 84401
                                       NEW YORK, NY 10128




KAEHR CORPORATION                      KAMAN INTEGRATED STRUCTURES                KAMEN WIPING MATERIALS
1425 CANDELARIA RD NE                  227 GUN CLUB ROAD                          441 N. SANTA FE
ALBUQUERQUE, NM 87107                  JACKSONVILLE, FL 32218                     WICHITA, KS 67201




KAMIL EKIM ALPTEKIN                    KAPCO-GLOBAL                               KAPLAN
2503 CLARK CARR LOOP SE                3120 E ENTERPRISE ST
ALBUQUERQUE, NM 87106                  BREA, CA 92821




KAREN BAKER                            KARIN BEAUDETTE                            KARLTON TWOBULL
7220 CASCADA ROAD NW                   960 ATLANTIC AVE #B                        37 BLUE STAR LOOP (PO BOX 673)
ALBUQUERQUE, NM 87114                  HOFFMAN ESTATES, IL 60169                  CASA BLANCA, NM 87007




KATE DOUGHERTY                         KATHRYN GAYLORD                            KATHY FELIX
2117 HILLCREST DRIVE                   6000 CORTADERIA STREET NE #7205            1717 CLIFFSIDE DR. NW
DULUTH, MN 55811                       ALBUQUERQUE, NM 87111                      ALBUQUERQUE, NM 87105




KATHY MOE                              KAYLA N. MANSFIELD                         KAZUMI KAWAKUBO
                                       8919 7TH ST.                               1418 TIFFANY LN
                                       ALBUQUERQUE, NM 87114                      RIO RANCHO, NM 87124




KEITH PERNA                            KEITH'S KREATIONS, INC.                    KELLEY CRANE AND HOIST, LLC
3021 N PARIS                           2611 KARSTEN CT SE SUITE A                 3301 COORS BLVD NW, SUITE R
RIVER GROVE, IL 60171                  ALBUQUERQUE, NM 87102                      ALBUQUERQUE, NM 87120




KELLY BURGE                            KELLY CABLE OF NM, INC                     KELLY PARSONS
10501 ANDALUSION AVE SW                6901 READING AVENUE SE                     6605 GISELE NE
ALBUQUERQUE, NM 87121                  ALBUQUERQUE, NM 87105                      ALBUQUERQUE, NM 87109




KEN ROSS                               KENDAL PRECISION                           KENNETH BUMBAUGH
                                       7917 RANCHITOS LOOP NE                     560 CASPER RD SE
                                       ALBUQUERQUE, NM 87113                      RIO RANCHO 87124
KENNETH OPHEIM              Case 18-12309-JKS    Doc 17
                                         KENNETH ROSS         Filed 10/10/18   Page 40 ofWEBER
                                                                                 KENNETH  77
2832 WEST ISLAND LOOP SE                 49 PARK LANE                            1432 S FAIRVIEW AVE.
RIO RANCHO, NM 87124                     GOLF, IL 60029                          PARK RIDGE, IL 60068




KENNY DIAMOND                            KENNY DIAMOND                           KERRI HINTON
1305 ARIZONA ST NE                       2000 MONTE LARGO DR. NE                 2922 EAST 2ND STREET
ALBUQUERQUE, NM 87110                    ALBUQUERQUE, NM 87112                   DULUTH, MN 55812




KERRY CHANTER                            KESTREL AIRCRAFT COMPANY                KESTREL BRUNSWICK
11809 FULMER DR. NE
ALBUQUERQUE, NM 87111




KESTREL BRUNSWICK CORP                   KESTREL MANUFACTURING LLC               KESTREL TOOLING CO




KESTREL VOTING TRUST                     KEVIN BOGNER                            KEVIN GOULD
25134 RYE CANYON LOOP                    1128 COUNTRY ROAD 900 E                 1212 VICTORIA DR
VALENCIA, CA 29492                       CHAMPAIGN, IL 61822                     ST. HELENA, CA 94574




KEVIN GOULD                              KEVIN GOULD                             KEVIN HAYNES
3250 SPIRIT DRIVE SE                     KEVIN GOULD                             8100 BARSTOW ST NE #15201
ALBUQUERQUE, NM 87106                    1801 GIBSON BLVD. SE #3028              ALBUQUERQUE, NM 87122
                                         ALBUQUERQUE, NM 87106




KEVIN JACKSON                            KEVIN KLOCKE                            KEVIN MURPHY
5519 SATURNIA RD                         12358 LOS ARBOLES AVE NE                275 HILL AVE
ALBUQUERQUE, NM 87114                    ALBUQUERQUE, NM 87112                   BARTLETT, IL 60103




KEVIN RAIHALA                            KEVIN RAUEN                             KEYTRONICEMS
5015 WASHBURN ROAD                       1230 LYNN TERRACE                       N. 4424 SULLIVAN ROAD
DULUTH, MN 55804                         HIGHLAND PARK, IL 60035                 SPOKANE VALLEY, WA 99216




KHAMPHAT BOULOM                          KIEPURA AVIATION CORP.                  KIERAN MCGARRELL
11020 BUFFALO RIVER RD SE                61 CHURCH STREET                        3250 SPIRIT DRIVE SE
ALBUQUERQUE, NM 87123                    LITTLETON, NH 03561                     ALBUQUERQUE, NM 87106




KIM MCGUIRE                              KIMBERLI BITNER                         KIRK POTTER
2969 WALDWIC LANE                        2201 BLACK HILLS RD                     801 LOCUST PL NE, APT 1036
OSHKOSH, WI 54904                        RIO RANCHO, NM 87124                    ALBUQUERQUE, NM 87102
KIT PACK CO., INC.         Case 18-12309-JKS
                                        KIWI BROSDoc 17 Filed 10/10/18
                                                 TRUCKING                     Page 41INDUSTRIES
                                                                                KLUNE of 77     INC
285 E. THORPE RD.                       5739 OLD HWY 61                          C/O DIXON SCHOLL CARRILLO PA
LAS CRUCES, NM 88007                    DULUTH, MN 55810                         ATTN STEVEN S SCHOOL / DENNIS W HILL
                                                                                 PO BOX 94147
                                                                                 ALBUQUERQUE, NM 87199-4147



KLUNE INDUSTRIES                        KLUNE INDUSTRIES, INC.                   KLUNE INDUSTRIES, UTAH DIVISION
7323 COLDWATER CANYON AVE               DENNIS W. HILL                           1800 NORTH 300 WEST
NORTH HOLLYWOOD, CA 91605               PO BOX 94147                             BOB BALLANTYNE
                                        ALBUQUERQUE, NM                          SPANISH FORK, UT 84660




KLX AEROSPACE SOLUTIONS                 KNOCKOUT MTL WRX, LLC                    KR ANDERSON
10000 NW 15TH TERRACE                   7130 JEFFERSON ST                        18330 SUTTER BLVD.
MIAMI, FL 33172                         ALBUQUERQUE, NM 87109                    MORGAN HILL, CA 95037




KRECH OJARD & ASSOCIATES, P.A.          KRISTINA TORSIELLO                       KRYSTA HOEFGEN
227 W 1ST STREET STE 200                1808 LA CABRA DRIVE NE                   2881 PINE RIDGE RD
DULUTH, MN 55802                        ALBUQUERQUE, NM 87123                    OSHKOSH, WI 54904




KT ENGINEERING CORPORATION              KURT IMHOFF                              KYLE SHAW
2016 E. VISTA BELLA WAY                 210 LORIEN CT                            2637 E ATLANTIC BLVD. #27720
RANCHO DOMINGUEZ, CA 90220              EAST DUNDEE, IL 60118                    POMPANO BEACH, FL 33062




KYLE VELASQUEZ                          L-3 COMMUNICATIONS AVIONICS SYSTEMS      LABBE CLEANING SERVICE
P.O. BOX 471                            21859 NETWORK PLACE                      23 BEAVER BROOK RD
HOUCK, AZ 86506                         CHICAGO, IL 60673-1223                   WEST BATH, ME 04530




LABINAL, INC.                           LABOR READY CENTRAL, INC                 LAKE CITY TOWING
PO BOX 7247                             1015 A STREET                            2904 WINTER ST
PHILADELPHIA, PA 19170-7583             TACOMA, WA 98402                         SUPERIOR, WI 54880




LAMINATED SHIM CO., INC.                LANCE MARTINEZ                           LANCE MARTINEZ
1691 CALIFORNIA AVENUE                  28799 ELWELL RD                          869C TRAMWAY LN CT. NE
CORONA, CA 92881                        BELLEVILLE, MI 48111                     ALBUQEURQUE, NM 87122




LANIC ENGINEERING, INC.                 LARRY JONES                              LASER INDUSTRIES INC.
12144 6TH STREET                        631 TARPON AVE #6325                     JOHN KRICKL VP SALES
RANCHO CUCAMONGA, CA 91730              FERNANDINA BEACH, FL 32034               1351 MANHATTEN AVE
                                                                                 FULLERTON, CA 92831




LASER INDUSTRIES, INC.                  LASER PROJECTION TECHNOLOGIES INC.       LATVALA LUMBER CO.
1351 MANHATTAN AVENUE                   8 DELTA DRIVE                            1922 GLENWOOD DRIVE
FULLERTON, CA 92831                     LONDONDERRY, NH 03053-2349               GRAND RAPIDS, MN 55744
LAURA ALBERTS                Case 18-12309-JKS    Doc 17
                                          LAUREN CLAYTON         Filed 10/10/18   Page 42 DAVID
                                                                                    LAURIE of 77
891 ISLAND PARK DR.                       24 MIRKWOOD RD                            550 SAGEBRUSH DR.
CHARLESTON, SC 29492                      TIJERAS, NM 87059                         CORRALES, NM 87048




LAW FIRM LOGISTICS                        LAW OFFICES OF YODICE ASSOCIATES          LAWRENCE PINTOR
520 FOLLY ROAD, STE P-183                 411 AVIATION WAY, SUITE 245               3501 JUAN TABO BLVD J6
CHARLESTON, SC 29412                      FREDERICK, MD 21701                       ALBUQUERQUE, NM 87111




LBAM                                      LEAP                                      LEARNER SUPPLY, LLC
                                          45 BROMFIELD ST                           84 LEE STREET
                                          SUITE 1101                                CHICKASAW, AL 36611
                                          BOSTON, MA 02108




LEBEL'S HEATING & SHEET METAL, INC.       LEDTRONICS, INC.                          LEE WHITTENTON
221 LINCOLN STREET                        23105 KASHIWA COURT                       3509 PARISIAN WAY NE
LEWISTON, ME 04240                        TORRANCE, CA 90505                        ALBUQUERQUE, NM 87111




LEKTRO                                    LEROY MONTANO                             LESHA COLE
1190 S.E. FLIGHTLINE DRIVE                3115 MANZANO ST SE                        10720 SHOOTING STAR ST NW
WARRENTON, OR 97146                       ALBUQUERQUE, NM 87110                     ALBUQUERQUE, NM 87114




LESYA WEXLER                              LESYA WEXLER                              LESYA WEXLER
11433 MALAGUENA LN NE                     12200 ACADEMY RD NE APT 922               6200 EUBANK BLVD APT. #1322
ALBUQUERQUE, NM 87111                     ALBUQUERQUE, NM 87111                     ALBUQUERQUE, NM 87111




LEWIS LABEL PRODUCTS                      LEWIS ROCA                                LEXAVIA INTERGRATED SYSTEMS
2300 RACE ST                              ROTHGERBER CHRISTIE                       CORPORATION
FORT WORTH, TX 76111-0528                 201 EAST WASHINGTON STREET                JURGA IHAS PRESIDENT
                                          SUITE 1200                                2665 GULF BREEZE PARKWAY
                                          PHOENIX, AZ 85004-2595                    GULF BREEZE, FL 32501



LEXTECH                                   LIANE MONTFORD                            LIBERTY TIRE RECYCLING
8285 RHINE WAY                            12342 TULAROSA TRAIL NE                   2044 N. DOMINICK ST.
CENTERVILLE, OH 45458                     ALBUQUERQUE, NM 87111                     CHICAGO, IL 60614




LIFEROOTS, INC                            LIFE'S A PICNIC, LLC                      LIGHTNING DIVERSION SYSTEMS, INC.
1111 MENAUL BLVD NE                       3713 94TH AVE W                           16572 BURKE LANE
ALBUQUERQUE, NM 87107                     DULUTH, MN 55808                          HUNTINGTON BEACH, CA 92647




LIGHTNING DIVERSION SYSTEMS, INC.         LIGHTNING TECHNOLOGIES - NTS              LINCOLN NATIONAL LIFE INSURANCE CO
JACK SCHROEDER PRESIDENT                  NATIONAL TECHNICAL SYSTEMS                PO BOX 0821
16572 BURKE LANE                          PO BOX 8208                               CAROL STREAM, IL 60132-0821
HUNTINGTON BEACH, CA 92647                PASADENA, CA 91109-8208
LINKEDIN CORPORATION         Case 18-12309-JKS     Doc 17
                                          LIVING BENEFITS ASSETFiled 10/10/18
                                                                MANAGEMENT, LLC Page 43 of
                                                                                  LLOYDS OF77
                                                                                            LONDON
62228 COLLECTIONS DR.                       C/O H. JOSEPH ACOSTA                  ONE LIME STREET
CHICAGO, IL 60693                           FISHERBROYLES, LLP                    LONDON EC3M 7HA UNITED KINGDOM
                                            4514 COLE AVE, STE 600
                                            DALLAS, TX 75205



LOBO FIRE PROTECTION                        LONGVANS                              LONNIE PLOTT
1018, 1504 LOS ARBOLES AVE                  PO BOX 44719                          6100 HARPER DR NE APT 4
ALBUQUERQUE, NM 87107                       MADISON, WI 53744-4719                ALBUQUERQUE, NM 87109




LONNY EPPS                                  LORD CORPORATION                      LOREN E. TIMM, LLC
167 HIGHLANDS                               PO BOX 281707                         11828 OAKAIR PLAZA
PORTALES, NM 88130                          ATLANTA, GA 30384-1707                OMAHA, NE 68137




LORENZO MUNOZ                               LORI BERMAN                           LORI SHERIDAN
5508 SWEETWATER DR NW                       916 INDIANA ST SE                     3010 ALISO DR NE
ALBUQUERQUE, NM 87120                       ALBUQUERQUE, NM 87108                 ALBUQUERQUE, NM 87110




LOS ANGELES TIMES                           LOW COUNTRY TARGET MAILING            LOWE'S OF CENTRAL ALBUQUERQUE NEW M
FILE 54221                                  2139 N. BOLAND CIRCLE                 2001 12TH STREET NW
LOS ANGELES, CA 90074                       NORTH CHARLESTON, SC 29406            ALBUQUERQUE, NM 87104




LOYD LOONEY                                 L-S INDUSTRIES                        LUCAS BACA
7620 BANYON AVE NW                          8902 VALGRO ROAD                      8325 RIO GRANDE BLVD NW
ALBUQUERQUE, NM 87114                       KNOXVILLE, TN 37920                   ALBUQUERQUE, NM 87114




LUCKY STRIPES SIGNS INC                     LUIS CHENOWETH                        LUIS FONSECA
2107 MENAUL NE                              222 MAPLE ST NE APT. 11               6704 AUGUSTA HILLS DRIVE NE
ALBUQUERQUE, NM 87107                       ALBUQUERQUE, NM 87106                 RIO RANCHO, NM 87144




LUKE MATNEY                                 LUTHER SIEFF                          LYNN JUDGE
10204 TEAL RD SW                            2916 LILY POND RD                     33 CAMINO COLLADO
ALBUQUERQUE, NM 87121                       WOODSTOCK, IL 60098                   EDGEWOOD, NM 87015




LYNNE BROWN                                 M MORGAN                              M&R FLOOR COVERING
3104 E. CAMELBACK RD. #424                  721 GEORGIA ST SE                     6 CHICKADEE CT
PHOENIX, AZ 85016                           ALBUQUERQUE, NM 87108                 N. FOND DU LAC, WI 54937




MACHINE SCIENCES CORPORATION                MACHINE SERVICES LLC                  MADELYN HATCH
BRIAN MCCABE PRESIDENT                      2711C KARSTEN COURT SE                3006 21ST AVE SE
10165 SW COMMERCE CIRCLE STE. G             ALBUQUERQUE, NM 87102                 RIO RANCHO, NM 87124
WILLSONVILLE, OR 97070
MAGEE RESOURCE GROUP, LLC  Case   18-12309-JKS    Doc 17
                                          MAINE COASTAL FLIGHTFiled 10/10/18
                                                               CENTER, INC.     Page 44REVENUE
                                                                                  MAINE of 77 SERVICES
920 PIERREMONT RD., SUITE 515              112 CARUSO DRIVE                       51 COMMERCE DR
SHREVEPORT, LA 71106                       TRENTON, ME 04605                      AUGUSTA, ME 04330




MAINE REVENUE SERVICES                     MAINEOXY GROUP                         MALOY DIVERSIFIED, INC.
P.O. BOX 1065                              22 ALBISTON WAY                        2711 KARSTEN CT SE
AUGUSTA, ME 04332-1065                     AUBURN, ME 04210                       ALBUQUERQUE, NM 87102




MANEY & GORDON, P.A.                       MANUFACTURERS ASSOCIATION OF MAINE     MANUFACTURING TECHNOLOGIES INC
2305 RENARD PLACE SE #110                  101 MCALISTER FARM ROAD                1421 S CAMINO DEL PUEBLO
ALBUQUERQUE, NM 87106                      PORTLAND, ME 04103                     BERNALILLO, NM 87004




MARC CARRILLO                              MARC TASSONE                           MARCIA PARTOW
9501 COOK RANCH PL SW                      3700 ROSE CIRCLE                       1419 EL PORTAL NW
ALBUQUERQUE, NM 87121                      RIO RANCHO, NM 87124                   ALBUQUERQUE, NM 87107




MARCO STEEL & ALUMINUM INC.                MARCOS MARTINEZ                        MARCUS ORTEGA
PO BOX 60475                               5636 ADDIS DR SE                       9 STARLIGHT ACRES DR
MIDLAND, TX 79711                          ALBUQUERQUE, NM 87106                  EDGEWOOD, NM 87015




MARCUS URIAS                               MARIA                                  MARIA HAGERTY
11132 MIRAVISTA PL SE
ALBUQUERQUE, NM 87123




MARIA KRUPA                                MARK BENNETT                           MARK BURLINGAME
247 SIERRA PASS DR.                        7 CHARTER RIDGE DR                     232 DOGWOOD TRAIL SE
SCHAUMBURG, IL 60194                       SANDY HOOK, CT 06482                   RIO RANCHO, NM 87124




MARK HEINE                                 MARK HOCKING                           MARK MCKINNEY
10136 AVENIDA VISTA CERROS                 2523 W SKYLINE PKWY                    1013 SEA GULL DRIVE
ALBUQUERQUE, NM 87114                      DULUTH, MN 55806                       MT PLEASANT, SC 29464




MARK POWLES                                MARK TUCCI                             MARSH & MCLENNAN AGENCY, LLC
620 SONORA RD NE                           2220 HIGHFIELD CT                      COMPANY
RIO RANCHO, NM 87144                       AURORA, IL 60504                       P O BOX 12748
                                                                                  ROANOKE, VA 24028




MARSH LTD                                  MARSH USA INC                          MARSH USA INC
VICTORIA HOUSE                             62505 COLLECTION CENTER DR.            PO BOX 846015
NORWICH NRI 3QQ GREAT BRITAIN              CHICAGO, IL 60693                      DALLAS, TX 75284-6015
MARTHA CASWELL              Case 18-12309-JKS     Doc 17
                                         MARTIN BARBER           Filed 10/10/18   Page 45 of
                                                                                    MARTIN   77
                                                                                           HOFFMAN
29 JUNIPER AVE                           12 MELROSE PLACE
LOS LUNAS, NM 87031                      EDGEWOOD, NM 87015




MARYBETH ALMAND                          MARY-KATIE ALVARADO                        MASK-OFF COMPANY, INC
4055 MERCURY CIRCLE SE                   605 LOMA LINDA LOOP                        345 W MAPLE AVE
ALBUQUERQUE, NM 87116                    RIO RANCHO, NM 87124                       MONROVIA, CA 91016




MASON ELECTRIC CO.                       MASON ELECTRIC CO.                         MASON HOLLAND
13955 BALBOA BLVD.                       DEPT. 9171
SYLMAR, CA 91342                         LOS ANGELES, CA 90084-9171




MASS SYSTEMS                             MATCO TOOLS                                MATERIAL SUPPORT RESOURCES, INC
4601 LITTLEJOHN STREET                   701 GREENVIEW AVE                          280 N ROOSEVELT AVE. #1
BALDWIN PARK, CA 91706                   DES PLAINES, IL 60016                      CHANDLER, AZ 85226




MATHESON TRI-GAS, INC.                   MATHESON TRI-GAS, INC.                     MATHIAS BARK
DEPT 3028                                P. O.BOX 845502                            9 WESTERN SADDLE DR
PO BOX 123028                            DALLAS, TX 75284-5502                      TIJERAS, NM 87059
DALLAS, TX 75312




MATRIX SUPPORT SERVICES                  MATT & MEREDITH JACKSON                    MATTHEW DORAN
PO BOX 237                               1858 CROWN DR                              1221 RITA AVE
TIJERAS 87059-0237 MEXICO                OSHKOSH, WI 54904                          ST. CHARLES, IL 60174




MATTHEW GEUDER                           MATTHEW LEIKER                             MATTHEW OLGUIN
1351 PEPPOLI LOOP SE                     1629 LONGBOW CT                            4112 LAS CASAS CT
RIO RANCHO, NM 87124                     WHEELING, IL 60090                         RIO RANCHO, NM 87124




MATTHEW OLLESTAD                         MATTHEW PINKEL                             MATTHEW SANTISTEVAN
                                         12100 HICKORY COURT NE                     3000 AZTEC RD. NE #89
                                         ALBUQUERQUE, NM 87111                      ALBUQUERQUE, NM 87107




MATTHIAS BARK                            MAXINE NELSON                              MAXINE NELSON
MATTHIAS BARK                            1509 NEW GARDEN RD APT 2C                  2323 MOUNTAIN ROAD NW UNIT 6
9 WESTERN SADDLE DR.                     GREENSBORO, NC 27410                       ALBUQUERQUE, NM 87104
TIJERAS, NM 87059




MAYA COMBS-HURTADO                       MCCLINTIC RDM, INC.                        MCDOWELL AND COMPANY
925 LA LUZ NW                            9701 TRUMBULL SE                           1201 COMMERCE DRIVE
ALBUQUERQUE, NM 87107                    ALBUQUERQUE, NM 87123                      RICHARDSON, TX 75081
MCGRIFF SEIBELS & WILLIAMSCase    18-12309-JKS     Doc 17& WILLIAMS
                                          MCGRIFF SEIBELS    Filed 10/10/18    Page 46 ofSEIBELS
                                                                                 MCGRIFF, 77 & WILLIAMS, INC
ATTN: ROBERT DREW                          LOCKBOX DRAWER 456                    RICHIE SALEM
2211 7TH AVENUE SOUTH                      PO BOX 11407                          2211 7TH AVENUE SOUTH
BIRMINGHAM, AL 35233                       BIRMINGHAM, AL 35246-0456             BIRMINGHAM, AL 35233




MCLEAN GROUP                               MCM AIR, INC                          MCMASTER-CARR SUPPLY CO.
7918 JONES BRANCH DRIVE                    6122 CTY RD M                         PO BOX 7690
SUITE 750                                  WINNECONNE, WI 54986                  CHICAGO, IL 60680-7690
MCLEAN, VA 22102




MCNAIR LAW FIRM, PA                        MECAER AMERICA, INC.                  MECAER AVIATION GROUP S.P.A.
ATTN: ACCOUNTS RECEIVABLE                  5555 WILLIAM-PRICE                    ARMANDO SASSOLI GENERAL MANAGER
PO BOX 11390                               LAVAL, QUEBEC H7L 6C4 CANADA          INDUSTRIAL OPERATIONS
COLUMBIA, SC 29211                                                               VIA PER ARONA 46-28021
                                                                                 BORGAMANERO ITALY



MECSOFT CORPORATION                        MED PLUS URGENT CARE                  MEDICA
18019 SKY PARK CIRCLE                      9549 MONTGOMERY RD SUTIE 100          NW 7958
SUITE K, L                                 CINCINNATI, OH 45242                  PO BOX 1450
IRVINE, CA 92614                                                                 MINNEAPOLIS, MN 55485-7958




MEDLEY MATERIAL HANDLING CO.               MEGGITT POLYMERS AND COMPOSITES       MEHMET OZGUR OZGEN
PO BOX 26706                               LOS ANGELES, CA                       BEYLERBEYI MAHALLESI
OKLAHOMA CITY, OK 73126                                                          ISKELE CADDESI
                                                                                 16/1 - USKUDAR
                                                                                 ISTANBUL TURKEY



MEI LOCK & SECURITY / ABA LOCKS            MELLIN PROMOTIONAL ADVERTISING        MELLIN PROMOTIONAL ADVERTISING
13965 CENTRAL AVENUE                       4531 AIRPARK BLVD                     4531 AIRPARK BLVD
CHINO, CA 91710                            DULUTH, MN 55811                      DULUTH, MN 55881




MERCER                                     MERLIN PARTNERS, LLC                  MERLIN PARTNERS, LLC
P O BOX 730212                             1900 NE 3RD ST #106-349               1900 NE 3RD STREET #106-349
DALLAS, TX 75373                           BEND, OR 97701                        BEND, OR 97701




MESA EQUIPMENT & SUPPLY COMPANY            METAL IMPROVEMENT COMPANY             METAL SUPERMARKETS ALBUQUERQUE
7100 2ND STREET NW                         7655 LONGARD RD.                      5620 D SAN FRANCISCO RD NE
ALBUQUERQUE, NM 87107                      LIVERMORE, CA 94550                   ALBUQUERQUE, NM 87109




METALLURGICAL SUPPLY COMPANY, INC.         METALWEB LIMITED                      METRO SALES, INC.
9137 SPRING BRANCH DRIVE #303              UNIT 1 STARGATE BUSINESS PARK         ATTN: ACCOUNTS RECEIVABLE
HOUSTON, TX 77080                          CUCKOO ROAD, NECHELLS, BERMINGHAM     1620 EAST 78TH STREET
                                           B7 5S GREAT BRITAIN                   MINNEAPOLIS, MN 55423-4637




MICHAEL ARCHULETA                          MICHAEL BAN                           MICHAEL BREMNER
2704 19TH ST NW                            1146 TENNYSON LANE                    2169 ARGYLE AVENUE
ALBUQUERQUE, NM 87104                      NAPERVILLE, IL 60540                  LOS ANGELES, CA 90068
MICHAEL COSTELLO           Case 18-12309-JKS     Doc 17
                                        MICHAEL DANIELS        Filed 10/10/18   Page 47 ofHINTON
                                                                                  MICHAEL   77
1501 GARCIA ST. NE                       7714 WHITAKER DR                          DULUTH, MN 55812
ALBUQUERQUE, NM 87112                    SUMMERFIELD, NC 27358




MICHAEL MANAGEMENT                       MICHAEL MARTIN                            MICHAEL PETERSON
3111 CAMINO DEL RIO N, SUITE 400         12N815 ROMKE ROAK
SAN DIEGO, CA 92108                      HAMPSHIRE, IL 60140




MICHAEL PRESS REV TRUST                  MICHAEL REED                              MICHAEL REYNOLDS
PO BOX 5227                                                                        11606 2ND ST APT A
ST ALBANS, MO 63073                                                                HUNTLEY, IL 60142




MICHAEL SCHUMAN                          MICHAEL THORSON                           MICHAUD DISTRIBUTING
9401 MONTARA CT NW                       5217B S. 13TH ST                          2923 HELM STREET
ALBUQUERQUE, NM 87114                    MILWAUKEE, WI 53221                       DULUTH, MN 55806




MICHELIN AIRCRAFT TIRE CORPORATION       MICROPHASE COATINGS, INC                  MICROPHASE COATINGS, INC.
1600 MO-291                              2539 ASHER VIEW CT                        3916 YATESWOOD COURT
INDEPENDENCE, MO 64058                   RALEIGH, NC 27606                         RALEIGH, NC 27603




MICROSOFT LICENSING GP                   MICROSOFT                                 MICRO-TOOLS
1401 ELM. ST, 5TH FLR                    ONE MICROSOFT WAY                         1236 CALLEN STREET, SUITE A
DALLAS, TX 75202                         REDMOND, WA 98052                         VACAVILLE, CA 95688




MIDCOAST REGIONAL REDEVELOPMENT          MIDCOAST REGIONAL REDEVELOPMENT           MIDCOAST REGIONAL REDEVELOPMENT
AUTHORITY                                AUTHORITY                                 AUTHORITY
15 TERMINAL RD                           2 PEGASUS STREET                          C/O DRUMMOND WOODSUM
SUITE 200                                SUITE 1                                   TIMOTHY E. STEIGELMAN
BRUNSWICK, ME 04011                      UNIT 200                                  84 MARGINAL WAY, STE 600
                                         BRUNSWICK, ME 04011                       PORTLAND, ME 04101


MID-CONTINENT INSTRUMENTS & AVIONICS     MIDWEST INFORMATION SYSTEMS, INC          MIDWEST OCCUPATIONAL HEALTH M.S.
PO BOX 503741                            707 N. IOWA AVE                           PO BOX 2232
ST LOUIS, MO 63150-3741                  VILLA PARK, IL 60181                      AURORA, IL 60507




MIDWEST OCCUPATIONAL HEALTH M.S., INC.   MIKAEL VIA                                MIKE HINTON
MIRNA LOPEZ                              20 ENCINO AVE                             2292 EAST 2ND STREET
PO BOX 2232                              CAMARILLO, CA 93010                       DULUTH, MN 55812
AURORA, IL 60507




MIKE PRESS                               MILLENIUM CONCEPTS, INC.                  MILLENNIUM COMMUNICATIONS CORP
PO BOX 5227                              9050 W. MONROE CIRCLE                     6201 HANOVER NW
ST ALBANS, MO 63073                      WICHITA, KS 67209                         ALBUQUERQUE, NM 87121
MILLENNIUM CONCEPTS, INC. Case   18-12309-JKS     Doc 17
                                         MILLER SIGNS       Filed 10/10/18      Page
                                                                                  MIN 48 of 77
                                                                                      FANG
9050 W. MONROE CIRCLE                    2302 AIR PARK ROAD                       2800 S. SYRACUSE WAY APT 9-101
WICHITA, KS 67209                        NORTH CHARLESTON, SC 29406               DENVER, CO 80231




MINCO PRODUCTS, INC.                     MINE SAFETY APPLIANCES COMPANY, LLC      MINNESOTA DEPARTMENT OF REVENUE
7300 COMMERCE LANE                       1000 CRANBERRY WOODS DRIVE               600 NORTH ROBERT ST
FRIDLEY, MN 55432                        CRANBERRY TOWNSHIP, PA 16066             ST. PAUL, MN 55146




MINNESOTA DEPARTMENT OF REVENUE          MINNESOTA ENERGY                         MINNESOTA ENERGY
CORPORATION FRANCHISE TAX                2665 145TH STREET WEST                   PO BOX 3140
MAIL STATION 5140                        PO BOX 455                               MILWAUKEE, WI 53201-3140
ST. PAUL, MN 55146-5140                  ROSEMOUNT, MN 55068-0455




MINNESOTA POWER                          MISTY CARPENTER                          MISUMI USA, INC.
PO BOX 1001                              6139 COSTA BLANCA NW                     1717 N PENNY LN, STE 200
DULUTH, MN 55806-1001                    ALBUQUERQUE, NM 87114                    SCHAUMBURG, IL 60173




MITCHELL AIRCRAFT SPARES                 MKC ELECTRIC, LLC                        MMT, LLC
1160 ALEXANDER CT                        PO BOX 459                               125 FAIRCHILD ST, SUITE 100
CARY, IL 60013                           NORTH AURORA, IL 60542                   CHARLESTON, SC 29492




MN SECRETARY OF STATE                    MOBILE MEDICAL ASSOCIATES, LLC           MOLLY STONE
RETIREMENT SYSTEMS OF MINNESOTA          BRIAN JACOBSON                           382 LAINE ROAD
BUILDING                                 401 ALVARADO DR. SE SUITE F              CLOQUET, MN 55720
60 EMPIRE DR., SUITE 100                 ALBUQUERQUE, NM 87108
SAINT PAUL, MN 55103



MONAR CONSULTING                         MONICA GOTELAERE                         MONICA MARTINEZ
1210 CHICAGO AVENUE                                                               7901 DERICKSON NE
SUITE 607                                                                         ALBUQUERQUE, NM 87109
EVANSTON, IL 60202-6515




MOODY AERO-GRAPHICS, INC.                MOODY'S INVESTOR SERVICES                MOREHEAD INDUSTRIAL SERVICES, INC
PO BOX 1450                              PO BOX 102597                            1583 HWY 20
BELLEVIEW, FL 34421                      ATLANTA, GA 30368-0597                   SKANEATELES, NY 13152




MOTION INDUSTRIES                        MOUNTAIN VISTA SYSTEM SOLUTIONS          MOUNTAIN WEST NEVADA, LLC
PO BOX 98412                             870 E. HIGHWAY 333                       815 MURRAY WAY
CHICAGO, IL 60693                        TIJERAS, NM 87059                        ELKO, NV 89801




MOUSER ELECTRONICS, INC.                 MSC INDUSTRIAL C/O GREENBERG GRANT &     MSC INDUSTRIAL C/O GREENBERG GRANT &
1000 NORTH MAIN STREET                   RICHARDS INC.                            RICHARDS INC.
MANSFIELD, TX 76063                      ATTN: PATRICIA GARDNER                   ATTN: PATRICIA GARDNER
                                         5858 WESTHEIMER RD                       PO BOX 571881
                                         SUITE 500                                HOUSTON, TX 77257-1811
                                         HOUSTON, TX 77057
MSC INDUSTRIAL SUPPLY CO. Case 18-12309-JKS      Doc 17
                                       MSC INDUSTRIAL      Filed
                                                       SUPPLY CO.    10/10/18   Page
                                                                                  MSC49  of 77 SUPPLY CO.
                                                                                      INDUSTRIAL
6100 STAPLETON DRIVE SOUTH, UNIT A     75 MAXESS ROAD                             PO BOX 953635
DENVER, CO 80216-1062                  MELVILLE, NY 11747                         ST LOUIS, MO 63195-3635




MTECH ENGINEERING SERVICES, LLC         MTECH ENGINEERING SERVICES, LLC           MTS SYSTEMS CORPORATION
MOLLY A. STONE                          MOLLY A. STONE                            14000 TECHNOLOGY DRIVE
382 LAINE RD                            382 LAINE RD                              EDEN PRAIRIE, MN 55344
CLOQUET, MN 55720                       CLOQUET, NM 55720




MTS SYSTEMS CORPORATION                 MUSGRAVE PROPERTIES, INC.                 MUSHIELD CO, INC.
PO BOX 1450                             4323 INTERSTATE WAY                       P.O. BOX 5045
MINNEAPOLIS, MN 55485-5871              SAN ANTONIO, TX 78219                     MANCHESTER, NH 03108-5045




MW INDUSTRIES                           MY BUG GUY                                MY MACHINE, INC.
2000 JETWAY BLVD                        11024 MONTGOMERY BLVD NE #151             5140 COMMERCE DRIVE
COLUMBUS, OH 43219                      ALBUQUERQUE, NM 87111                     BALDWIN PARK, CA 91706




MYPILOTSTORE.COM                        NAGA MULLAPUDI                            NAJ CHARTER GRP
7432 E. TIERRA BUENA LANE, STE 105      2428 CENTENNIAL LOOP                      6060 AVIATION RD
SCOTTSDALE, AZ 85260                    ROUND ROCK, TX 78665                      SUITE 100
                                                                                  SOUTH CAROLINA, SC 29406




NAMACHIVAYAM "SHIVA" GNANAGURU          NANCY & GRANT SCHULTZ                     NANCY GLASER
7409 WILLOW SPRINGS RD NE               55 CRIMSON LANE                           3836 SPYGLASS LOOP
ALBUQUERQUE, NM 87113                   OSHKOSH, WI 54902                         RIO RANCHO, NM 87124




NAOMI WILLIAMSON                        NAPA AUTO PARTS                           NAPA AUTO PARTS
1436 ROYAL OAK CT.                      1510 SECOND STREET SW                     92 DOWNEAST HIGHWAY
MINNEAPOLIS, MN 55432                   ALBUQUERQUE, NM 87102                     ELLSWORTH, ME 04605




NAPA AUTO PARTS-WHEELING                NATA COMPLIANCE SERVICES                  NATA COMPLIANCE SERVICES, LLC
82 E. DUNDEE ROAD                       9400 GATEWAY DRIVE SUITE D                9400 GATEWAY DRIVE, SUITE D
WHEELING, IL 60090                      RENO, NV 89521                            RENO, NV 89521




NATHAN BOSEY                            NATHAN CORTES                             NATHANIEL RICHIE
1001 GIRARD BLVD NE                     4648 CORNELIA AVE
ALBUQUERQUE, NM 87106                   CHICAGO, IL 60641




NATHANIEL ROUGHGARDEN                   NATIONAL AVIATION HALL OF FAME            NATIONAL BANK OF COMMERCE - SBA LOAN
2938 PAYTON TRL SW                      PO BOX 31096                              PO BOX 99
ALBUQUERQUE, NM 87121                   DAYTON, OH 45437-0096                     SUPERIOR, WI 54880
                       Case
NATIONAL BANK OF COMMERCE      18-12309-JKS
                                       NATIONAL Doc  17COMMERCE
                                                BANK OF  Filed 10/10/18   Page 50 ofCALIBRATION
                                                                            NATIONAL 77         INC
1127 TOWER AVENUE                      PO BOX 99                             105 INDUSTRIAL PARK LOOP SUITE C
SUPERIOR, WI 54880                     1127 TOWER AVENUE                     RIO RANCHO, NM 87124
                                       SUPERIOR, WI 54880




NATIONAL COATINGS & SUPPLIES           NATIONAL INSTITUTE FOR AVIATION       NATIONAL INSTRUMENTS CORPORATION
P.O. BOX 30118                         RESEARCH                              P.O. BOX 202262
BILLINGS, MT 59107                     ATTN: ROBIN STEVENS                   DALLAS, TX 75320
                                       STATE UNIVERSITY 1845 FAIRMOUNT
                                       STREET
                                       WICHITA, KS 67260-0093


NATIONAL PRECISION BEARING             NATIONAL REGISTERED AGENTS, INC       NATIONAL ROOFING COMPANY
8152 304TH AVENUE SE                   PO BOX 4349                           3408 COLUMBIA NE
PRESTON, WA 98050                      CAROL STREAM, IL 60197                ALBUQUERQUE, NM 87107




NATIONAL VISION, INC                   NAV CANADA                            NAVAERO AB (NOW GLOBAL EAGLE
2435 COMMERCE AVE NW                   77 RUE METCALFE ST                    ENTERTAINMENT)
DULUTH, GA 30095                       OTTAWA, ON K1P 5L6 CANADA             HAKAN NORBERG PRESIDENT
                                                                             A N BISCAYNE BLVD. STE. 1400
                                                                             MIAMI, FL 33132 SWEDEN



NAVAERO, INC.                          NAV-AIDS LTD.                         NAVCANADA
100 NORTH BISCAYNE BOULEVARD, STE 1    2955 DIAB                             77 METCALFE ST
MIAMI, FL 33132                        ST- LAURENT H4S 1M1 CANADA            OTTAWA, ON K1P 5L6 CANADA




NAVED KHAN                             NBAA ACCOUNTING DEPT                  NBAA MEMBERSHIP
                                       1200 G STREET NW                      NATIONAL BUSINESS AVIATION
                                       SUITE 1100                            ASSOCIATION
                                       WASHINGTON, DC 20005                  ATTN: MEMBERSHIP
                                                                             PO BOX 55481
                                                                             BOSTON, MA 02205-5481


NBC - FEES                             NBSC CARD SERVICES                    NC DEPT OF REVENUE
PO BOX 99                              P.O. BOX 120                          PO BOX 25000
SUPERIOR, WI 54880                     COLUMBUS, GA 31902                    RALEIGH, NC 27640-0640




NC DYNAMIC                             NCS ALBUQUERQUE                       NDT INSPECT-AIR, INC
3401 E69TH STREET                      3235 GIRARD NE                        4557 96TH ST.
LONG BEACH, CA 90805                   ALBUQUERQUE, NM 87107                 FRANKSVILLE, WI 53126




NDT SUPPLY.COM                         NED PENDLETON                         NEFI GRIEGO JR
P.O. BOX 7350                          7057 B WEST FRIENDLY AVE              512 4TH ST NE
SHAWNEE MISSION, KS 66207              GREENSBORO, NC 27100                  RIO RANCHO, NM 87124




NELSON MULLINS RILEY AND               NELSON PRINTING CORPORATION           NEOPOST USA, INC
SCARBOROUGH                            POST OFFICE BOX 20427                 25880 NETWORK PLACE
P.O. BOX 11070                         CHARLESTON, SC 29413                  CHICAGO, IL 60673
COLUMBIA, SC 29211
NEOPOST USA, INC          Case 18-12309-JKS
                                       NETWORK Doc   17SYSTEMS
                                               BILLING    Filed 10/10/18     Page 51 of SOLUTIONS
                                                                               NETWORK  77
PO BOX 30193                            NETWORK BILLING SYSTEMS, LLC            10 AZALEA DRIVE
TAMPA, FL 33630                         DBA FUSION                              DRUMS, PA 18222
                                        PO BOX 392176
                                        PITTSBURGH, PA 15251-9176



NETWORKS ELECTRONIC COMPANY, LLC        NETWORKS ELECTRONIC COMPANY, LLC        NEUSTAR INC.
9750 DESOTO AVE                         TAMARA M. CHRISTNER                     BANK OF AMERICA
CHATSWORTH, CA 91311                    9750 DESOTO AVE.                        P.O. BOX 277833
                                        CHATSWORTH, CA 91311                    ATLANTA, GA 30384-7833




NEW ENGLAND MOTOR FREIGHT               NEW GUARD COATINGS LTD.                 NEW GUARD COATINGS LTD.
1-71 NORTH AVENUE EAST                  615 S DUPONT HWY                        SANDBECK WAY
PO BOX 6031                             DOVER, DE 19901                         WETHERBY, WEST YORKSHIRE LS22 7DN
ELIZABETH, NJ 07207-6031                                                        GREAT BRITAIN




NEW HORIZONS OF NEW MEXICO              NEW MEXICO AIRCRAFT PROPELLER, LLC      NEW MEXICO AVIATION AEROSPACE ASSOC
6700 JEFFERSON BLVD NE                  5 AIRPORT ROAD                          3167 SAN MATEO NE, #222
ALBUQUERQUE, NM 87109                   BELEN, NM 87002                         ALBUQUERQUE, NM 87110




NEW MEXICO DEPARTMENT OF                NEW MEXICO DEPARTMENT OF                NEW MEXICO GAS COMPANY
WORKFORCE SOLUTIONS                     WORKFORCE SOLUTIONS                     1625 RIO BRAVO SW
UNEMPLOYMENT TAX DEPT                   UNEMPLOYMENT TAX DEPT                   SUITE 27 87105
401 BROADWAY NE                         PO BOX 2291                             ALBUQUERQUE, NM 87105
ALBUQUERQUE, NM 87102                   ALBUQUERQUE, NM 87103



NEW MEXICO GAS COMPANY                  NEW MEXICO GAS COMPANY                  NEW MEXICO ONE CALL, INC
PO BOX 173341                           PO BOX 27885                            1021 EUBANK BLVD NE
DENVER, CO 80217-3341                   ALBUQUERQUE, NM 87125-7885              ALBUQUERQUE, NM 87112




NEW MEXICO PROPERTY TAX CONSULTANTS     NEW MEXICO TAXATION AND REVENUE         NEW MEXICO TAXATION AND REVENUE
1305 SAN PEDRO                          DEPARTMENT                              DEPARTMENT
ALBUQUERQUE, NM 87110                   1200 SOUTH ST FRANCIS DRIVE             CORPORATE INCOME TAX
                                        SANTA FE, NM 87502                      P.O. BOX 25127
                                                                                SANTA FE, NM 87504-5127



NEW YORK STATE - DOT                    NEW YORK STATE DEPARTMENT OF            NEWARK ELEMENT 14
7150 REPUBLIC AIRPORT ROOM 216          TAXATION AND FINANCE                    33190 COLLECTION CENTER DRIVE
FARMINGDALE, NY 11735                   ATTN: OFFICE OF COUNSEL                 CHICAGO, IL 60693-0331
                                        BUILDING 9
                                        WA HARRIMAN CAMPUS
                                        ALBANY, NY 12227


NEWARK INONE                            NEWEGG.COM                              NEWPO, LLP
P.O. BOX 94151                          9997 ROSE HILLS ROAD                    PO BOX 7
PALATINE, IL 60094-4151                 WHITTIER, CA 90601                      SUPERIOR, WI 54880




NEXTERA COMMUNICATIONS                  NFP NATIONAL ACCOUNT SERVICES           NICHOLAS ANDERS
7115 FORTHUN ROAD, SUITE 100            LOS ANGELES, CA 90084-4951              912 16TH AVE
BAXTER, MN 56425                                                                ROCKFORD, IL 61104
NICHOLAS DORAME          Case 18-12309-JKS
                                      NICHOLAS Doc 17
                                               MYERS         Filed 10/10/18   Page 52 of SALISBURY
                                                                                NICHOLAS 77
215 LIZARD RANCH RD                   4518 EVERGREEN WAY                         503 JAMIE ST
TULAROSA, NM 88352                    EVERETT, WA 98203                          GRANTS, NM 87020




NICHOLAS VOSS                         NICOLE CHAVEZ                              NICOLET NATIONAL BANK
12 ELAINE DR                          1813 BRITT NE                              111 N WASHINGTON ST
LOS LUNAS, NM 87031                   ALBUQUERQUE, NM 87112                      GREEN BAY, WI 54301




NICOR GAS                             NICOR GAS                                  NM DEPARTMENT OF WORKFORCE
1844 WEST FERRY ROAD                  PO BOX 5407                                SOLUTIONS
NAPERVILLE, IL 60563                  CAROL STREAM, IL 60197-5407                PO BOX 1928
                                                                                 ALBUQUERQUE, NM 87103




NNR GLOBAL LOGISTICS USA INC          NONE                                       NORCOT ENGINEERING LTD.
DEPT LA 22190                         10640 ELKWOOD                              RICHMOND HOUSE HILL STREET
PASADENA, CA 91185                    SUN VALLEY, CA 91352                       ASHTON-UINDER-LYNE OL7 OPZ GREAT
                                                                                 BRITAIN




NORDAM GROUP INC.                     NORDAM GROUP INC.                          NORDAM TRANSPARENCY GROUP
7018 LAKEWOOD AVENUE                  T. HASTINGS SIEGFRIED C.O.O                7018 N. LAKEWOOD
TULSA, OK 74117                       7018 LAKEWOOD AVENUE                       TULSA, OK 74117
                                      TULSA, OK 74117




NORDIC WASTE                          NORTH AMERICAN JET CHARTER GROUP,          NORTH AMERICAN JET CHARTER GROUP,
PO BOX 3677                           LLC                                        LLC
DULUTH, MN 55803                      125 FAIRCHILD ST, SUITE 100                26 E PALATINE RD
                                      CHARLESTON, SC 29492                       WHEELING, IL 60090




NORTH CAROLINA DEPARTMENT OF          NORTH CAROLINA DEPARTMENT OF               NORTH COAST COMPOSITES
REVENUE                               REVENUE                                    4605 SPRING ROAD
501 NORTH WILMINGTON STREET           PO BOX 25000                               CLEVELAND, OH 44131
RALEIGH, NC 27604                     RALEIGH, NC 27640-0640




NORTH POINT GEOGRAPHIC SOLUTIONS      NORTH SHORE UNIVERSITY HEALTHSYSTEM        NORTHAND INDUSTRIAL TRUCK CO. INC.
394 S LAKE AVE STE 400                100 SOUTH OWASSO BLVD W                    PO BOX 845534
DULUTH, MN 55802-2339                 ST PAUL, MN 55117                          BOSTON, MA 02284-5534




NORTHBROOK OCC MEDICINE CTR           NORTHEAST AIR INC.                         NORTHEAST COFFEE COMPANY
605 ACADEMY DRIVE                     1011 WESTBROOK ST.                         PO BOX 446
NORTHBROOK, IL 60062                  PORTLAND, ME 04102                         60 SOUTHGATE PARKWAY
                                                                                 SKOWHEGAN, ME 04976-0446




NORTHERN COMPOSITES                   NORTHERN INDUSTRIAL ERECTORS INC           NORTHERN INDUSTRIAL ERECTORS INC
PO BOX 6345                           2500 GLENWOOD DRIVE                        PO BOX 308
BRATTLEBORO, VT 05302                 GRAND RAPIDS, MN 55744-3347                GRAND RAPIDS, MN 55744
                      Case
NORTHERN WATERS SMOKEHAUS         18-12309-JKS    Doc
                                          NORTHLAND FIRE17   Filed 10/10/18
                                                         & SAFETY                 Page 53 of 77
                                                                                    NORTHLAND FOODS & DISTRIBUTION INC
394 S LAKE AVE                             2213 E 5TH STREET                         5045 SOUTH POND DRIVE
SUITE 106                                  SUPERIOR, WI 54880                        PO BOX 108
DULUTH, MN 55802                                                                     POPLAR, WI 54864




NORTHSTAR AEROSPACE                        NORTHWEST METROLOGY                       NORVEND, INC
4212 ENTERPRISE CIRCLE                     3040 H STREET                             51757 STATE HWY 38
DULUTH, MN 55811                           BAKERSFIELD, CA 93301                     BIGFORK, MN 56628




NOVAKINETICS, LLC                          NOVATRONICS, INC DBA CURTISS-WRIGHT       NOVENTUM CUSTOM SOFTWARE
3850 EAST HUNTINGTON DRIVE, BLDG. A        789 ERIE STREET                           DEVELOPMENT
FLAGSTAFF, AZ 86004                        STRATFORD N4Z 1A1 CANADA                  200 BROADWAY NE
                                                                                     ALBUQUERQUE, NM 87196-4856




NTS TECHNICAL SYSTEMS                      NW WISCONSIN CEP                          OAC MANAGEMENT, INC.
1155 WEST 23RD STREET, STE 11-A            NW WI                                     PO BOX 942857
TEMPE, AZ 85282                                                                      SACRAMENTO, CA 94257-0511




OCCUPATIONAL HEALTH CENTERS OF             OCCUPATIONAL HEALTH CENTERS               OCEAN CHINA INTERNATIONAL, INC.
PO BOX 488                                 7401 CHURCH RANCH BOULEVARD 202           40 WALL STREET
LOMBARD, IL 60148-0488                     BROOMFIELD, CO 80021                      28TH FLOOR, SUITE 2832
                                                                                     NEW YORK, NY 10005




OFFICE DEPOT                               OFFICE OF THE UNITED STATES ATTORNEY      OFFICE OF THE UNITED STATES TRUSTEE
PO BOX 88040                               ATTN: DAVID C. WEISS                      ATTN: T. PATRICK TINKER
CHICAGO, IL 60680                          1007 ORANGE STREET                        844 KING STREET
                                           SUITE 700                                 SUITE 2207, LOCKBOX 35
                                           WILMINGTON, DE 19801                      WILMINGTON, DE 19801



OFFICETEAM                                 OHIO NATIONAL                             OLD REPUBLIC AEROSPACE, INC.
12400 COLLECTIONS CENTER DR.               OHIO NATIONAL FINANCIAL SERVICES          1990 VAUGHN ROAD
CHICAGO, IL 60693                          ONE FINANCIAL WAY                         KENNESAW, GA 30144
                                           CINCINNATI, OH 45242




OLIVIA FOWLER                              OLYMPUS SCIENTIFIC SOLUTIONS AMERIC       OMEGA ENGINEERING, INC
                                           48 WOERD AVENUE                           PO BOX 405369
                                           WALTHAM, MA 02453                         ATLANTA, GA 30384-5369




OMEGA TECHNOLOGIES, INC                    ONE AVIATION (OTHER)                      O'NEAL JANITORIAL SERVICES
31125 VIA COLINAS #905                                                               PO BOX 56
WESTLAKE VILLAGE, CA 93162                                                           TOPSHAM, ME 04086




ON-HAND ADHESIVES, INC.                    ON-SITE ENTERPRISES, INC.                 OPENTIP.COM AKA ATAFA
PO BOX 68                                  2841 KARL AVE                             101 FIRST STREET
LAKE ZURICH, IL 60047-0068                 DULUTH, MN 55811                          CAMBRIDGE, MA 02141
ORION ADAMS                   Case 18-12309-JKS     Doc 17
                                           ORION AVIATION      Filed
                                                          HOLDINGS   10/10/18
                                                                   LLC (NORTH     Page 54 ofPANTOJA
                                                                                    ORLANDO  77
2765 WEST ISLAND DR                          AMERICAN JET CHARTER GROUP LLC)        5500 HILLCREST LANE, APT 3L
RIO RANCHO, NM 87124                         ZACHARY TAYLOR                         LISLE, IL 60532




ORLOSKY, HENRY C/O ASKEW & MAZEL LLC         ORLOSKY, KATHRYN C/O ASKEW & MAZEL     ORSCHELN PRODUCTS
ATTN: DANIEL A. WHITE &                      LLC                                    7071 SOLUTIONS CENTER
BENJAMIN A. JACOBS                           ATTN: DANIEL A. WHITE &                CHICAGO, IL 60677
1122 CENTRAL AVE SW STE 1                    BENJAMIN A. JACOBS
ALBUQUERQUE, NM 87102                        1122 CENTRAL AVE SW STE 1
                                             ALBUQUERQUE, NM 87102


OSECO, INC                                   OSORIO HERMANOS Y CIA. LTDA.           OVERHEAD DOOR COMPANY OF ABQ
1701 W. TACOMA                               CONDELL 170                            3820 ACADEMY PARKWAY NORTH N.E.
BROKEN ARROW, OK 74012                       QUILLOTA CHILE                         ALBUQUERQUE, NM 87109




PACIFIC INDEMNITY COMPANY                    PACIFIC INDEMNITY COMPANY              PAC-VAN, INC.
COLLINS STREET WEST                          LEVEL 3,84 WILLIAM STREET              75 REMITTANCE DRIVE
MELBOURNE 8007                               MELBOURNE 3000                         SUITE 3300
                                                                                    CHICAGO, IL 60675-3300




PADMAJA GANGALA                              PAMELA SANCHEZ                         PAN AMERICAN TOOL CORPORATION
308 TULOROSA RIDGE                           1508 BARTOLO PL SW                     5990 NW 31ST AVENUE
SAN ANTONIO, TX 78023                        ALBUQUERQUE, NM 87105                  FORT LAUDERDALE, FL 33309-2208




PAPERCUT                                     PAR SYSTEMS                            PARAMETRIC TECHNOLOGY CORP
L 1 10 HAMILTON PL                           707 COUNTY ROAD E WEST                 PO BOX 945722
MOUNT WAVERLEY, VIC 3149 AUSTRALIA           SHOREVIEW, MN 55126                    ATLANTA, GA 30394




PARKER HANNIFIN CORPORATION                  PARKER HANNIFIN CORPORATION            PARKER HANNIFIN/STRATOFLEX
1160 CENTER ROAD                             220 ROBERTS CUT-OFF                    2575 W. 5TH ST
AVON, OH 44011                               FORT WORTH, TX 76114                   JACKSONVILLE, FL 32254




PARKER SIMMONS                               PARTSBASE INC                          PATRICIA BETHONEY
                                             905 CLINT MOORE RD                     5800 MORGAN LANE NW
                                             BOCA RATON, FL 33487                   ALBUQUERQUE, NM 87120




PATRICIA PEREZ                               PATRICK HILL-DOUGHERTY                 PATRICK O'BRIEN
224 ATRISCO VISTA BLVD. #53                  2117 HILLCREST DRIVE                   30160 SUMAC DR
ALBUQUERQUE, NM 87121                        DULUTH, MN 55811                       BURLINGTON, WI 53105




PAUL BUNYAN                                  PAUL BUNYAN                            PAUL BURNS
1831 ANNE ST NW                              PO BOX 1510                            7517 ROSETTE DR NW
BEMIDJI, MN 56601-5812                       BEMIDJI, MI 56619-1510                 ALBUQUERQUE, NM 87120
PAUL H. WIRSCHING          Case 18-12309-JKS     Doc 17COMPANY,
                                        PAUL N. GARDNER   Filed INC.
                                                                 10/10/18      Page 55STENGER
                                                                                 PAUL   of 77
178 CYPRESS COURT                        316 N.E. FIRST STREET                   11600 ACADEMY ROAD NE APT#4722
DURANGO, CO 81301                        POMPANO BEACH, FL 33060                 ALBUQUERQUE, NM 87111




PCA AEROSTRUCTURES                       PDM                                     PEAK RESOURCES, INC.
12700 GOTHARD STREET                     PRODUCT DEVELOPMENT MACHINE             2750 WEST 5TH AVENUE
HUNTINGTON, CA 92647                     5471 FAWN TRAIL RD                      DENVER, CO 80204
                                         DULUTH, MN 55811




PEDRO GAMBOA                             PEGASUS AEROSPACE                       PELSEAL TECHNOLOGIES, LLC
7423 VIA SERENO SW                       8432 HAWK EYE RD NW                     3161 STATE ROAD, UNIT G
ALBUQUERQUE, NM 87121                    ALBUQUERQUE, NM 87120                   BENSALEM, PA 19020




PENNOYER-DODGE CO                        PENNY & GILES AEROSPACE LTC             PEOPLEREADY INC
6650 SAN FERNANDO ROAD                   1 AIRFIELD ROAD                         1002 SOLUTIONS CENTER
GLENDALE, CA 91201                       CHRISTCHURCH, DORSET BH23 3TH GREAT     CHICAGO, IL 60677-1000
                                         BRITAIN




PERFORMANCE TOOL & EQUIPMENT             PETER BADAGLIACCA                       PETER CUNEO
8700 ALAMEDA PARK DR NE SUITE 200        76 RIDGEWOOD ROAD                       1308 WHISKER POLE LN
ALBUQUERQUE, NM 87113                    ELK GROVE VILLAGE, IL 60007             MOUNT PLEASANT, SC 29466




PETER HAALAND                            PETER HALASZ                            PETER LANDE
3061 PORTER STREET NW                    CRYSTAL LAKE, IL 60012
WASHINGTON, DC 20008




PETER THOMAS SHARP                       PETER VALAVANIS                         PETRO CHOICE - ANDERSON LUBRICANTS,
11 SUGAR BEACH DRIVE                     7135 N. LAVERGNE                        INC
SANTA ROSA BEACH, FL 32459               SKOKIE, IL 60077                        3301 JAMES DAY AVENUE
                                                                                 SUPERIOR, WI 54880




PHILIP CHASIN                            PHILIP GREENE                           PHOENIX ANALYSIS & DESIGN TECH
230 BELLE PLAINE                         1411 S WESTGATE AVE #204                7755 S. RESEARCH DRIVE
PARK RIDGE, IL 60018                     LOS ANGELES, CA 90025                   TEMPE, AZ 85222




PIEDMONT PLASTICS                        PIERCE AVIATION, LLC                    PILOT AIR FREIGHT CORPORATION
3455 PRINCETON NE                        ERIN PIERCE                             314 MIDDLETOWN ROAD
ALBUQUERQUE, NM 87107                    1101 JUDGE LEON FORD DRIVE              LIMA, PA 19037
                                         HAMMOND, LA 70401




PINE TREE WASTE                          PINE TREE WASTE                         PINKERTON
PO BOX 1372                              PO BOX 13720                            7700 NE PARKWAY DR
WILLISTON, VT 05495-1372                 WILLISTON, VT 05495-1372                VANCOUVER, WA 98662
PLAINFIELD TRUCKING, INC   Case 18-12309-JKS     DocLLC
                                        PLANE TECHS   17      Filed 10/10/18   Page 56 of 77
                                                                                 PLAS-TECH INC
P.O. BOX 306                             1520 KENSINGTON RD # 311                 22 BARTLETT ROAD
PLAINFIELD, WI 54966                     OAK BROOK, IL 60523                      GORHAM, ME 04038




PLASTIC SUPPLY, INC.                     PLASTIC SYSTEMS OHIO                     PLX, INC.
2109 CANDELARIA RD NE                    13950 ST. RT. 68S                        40 W. JEFRYN BLVD.
ALBUQUERQUE, NM 87107                    KENTON, OH 43326                         DEER PARK, NY 11729




PLYSIM LTD                               PMA SALES                                PNM
152 MORRISON ST.                         4550 EAST MCKELLIPS ROAD #112            414 SILVER AVE SW
EDINBURGH EH3 8EB GREAT BRITAIN          MESA, AZ 85201                           ALBUQUERQUE, NM 87102




PNM                                      PNM                                      PNM
P.O. BOX 17970                           P.O. BOX 27900                           P.O. BOX 27900
DENVER, CO 80217-3341                    ALBUQUERQUE, NM 87103                    ALBUQUERQUE, NM 87125-7900




PNM                                      POKEGAMA ELECTRIC, INC                   POLSKIE ZAKLADY LOTNICZE SP
P.O. BOX 27900                           19432 HIGHWAY 169                        WOJSKA POLSKIEGO 3
ALBUQUERQUE, NM 87125-7901               GRAND RAPIDS, MN 55744                   MIELEC 39-300




POLSKIE ZAKLADY LOTNICZE SP. Z.O.O.      POLSKIE ZALKADY LOTNICZE SP. Z.O.O.      PONCA PRODUCTS, INC.
UL. WOJSKA POLSKIEGO 3                   UL. WOJSKA POLSKIEGO 3                   2204 S. MEAD STREET
MIELEC 39-300 POLAND                     MIELEC 39-300 POLAND                     WICHITA, KS 67211-5020




PORT PLASTICS, INC                       POSITIVELY SUPERIOR, LLC                 POSTMASTER
2109 CANDELARIA NE                       1518 E SUPERIOR STREET
ALBUQUERQUE, NM 87107                    DULUTH, MN 55812




POWER GENERATION SERVICE, LLC            POWERVAMP                                PPG INDUSTRIES, INC.
PO BOX 14354                             6426 WOODBURY ROAD                       BARRY GILLESPIE VP
ALBUQUERQUE, NM 87191                    BOCA RATON, FL 33433                     ONE PPG PLACE
                                                                                  PITTSBURGH, PA




PRATT & WHITNEY CANADA CORP              PRATT & WHITNEY COMPONENT SOLUTIONS      PRATT & WHITNEY ESP
DAVID VAN DER WEE                        4905 STARIHA DRIVE                       PO BOX 730011
1000 MARIE VICTORIN                      MUSKEGON, MI 49441                       DALLAS, TX 75373-730011
LONGUEUIL, QC J4G 1A1 CANADA




PRAXAIR DISTRIBUTION INC                 PRAXAIR                                  PRC-DESOTO INTERNATIONAL, INC.
DEPT CH 10660                            4105 W SUPERIOR ST                       ASC BUSINESS MANAGER, LAW
PALATINE, IL 60055-0660                  DULUTH, MN 55807                         DEPARTMENT
                                                                                  24811 AVENUE ROCKEFELLER
                                                                                  VALENCIA, SYLMAR 91355 CANADA
PRC-DESOTO INTERNATIONAL,Case
                          INC.   18-12309-JKS
                                         PRECISIONDoc  17 Filed
                                                   AEROSPACE CORP.10/10/18   Page 57 of 77
                                                                               PRECISION AEROSTRUCTURES, INC.
DEPT 1059                                 704 CROFTON SE                        10291 TRADEMARK STREET SUITE C
DALLAS, TX 75312-1059                     GRAND RAPIDS, MI 49507                RANCHO CUCAMONGA, CA 91730




PRECISION FABRICATION                     PRECISION TECHNOLOGY, INC.            PRESENCE
9212 SUSAN AVE. S. E.                     6505 W. FRYE ROAD, SUITE 18           1000 REMINGTON BLVD, SUITE 110
ALBUQUERQUE, NM 87123                     CHANDLER, AZ 85226-3330               BOLINGBROOK, IL 60440




PRESIDIO NETWORKED SOLUTIONS GROUP        PRICELESS AVIATION PRODUCTS           PRIME LINE COMMUNICATIONS
1720 LOUISIANA NE SUITE 301               362 INDUSTRIAL PARK DR.               110 CONNECTOR PARK COURT
ALBUQUERQUE, NM 87110                     LAWRENCEVILLE, GA 30046               PIEDMONT, SC 29673




PRIME PRODUCTS                            PRIME RATE PREMIUM FINANCE            PRINTING CIM
8519 ROSECRANS AVE                        CORPORATION
PARAMOUNT, CA 90723                       PO BOX 580016
                                          CHARLOTTE, NC 28258-0016




PRO PRINT                                 PRO-CALIBRATION, LLC                  PRODUCTION OUTFITTERS, INC
3920 AIRPARK BLVD                         480 HARWICH RD                        1833 SAN MATEO BLVD NE
DULUTH, MN 55811                          BREWSTER, MA 02631                    ALBUQUERQUE, NM 87110




PRODUCTIVITY INC.                         PRODUCTIVITY QUALITY                  PRO-FAB, INC
15150 25TH AVENUE NORTH                   15150 25TH AVENUE NORTH               1040 BOSQUE FARMS BLVD.
SUITE 200                                 SUITE 200                             BOSQUE FARMS, NM 87068
PLYMOUTH, MN 55447                        PLYMOUTH, MN 55447




PROQUIRE LLC                              PROTON COMPUTERS                      PS ENGINEERING, INC.
PO BOX 70071                              702 SOUTH MAIN STREET                 MARK SCHEUER PRESIDENT
CHICAGO, IL 60673-0071                    LOMBARD, IL 60148-3344                9800 MARTEL ROAD
                                                                                LENOIR CITY, TN 37772




PUMPS & SERVICE                           Q.E.D., INC.                          QBE INSURANCE CORPORATION
3440 MORNINGSTAR DRIVE                    2920 S HALLADAY STREET                1 GENERAL DR.
FARMINGTON, NM 87401                      SANTA ANA, CA 92705                   SUN PRAIRIE, WI 53596




QBE INSURANCE CORPORATION                 QPM AEROSPACE                         QUALITY MAINTENANCE, INC
LEVEL 27, 8                               PO BOX 11626                          308 W HWY 66
CHIFLEY SQUARE                            TACOMA, WA 98411-6626                 GRANTS, NM 87020
SYDNEY 2000 AUSTRAILIA




QUARK SOFTWARE, INC.                      QUELL CORPORATION                     R&R HEATING & AIR ABQ
DENVER, CO 80248-0125                     5639 B. JEFFERSON NE                  731 RANKIN RD NE
                                          ALBUQUERQUE, NM 87109                 ALBUQUERQUE, NM 87107
R. C. RPGERSW & SONS, INC.   Case 18-12309-JKS
                                          R. SIEGEL Doc 17         Filed 10/10/18   Page
                                                                                      R.S.58 of 77CO., INC.
                                                                                          HUGHES
PO BOX 290                                 BAYSIDE, WI 53217                           6100-B JEFFERSON NE
BATH, ME 04011                                                                         ALBUQUERQUE, NM 87109




RABOBANK, N.A.                             RACHEL TOON                                 RADIO STATION BILLING SERVICE
915 HIGHLAND POINT DRIVE                   11620 WOODMAR WAY NE                        P.O. BOX 5012
SUITE 190                                  ALBUQUERQUE, NM 87111                       SKOKIE, IL 60076
ROSEVILLE, CA 95678




RAFFAELE MONETTI                           RALPH KINLINGER                             RAM MEDA
610 SOUTHWEST DRIVE                        232 N. PINE LANE                            6216 CALLE VIZCAYA NW
WARRENSBURG, MO 64093                      BENSENVILLE, IL 60106                       ALBUQUERQUE, NM 87114




RAMMOHAN MEDA                              RANDY JOHNSON & BECKY JOHNSON               RAPID PROCESSING SOLUTIONS, INC.
6216 CALLE VIZCAYA                         1927 FABRY ST                               1367 S. ANNA
ALBUQUERQUE, NM 87114                      OSHKOSH, WI 54902                           WICHITA, KS 67209




RASAKTI                                    RAVEN, INC.                                 RAYMOND EVELAND
148 SYLVESTRE ST                           3600 OSUNA NE STE. 409                      1200 RED WING PLACE UNIT A
ST-GERMAIN J0C 1K0 CANADA                  ALBUQUERQUE, NM 87109                       ALBUQUERQUE, NM 87116




RAYMOND SANDOVAL                           RAYMUNDO GARDEA                             REABE DESIGN LLC
2736 DAKOTA ST. NE                         10060 MENAUL BLVD. NE C4                    3242 STRAND ROAD
ALBQUERQUE, NM 87110                       ALBUQUERQUE, NM 87112                       DULUTH, MN 55803




REDEVELOPMENT AUTHORITY OF THE CITY        REDEYE, BY STRATASYS                        REGINA HOWELL
OF SUPERIOR                                8081 WALLACE ROAD                           6142 CLEARWATER RD
1316 NORTH 14TH STREET                     EDEN PRARIE, MN 55344                       GRANITE FALLS, NC 28630
LINDA K. TAYLOR/ROBERT KANUIT/CITY
TREASURER
SUPERIOR, WI 54880


REGISTRATION FEE TRUST                     RELIABLE HARDWARE COMPANY                   RELIANCE STANDARD - DENTAL
WISCONSIN DEPT OF TRANSPORTATION           11319 VAN OWEN STREET                       RELIANCE STANDARD DENTAL & VISION
PO BOX 3290                                NORTH HOLLYWOOD, CA 91605                   RSL - CUSTOMER SERVICE
MILWAUKEE, WI 53201-3290                                                               PO BOX 82510
                                                                                       LINCOLN, NE 68501



RELIANCE STANDARD - LIFE/DI                RENO AIRSHOW                                RENT-A-WRECK OF ALBUQUERQUE
RELIANCE STANDARD                                                                      2001 RIDGECREST DR. SE
PO BOX 3124                                                                            ALBUQUERQUE, NM 87108
SOUTHEASTERN, PA 19138-7818




RENTON COIL SPRING CO.                     REPLICON INC                                RESOLUTION GRAPHICS INC.
425 S. 7TH STREET                          DEPT CH 19113                               7380 ALEXANDER BLVD. NE STE A
RENTON, WA 98057                           PALATINE, IL 60055                          ALBUQUERQUE, NM 87107
RESONANT LEGAL MEDIA, LLCCase    18-12309-JKS    Doc 17
                                         REVCOR MOLDED     Filed 10/10/18
                                                       PRODUCTS             Page 59 of 77
                                                                              REYNOLDS LOGISTICS INC
413 S WASHINGTON STREET                  12814 COLLECTION CENTER DRIVE         TUCSON, AZ 85752
ALEXANDRIA, VA 22314                     CHICAGO, IL 60693




REYNOLDS MASON INDUSTRIES, INC           RHR INTERNATIONAL                     RICH KLUNK
1900 WELD BLVD SUITE 110                 DICK ROMBALSKI                        927 WILD IRIS CT
EL CAJON, CA 92020                       12 WHIPPORWILL RD                     SAN MARCOS, CA 92078
                                         WINDHAM, ME 04062




RICHARD BAKER                            RICHARD BLAIN                         RICHARD BONG VETERANS HISTORICAL
2208 BLACK HILLS RD                                                            CENTER
RIO RANCHO, NM 87124                                                           305 HARBORVIEW PKWY
                                                                               SUPERIOR, WI 54880




RICHARD LAPINSKY                         RICHARD ROBINSON                      RICHARD VALDEZ
336 DON STREET                           932 CROSS BND                         2323 MOUNTAIN RD NW APT 4
LOS LUNAS, NM 87031                      IRVING, TX 75061                      ALBUQUERQUE, NM 87104




RICHARD W. MANEVAL CORPORATION           RICHARDS KIBBE & ORBE LLP             RICK BRONES
24050 WEST MEADOW LN                     ATTN: CHRISTOPHER A. JARVINEN,        2630 MOSS LANE
GRAYSLAKE, IL 60030                      GREGORY GENNADY PLOTKO, PAUL B.       AURORA, IL 60504
                                         HASKEL
                                         (COUNSEL TO DIP AGENT AND
                                         ADMINISTRATIVE AGENT)
                                         200 LIBERTY STREET
                                         NEW YORK, NY 10281-1003

RICK DAVIS                               RICKARD DAVIS                         RICOH USA, INC
2503 CLARK CARR LOOP                     19 ELAINE DRIVE                       P O BOX 660342
ALBUQUERQUE, NM 87106                    LOS LUNAS, NM 87031                   DALLAS, TX 75266-0342




RICOH USA, INC.                          RIVAL THEORY INC.                     RJ SIEGEL
YOLANDA BEDFORD                          101 LOS MIRADORES DR NE               3250 SPIRIT DRIVE SE
PO BOX 9115                              RIO RANCHO, NV 87124                  ALBUQUERQUE, NM 87106
MACON, GA 31208-9115




RJF EAU CLAIRE                           RMZ AVIATION LLC                      ROAD RUNNER WASTE SERVICE, INC
4410 GOLF TERRACE, SUITE 202             155B HWY 61 SE                        PO BOX 5550
EAU CLAIRE, WI 54701                     CARTERSVILLE, GA 30120                BERNALILLO, NM 87004




ROBBINS RESTAURANT                       ROBERT ALIPHAT                        ROBERT AMAYA
1810 OMRO RD                             37 LOMA CHATA                         5405 DON MIGUEL PL SW
OSHKOSH, WI 54902                        PLACITAS, NM 87043                    ALBUQUERQUE, NM 87105




ROBERT BRASHEAR                          ROBERT BRUNEAU                        ROBERT COCKBURN
632 MOHAWK ST. SW                        77 KIVA LOOP                          19 CAMINO CERRITOS
ALBUQUERQUE, NM 87124                    SANDIA PARK, NM 87047                 EDGEWOOD, NM 87015
ROBERT COLEMAN             Case 18-12309-JKS    Doc 17
                                        ROBERT DEVINE         Filed 10/10/18   Page 60 of
                                                                                 ROBERT   77
                                                                                        GILL
6 DEAR TRAIL                            2323 MOUNTAIN RD NW #1                   7200 MOJAVE ST. NW
TIJERAS, NM 87059                       ALBUQUERQUE, NM 87104                    ALBUQUERQUE, NM 87120




ROBERT HALF FINANCE & ACCOUNTING        ROBERT MACK                              ROBERT REID III
LOS ANGELES, CA 90074                   1421 MONTIANO LOOP
                                        RIO RANCHO, NM 87124




ROBERT SUBER                            ROBERT WILSON                            ROBIN HANSEN
10525 ARVILLA AVE. NE                   8700 TRAIL LAKE DRIVE WEST, SUITE 3
ALBUQUERQUE, NM 87111                   MEMPHIS, TN 38125




ROBYN H MCKINNON                        ROBYN ZOLEN                              ROCKWELL COLLINS, INC.
DULUTH, MN 55811                                                                 PITTSBURGH, PA 15251




ROE NURSERIES, INC                      ROLF CARSJENS                            RONNIE MCNEESE
72 W. WAUKAU AVE                        5739 MANZANILLO LOOP NE                  9336 OSUNA PL NE
OSHKOSH, WI 54902                       ALBUQUERQUE, NM 87111                    ALBUQUERQUE, NM 87111




ROSEMARIE STANSBURY                     ROSEMARIE STANSBURY                      ROSEN SUNVISOR SYSTEMS
8917 SHOSHONE NE                        8917 SHOSHONE RD NE                      86365 COLLEGE VIEW ROAD
ALBUQUERQUE, NM 87111                   ALBUQUERQUE, NM 87111                    EUGENE, OR 97405




ROSS AVIATION PARTS, LLC                ROSS CORDOVA                             RSA ENGINEERED PRODUCTS LLC
86 PARKVIEW DRIVE                       1800 SHIRLANE PL NE                      110A WEST COCHRAN STREET
CLARK, PA 16113                         ALBUQUERQUE, NM 87112                    SIMI VALLEY, CA 93065




RTH PLC                                 RUBBER-CAL INC.                          RUSSELL STEEL INC.
WOODWARD AVE                            620 W. WARNER AVE                        PO BOX 16063
YATE BS37 5YS GREAT BRITAIN             SANTA ANA, CA 92707                      1240 PORT TERMINAL ROAD
                                                                                 DULUTH, MN 55816




RUST AUTOMATION & CONTOLS               RUTHERFOORD                              RYAN FULCHER
8070 SOUTH 1300 WEST                    ONE SOUTH JEFFERSON ST.                  11 MERLIN LANE
WEST JORDAN, UT 84084                   ROANOKE, VA 24028                        SANDIA PARK, NM 87047




RYAN JENNINGS                           RYAN KUSCHEL                             RYAN LANE
7104 TOULON DR NE                                                                #23 LOS CHAVEZ PARK
ALBUQUERQUE, NM 87122                                                            BELEN, NM 87002
RYAN SHEA                 Case 18-12309-JKS    Doc 17
                                       RYAN SPARKS          Filed 10/10/18   Page
                                                                               S&M61 of 77SYSTEMS
                                                                                   MOVING
22 BURBERRY CIRCLE #324                10201 VENTANA HILLS RD. NW              48551 WARM SPRINGS BLVD
SCHAUMBURG, IL 60173                   ALBUQUERQUE, NM 87114                   FREMONT, CA 94539




SABIO SYSTEMS                          SACCO AUTOMOTIVE                        SAERTEX USA
4520 MONTGOMERY BLVD                   1131 INDIANA ST SE                      12200 MT HOLLY - RD
ALBUQUERQUE, NM 87109                  ALBUQUERQUE, NM 87108                   HUNTERSVILLE, NC 28078




SAFE FLIGHT INSTRUMENT CORPORATION     SAFEAIR INCORPORATED                    SAFETECH
ATTN: REPAIRS                          2975 37TH AVE. SW                       1911 EXECUTIVE DR., STE A
20 NEW KING STREET                     TUMWATER, WA 98512                      INDIANAPOLIS, IN 46241
WHITE PLAINS, NY 10604




SAFETY FLARE INC                       SAFRAN ELECTRICAL & POWER               SAFRAN ELECTRONICS & DEFENSE CANADA
2803 RICHMOND NE                       NICOLAS GOGOL 11322                     2000 FISHER DR.
ALBUQUERQUE, NM 87107                  CHIHUAHUA 40623 MEXICO                  PETERBOROUGH K9J 7B1 CANADA




SAFRAN ELECTRONICS CANADA INC.         SAINT-GOBAIN PERFORMANCE PLASTICS       SALES AT OSH
LINDA RENE, PREDIDENT/CEO              BOX 7799
2000 FISHER DRIVE                      PHILADELPHIA, PA 19170-7799
PETERBOROUGH, ONTARIO CANADA




SALLY MORRIS                           SAM CASSITY                             SAM'S CLUB GEMB
ATTORNEY AT LAW                        3621 14TH PLACE                         P.O. BOX 530942
PO BOX 904                             KENOSHA, WI 53144                       ATLANTA, GA 30353
YARMOUTH, ME 04096




SAMUEL SANDOVAL                        SANDBAG STORE, LLC                      SANDIA AEROSPACE
9215 LOWER MEADOW AVE                  6935 ALIANTE PKWY, STE 104-459          3700 OSUNA RD NE STE 711
ALBUQUERQUE, NM 87121                  NORTH LAS VEGAS, NV 89084               ALBUQUERQUE, NM 87109




SANDIA ICE LLC                         SANDIA OFFICE SUPPLY, INC.              SANDIA STRUCTURAL TECHNOLOGY, LLC
7441 PAN AMERICAN FREEWAY              3831 SINGER BLVD. NE                    8100 M4 WYOMING BLVD, NE #190
ALBUQUERQUE, NM 87109                  ALBUQUERQUE, NM 87109                   ALBUQUERQUE, NM 87113




SANDY RONNING                          SARADA DARAPUREDDY                      SARAH POWELL
                                       2503 CLARK CARR LOOP SE                 216 OGLETHORPE CIRCLE
                                       ALBUQUERQUE, NM 87106                   MONCKS CORNER, SC 29461




SATCOM DIRECT, INC.                    SAVERIO BELLOMO                         SAVOIE COMPOSITE SOLUTIONS
1050 SATCOM LANE                       11105 COUNTRY CLUB DR NE                28 ELLIOT LANE
MELBOURNE, FL 32940                    ALBUQUERQUE, NM 87111                   BOWDOINHAM, ME 04008
SC DEPT OF REVENUE        Case 18-12309-JKS     Doc 17 TEXAS
                                       SC MANUFACTURING   FiledLLC
                                                                 10/10/18   Page 62 of 77 OF STATE
                                                                              SC SECRETARY
ATTN: W. HARTLEY POWELL, DIRECTOR      6401 COUNTRY ROAD 912                  1205 PENDLETON ST., SUITE 525
PO BOX 125                             JOSHUA, TX 76058                       COLUMBIA, SC 29201
COLUMBIA, SC 29214-0505




SCHEME DESIGNERS, INC.                 SCHEME PRO'S, LLC                      SCHENKER, INC
21 BROADWAY, SUITE 204                 2149 MONUMENT VILLAGE CIR.             PO BOX 2307
CRESSKILL, NJ 07626                    GRAND JUNCTION, CO 81507               CAROL STREAM, IL 60132




SCHICK CORPORATE LEARNING              SCHOTT MANAGEMENT                      SCION AVIATION LLC
37 RANDALL                             215 NEPTUNE DRIVE                      PO BOX 568
ESKO, MN 55733                         BRUNSWICK, ME 04011                    LOVELAND, CO 80539-0568




SCOTT JEAGER                           SCOTT ROYAL                            SCOTT STEELMAN
4134 TWILIGHT CT.                                                             6100 CORTADERIA NE #3815
OSHKOSH, WI 54904                                                             ALBUQUERQUE, NM 87111




SCREEN GRAPHICS                        SCS AIRCRAFT INTERIORS                 SEAMECH INTERNATIONAL, INC.
1327 BANKS AVENUE                      3814 PROSPERITY ROAD                   24 GREENWAY PLAZA, STE 440
SUPERIOR, WI 54880                     DULUTH, MN 55811                       HOUSTON, TX 77046




SEAN O'KEEFE                           SECRETARY OF STATE                     SECURITAS SECURITY SERVICES, INC.
449 TRINITY COURT                      DIVISION OF CORPORATIONS               FILE 57220
BUFFALO GROVE, IL 60089                FRANCHISE TAX                          LOS ANGELES, CA 90074
                                       P.O. BOX 898
                                       DOVER, DE 19903



SECURITIES & EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION     SEK DESIGNS
100 F STREET, NE                       ATTN: ANDREW CALAMARI, REGIONAL        101 E SUPERIOR ST. STE A
WASHINGTON, DC 20549                   DIRECTOR                               DULUTH, MN 55802
                                       BROOKFIELD PLACE
                                       200 VESEY STREET, SUITE 400
                                       NEW YORK, NY 10281-1022


SENIOR AEROSPACE BWT                   SENIOR AEROSPACE BWT                   SENIORTECH LLC
ADLINGTON INDUSTRIAL ESTATE            DAVID BEAVAN                           5015 WASHBURN RD
MACCLESFIELD SK10 4NL GREAT BRITAIN    ADLINGTON BUSINESS PARK ADLINGTON      DULUTH, MN 55804
                                       MACCLESFIELD
                                       CHESHIRE UNITED KINGDOM



SENSATA TECHNOLOGIES, INC.             SERBIN MACHINING, INC.                 SERGIO ARROYO
2320 PASEO DE LAS AMERICAS, STE 201    5320 WILSHIRE AVE. NEW                 113 SEABELL RD
SAN DIEGO, CA 92154                    ALBUQUERQUE, NM 87113-1935             BELEN, NM 87002




SERGIO ROBLES                          SERVICE PRINTERS                       SET ENVIRONMENTAL, INC
4011 ZORRO DR SE                       127 EAST SECOND STREET                 450 SUMAC ROAD
ALBUQUERQUE, NM 87105                  DULUTH, MN 55805                       WHEELING, IL 60090
SETH STUEBER                Case 18-12309-JKS     Doc 17
                                         SHADIN AVIONICS    Filed 10/10/18     Page 63 of
                                                                                 SHANNA   77
                                                                                        HICKS
6305 BELCHER AVE NE                      6831 OXFORD STREET                      PO BOX 9512
ALBUQUERQUE, NM 87109                    MINNEAPOLIS, MN 55426                   ALBUQUERQUE, NM 87119




SHANNON FORTENBERRY                      SHARON NELSON                           SHARP ELECTRONICS CORPORATION
150 CARRIAGE RIDE LN                     PO BOX 51131                            DEPT 1205
SUMMERVILLE, SC 29485                    ALBUQUERQUE, NM 87181                   DALLAS, TX 75312




SHASHI PRESSER                           SHAWN DAY/TODAY'S FURNITURE OUTLET,     SHAWN FRIEND
6910 DELLA COURT SW                      INC.                                    11702 PARKWAY DRIVE
ALBUQUERQUE, NM 87105                    10357 MORGAN AVE                        ROSCOE, IL 61073
                                         SOUTH BLOOMINGTON, MN 55431




SHELLY BRANDHORST                        SHERWIN WILLIAMS AEROSPACE              SHERWIN-WILLIAMS COMPANY
7440 SIDEWINDER DR NE                    415 E. COMMERCE STREET                  101 PROSPECT AVE
ALBUQUERQUE, NM 87113                    ANDOVER, KS 67002                       CLEVELAND, OH 44115




SHI                                      SHOWOFFS                                SHRED-N-GO
SHI INTERNATIONAL CORP                   1345 OLD GEORGETOWN RD. STE A           PO BOX 147
PO BOX 952121                            MT. PLEASANT, SC 29464                  WAYZATA, MN 55391
DALLAS, TX 75395-2121




SHULTZ STEEL CO.                         SIEMENS PRODUCT LIFECYCLE MANAGEMEN     SIEMENS
5321 FIRESTONE BLVD                      5800 GRANITE PARKWAY SUITE 600          SIEMENS PRODUCT LIFECYCLE MGMT
SOUTH GATE, CA 90280-3629                PLANO, TX 75024                         SOFTWARE
                                                                                 PO BOX 2168
                                                                                 CAROL STREAM, IL 60132-2168



SIERRA PEAKS TIBBETTS                    SIERRACIN/SYLMAR CORP (PPG)             SIFCO
8436 WASHINGTON PLACE ND                 12780 SAN FERNANDO ROAD                 5708 E. SCHAAF RD.
ALBUQUERQUE, NM 87113                    SYLMAR, CA 91342                        INDEPENDENCE, OH 44131




SIGMA AEROSPACE PTY LTD                  SIGNATURE- PALWAUKEE                    SIKORSKY AIRCRAFT CORPORATION
PO BOX 24                                1100 S MILWAUKEE AVE                    6900 MAIN STREET
WESTDALE, NSW 2340 AUSTRALIA             WHEELING, IL 60090                      PETER GUTERMANN
                                                                                 STRATFORD, CT 06615




SIKORSKY PRODUCTS, INC                   SIMCOM INTERNATIONAL INC                SIMCOM INTERNATIONAL, INC.
6900 MAIN STREET                         6989 LEE VISTA BLVD                     PRESIDENT
STRATFORD, CT 06615                      ORLANDO, FL 32822                       6989 LEE VISTA BLVD.
                                                                                 ORLANDO, FL 32822




SIMON GONZALES                           SINCLAIR BLUEEYES                       SIRIUS XM RADIO INC
1539 DOROTHY LOIS DR NE                  4728 PLATINUM DR NE                     P. O. BOX 9001399
ALBUQUERQUE, NM 87112                    RIO RANCHO, NM 87124                    LOUISVILLE, KY 40290
SIRIUS XM RADIO INC.     Case 18-12309-JKS     Doc 17
                                      SIRS NAVIGATION LTD Filed 10/10/18    Page 64 of 77
                                                                              SKANDIA
GENERAL COUNSEL                       COMPASS HOUSE, BOWES ESTATE             5000 NORTH HIGHWAY 251
1290 AVENUE OF THE AMERICAS, 11TH     MEOPHAM DA13 0QB GREAT BRITAIN          DAVIS JUNCTION, IL 61020
FLOOR
NEW YORK, NY 10104



SKF USA, INC                          SKURKA AEROSPACE, INC.                  SKYLINE EXHIBITOR SOURCE
890 FORTY FOOT ROAD                   4600 CALLE BOLERO                       144 BAIN DRIVE, SUITE 100
LANSDALE, PA 19446                    CLEVELAND, OH 44193                     LAVERGNE, TN 37086




SMIDT, REIST & KELEHER, P.C.          SMITH AMUNDSEN LLC                      SNAP-ON INDUSTRIAL
4811A HARDWARE DR NE STE 4            150 N MICHIGAN AVE                      21755 NETWORK PLACE
ALBUQUERQUE, NM 87109                 SUITE 3300                              CHICAGO, IL 60673
                                      CHICAGO, IL 60601




SNAP-ON INDUSTRIAL                    SOLARWINDS, INC.                        SOLID CONCEPTS, INC.
21755 NETWORK PLACE                   P.O. BOX 730720                         28231 AVE CROCKER #10
CRYSTAL LAKE, IL 60039                DALLAS, TX 75373-0720                   VALENCIA, CA 91355




SONATEST INC                          SOUNDS & SIGNAL SYSTEMS                 SOUTH CAROLINA DEPARTMENT OF
12775 COGBURN                         3233 STANDORD DR. NE                    REVENUE
SAN ANTONIO, TX 78249                 ALBUQUERQUE, NM 87107                   CORPORATE TAX
                                                                              300A OUTLET POINTE BOULEVARD
                                                                              COLUMBIA, SC 29210



SOUTH CAROLINA DEPARTMENT OF          SOUTH CAROLINA SECRETARY OF STATE       SOUTH DAKOTA SCHOOL OF MINES
REVENUE                               ATTN: CORPORATE FILINGS                 501 E. ST. JOSEPH STREET
CORPORATE TAX                         P.O. BOX 11350                          RAPID CITY, SD 57701
PO BOX 125                            COLUMBIA, SC 29211
COLUMBIA, SC 29214-0033



SOUTHWEST AERO                        SOUTHWEST AVIATION SPECIALTIES, LLC     SOUTHWEST RESEARCH INSTITUTE
18037 N 94TH WAY                      8720 JACK BATES AVE                     6220 CULEBRA RD.
SCOTTSDALE, AZ 85255                  TULSA, OK 74132                         SAN ANTONIO, TX 78238-5166




SOUTHWEST RUBBER STAMP CO LLC         SOUTHWEST SEAL & SUPPLY, INC            SOUTHWEST WATER CONDITIONING
6717 LOMAS BLVD NE                    3825 OSUNA RD., NE, SUITE 6             7801 MENAUL NE
ALBUQUERQUE, NM 87110                 ALBUQUERQUE, NM 87109                   ALBUQUERQUE, NM 87110




SOUTHWESTERN CONTROLS                 SPARKLE MAINTENANCE                     SPARKLE MAINTENANCE, INC.
6720 SANDS POINT DRIVE, SUITE 100     4801 HARWARE DRIVE NE                   PAULINE LUCERO
HOUSTON, TX 77074                     ALBUQUERQUE, NM 87109                   4801 HARDWARE DR. NE
                                                                              ALBQUERQUE, NM 87109




SPECTRALUX CORPORATION                SPECTRUM BUSINESS                       SPECTRUM BUSINESS/CHARTER
12335 134TH COURT NE                  CHARTER COMMUNICATIONS                  COMMUNICATION
REDMOND, WA 98052                     PO BOX 3019                             400 ATLANTIC STREET
                                      MILWAUKEE, WI 54880-1556                STAMFORD, CT 06901
SPECTRUM BUSINESS/CHARTERCase    18-12309-JKS    Doc 17 Filed
                                         SPRAGUE INSTRUMENTS, INC 10/10/18   Page
                                                                               SPS65
                                                                                  CT of 77
COMMUNICATION                             1011 S. MONROE ST.                   21 AIRPORT ROAD
PO BOX 3019                               SAN JOSE, CA 95128                   PO BOX 216
MILWAUKEE, WI 53201-3019                                                       N WINDHAM, CT 06256




SPX                                       SQUARE                               SRI TECHNOLOGIES, INC
SPX THERMAL PRODUCT SOLUTIONS             1455 MARKET STREET                   1250 BANK DR.
98797 COLLECTIONS CENTER DRIVE            SAN FRANCISCO, CA 94103              SCHAUMBURG, IL 60173
CHICAGO, IL 60693




SRIDHAR MADISHETTY                        SRINIVASA TUMU                       ST GERMAIN'S CABINET, INC.
1806 VISTA DE COLINAS DR SE               9613 ACADEMY HILLS DR NE             5741 OLD HIGHWAY 61
RIO RANCHO, NM 87124                      ALBUQUERQUE, NM 87111                DULUTH, MN 55810




STACEY PARMENTER                          STACEY STEC                          STANDARD AERO INC
1103 GROVE PARK DR                        2402 RAVEN DR                        1029 ROSS DR.
CHARLESTON, SC 29414                      SULLIVANS ISLAND, SC 29482           MARYVILLE, TN 37801




STANLEY BRENTON                           STAPLES ADVANTAGE                    STAPLES ADVANTAGE
1012 CHAVEZ RD NW                         DEPT BOS                             DEPT DET
ALBUQUERQUE, NM 87107                     PO BOX 415256                        PO BOX 83689
                                          BOSTON, MA 02241-5256                CHICAGO, IL 60696




STAPLES CONTRACT & COMMERCIAL             STAR HYDRAULICS                      STARLIGHT INDUSTRIES, INC.
P O BOX 415256                            2727 CLINTON STREET                  1111 LANCASTER AVENUE
BOSTON, MA 02241                          RIVER GROVE, IL 60171-1501           ROSEMONT, PA 19010-9011




STARLITE INDUSTRIES, INC                  STARLITE INDUSTRIES, INC.            STARR AVIATION
1111 LANCASTER AVENUE                     1111 LANCASTER AVENUE                17550 N PERIMETER DR # 340
ROSEMONT, PA 19010-9011                   ROSEMONT, PA 19010-9011              SCOTTSDALE, AZ 85255




STARR SURPLUS LINES INSURANCE             START PAC ROTORCRAFT ENTERPRISES     STATE BOARD OF EQUALIZATION
COMPANY                                   4357 W. SUNSET RD.                   3321 POWER INN RD
399 PARK AVENUE                           LAS VEGAS, NV 89118                  SUITE 210
8TH FLOOR                                                                      SACRAMENTO, CA 95826-3889
NEW YORK, NY 10022



STATE COMPTROLLER                         STATE OF ALABAMA DEPARTMENT OF       STATE OF DELAWARE
P.O. BOX 149348                           REVENUE                              DIVISION OF CORPORATIONS
AUSTIN, TX 78714                          PO BOX 327320                        PO BOX 5509
                                          MONTGOMERY, AL 36132-7320            BINGHAMTON, NY 13902-5509




STATE OF DELAWARE                         STATE OF SOUTH CAROLINA              STATE OF WISCONSIN DFI
DIVISION OF CORPORATIONS                  OFFICE OF THE SECRETARY OF STATE     LIMITED LIABILITY COMPANY ANNUAL
PO BOX 898                                1205 PENDLETON STREET, SUITE 525     REPORT
DOVER, DE 19903                           COLUMBIA, SC 29201                   PO BOX 93739
                                                                               MILWAUKEE, WI 53293-0739
S-TEC CORPORATION         Case 18-12309-JKS
                                       STEELEDGEDoc  17 LLC
                                                  COMPANY Filed   10/10/18   Page 66 INDUSTRIES
                                                                               STEICO of 77
ONE S-TEC WAY, MUNICIPAL AIRPORT       1109 VASSAR DR. SE                      1814 ORD WAY
MINERAL WELLS, TX 76067                ALBUQUERQUE, NM 87106                   OCEANSIDE, CA 92056




STEPHEN MISGEN                         STEPHEN SULOWAY                         STEPHENS AVIATION
8005 RUIDOSO CT. NE                    718 DON GASPAR AVE                      12105 E ZIMMERLY CT
ALBUQUERQUE, NM 87109                  SANTA FE, NM 87505                      WICHITA, KS 67207




STERLING LACQUER MFG. CO               STEVE KING                              STEVE MARINELLI
3150 BRANNON AVE                       2300 DIAMOND MESA TR SW APT 2903        307 DARTMOUTH DR SE
ST LOUIS, MO 63139                     ALBUQUERQUE, NM 87121                   ALBUQUERQUE, NM 87106




STEVE ST. JEAN                         STEVEN BACA                             STEVEN HALL
                                       729 PLAYFUL MEADOWS CIR NE              6817 CHRISTY AVE NE
                                       RIO RANCHO, NM 87144                    ALBUQUERQUE, NM 87109




STEVEN SAMS                            STEVEN SERFLING AS AGENT FOR            STEVEN SERFLING AS AGENT FOR KEVIN
8154 SAND SPRINGS CIRCLE               HEATHER WILLIAMS                        SERFLING
ALBUQUERQUE, NM 87114                  5965 N PIKE LAKE ROAD                   5965 N PIKE LAKE ROAD
                                       DULUTH, MN 55811                        DULUTH, MN 55811




STEVEN SERFLING AS AGENT FOR WESTON    STEVEN SERFLING                         STEVEN VELASQUEZ
WILLIAMS                               5965 N PIKE LAKE ROAD                   6401 ACADEMY RD NE APT#84
5965 N PIKE LAKE ROAD                  DULUTH, MN 55811                        ALBUQUERQUE, NM 87109
DULUTH, MN 55811




STEVEN VELASQUEZ                       STEWART SYSTEMS                         STEWART SYSTEMS
6401 ACADEMY RD. APT# 84               5500 SULLIVAN STREET                    8878 HARMONY CHURCH ROAD
ALBUQUERQUE, NM 87109                  CASHMERE, WA 98815                      JOHNSTOWN, OH 43031




STEWART-TAYLOR COMPANY                 STIXON                                  STREAMLINE SWIMMING
114 W SUPERIOR ST                      1361 FLIGHTWAY AVE SE                   6901 GRUBER AVENUE, NE STE D
DULUTH, MN 55802                       ALBUQUERQUE, NM 87106                   ALBUQUERQUE, NM 87109




STRETCH FORMING CORPORATION            STUDIOV LLC                             SUBURBAN PROPERTIES, LLC
804 SOUTH REDLANDS AVENUE              42 IVANHOE DR                           43W516 US ROUTE 30
PERRIS, CA 92570                       TOPSHAM, ME 04086                       SUGAR GROVE, IL 60554




SUE SCHMIDT                            SUITES AT WATERFRONT PLAZA              SULLIVAN HAZELTINE ALLINSON LLC
8706 STARVIEW DR                       325 LAKE AVENUE S                       901 N. MARKET ST., SUITE 1300
OMRO, WI 54963                         DULUTH, MN 55802                        WILMINGTON, DE 19801
SULZER METCO, INC.          Case 18-12309-JKS     Doc 17SUPPLY
                                         SUMMIT ELECTRIC   Filed
                                                               CO.10/10/18
                                                                  INC.         Page
                                                                                 SUN67  of 77 INC.
                                                                                     AVIATION,
1101 PROSPECT AVENUE                      2900 STANFORD NE                        10010 E. 87TH STREET
WESTBURY, NY 11590                        ALBUQUERQUE, NM 87107                   KANSAS CITY, MO 64138




SUN COUNTRY INDUSTIRES, LLC               SUN COUNTRY INDUSTRIES, LLC             SUN COUNTRY INDUSTRIES, LLC
2371 MOMENTUM PLACE                       6801 GRUBER NE                          PO BOX 93490
CHICAGO, IL 60689                         ALBUQUERQUE, NM 87109                   ALBUQUERQUE, NM 87199-3490




SUNBELT RENTALS                           SUN'N FUN FLY-IN                        SUNNYSIDE CORPORATION
PO BOX 409211                             4175 MEDULLA ROAD                       75 REMITTANCE DRIVE DEPT 3195
ATLANTA, GA 30384-9211                    LAKELAND, FL 33811                      CHICAGO, IL 60675




SUN-TEC CORPORATION                       SUNTRUST BANK                           SUNTRUST MERCHANTS FEE
46590 RYAN COURT                          MAILCODE: SC-CHARLESTON-4068            MAILCODE: SC-CHARLESTON-4068
NOVI, MI 48377                            ATTN: DAVID FICHMAN                     ATTN: DAVID FICHMAN
                                          276 EAST BAY STREET 2ND FLOOR           276 EAST BAY STREET 2ND FLOOR
                                          CHARLESTON, SC 29401                    CHARLESTON, SC 29401



SUPERIOR DAYS                             SUPERIOR TOOL SERVICE, INC.             SUREFIRE, LLC
DOUGLAS COUNTY COURTHOUSE                 3845 W. HARRY STREET                    18300 MT . BALDY CIRCLE
1313 BELKNAP ST                           WICHITA, KS 67213                       FOUNTAIN VALLEY, CA 92708
ROOM 107
SUPERIOR, WI 54880-2781



SURESH DAMERUPPULA                        SWAGELOK SOUTHWEST CO                   SWIFT COR AEROSPACE, INC.
4867 ASHFORD DUNWOODY RD                  1521 BROADWAY NE STE C                  344 W. 157TH STREET
ATLANTA, GA 30338                         ALBUQUERQUE, NM 87102                   GARDENA, CA 90248-2135




SWIMCREATIVE                              SYED ANJUM MAHMOOD                      SYMETRICS C/O THE BREGMAN LAW FIRM
415 E SUPERIOR ST                         12652 LOST PRAIRIE DR                   LLC
DULUTH, MN 55802                          FORT WORTH, UT 76244                    ATTN: SAM BREGMAN & JACKIE
                                                                                  BREGMAN, COUNSEL TO SYMETRICS
                                                                                  901 3RD STREET NW SUITE A
                                                                                  ALBUQUERQUE, NM 87102


SYMETRICS INDUSTRIES, LLC                 SYMETRICS                               T&R PRECISION ENGINEERING LTD
1615 W. NASA BLVD.                        LESLEY LANTON MANAGER OF CONTRACTS      TIM MADDISON VP
MELBOURNE, FL 32901                       1615WEST NASA BLVD.                     LOWTHER LANE FOULRIDGE COLNE
                                          MELBOURNE, FL 32901                     LANCASHIRE UNITED KINGDOM




T&R PRECISION ENGINEERING                 TACONIC                                 TAMAGAWA SEIKI CO., LTD
LOWTHER LANE FOULRIDGE                    PO BOX 69                               NORIFUMI HOGIMOTO PRESIDENT
COLNE, LANCASHIRE BB87JY GREAT            PETERSBURGH, NY 12138                   1879 HHYASUMI IIDA-CITY
BRITAIN                                                                           NAGANO PREF. JAPAN




TAMAGAWA SEIKI CO., LTD.                  TAMMY FREEMAN                           TANVEER SHAKEEL
OHYASUMI LIDA-CITY1879                    1836 RED RUM CT SE                      517 SWOOSE CT SW
IIDA 3958515 JAPAN                        ALBUQUERQUE, NM 87123                   ALBUQUERQUE, NM 87105
TAYCAR ENTERPRISES       Case 18-12309-JKS    Doc 17 Filed
                                      TAYLOR MANUFACTURING    10/10/18
                                                           INDUSTRIES INC Page  68 of 77
                                                                            TD BANK
8410 FIRESTONE LANE                    255 BISCAYNE CRESCENT                 1701 ROUTE 70 EAST
ALBUQUERQUE, NM 87113                  BRAMPTON L6W 4R2 CANADA               CHERRY HILL, NJ 08034




TECHNICAL AIRBORNE COMPONENTS          TECHNI-TOOL, INC.                     TECHNOLOGY FOR ENERGY CORPORATION
RUE DES ALOUETTES 141                  1547 N TROOPER RD                     10737 LEXINGTON DR.
MILMORT 4041 BELGIUM                   WORCESTER, PA 19490                   KNOXVILLE, TN 37932




TECHNOLOGY INTEGRATION GROUP           TEKTRONIX SERVICE SOLUTIONS           TELCOLOGIX
7810 TRADE STREET                      7416 COLLECTION CENTER DR.            209 WEST 1ST STREET
SAN DIEGO, CA 92121                    CHICAGO, IL 60693                     SUITE 200
                                                                             DULUTH, MN 55802




TELEBYTE, INC.                         TELEX COMMUNICATIONS, INC.            TEM INC
355 MARCUS BLVD.                       39318 TREASURY CENTER                 8 PIERCE DRIVE
HAUPPAUGE, NY 11788                    CHICAGO, IL 60694-9300                BUXTON, ME 04093




TENCATE ADVANCED COMPOSITES USA,       TENCATE ADVANCED COMPOSITES           TENNANT SALES AND SERVICE COMPANY
INC.                                   18410 BUTTERFIELD BLVD                P.O. BOX 71414
PRESIDENT - AEROSPACE                  MORGAN HILL, CA 95037                 CHICAGO, IL 60694-1414
18410 BUTTERFIELD BLVD
MORGAN HILL, CA 95037



TERRI ARDEN                            TEST EQUITY, LLC                      TEXAS COMPOSITE, INC.
                                       6100 CONDOR DR                        1281 N MAIN ST
                                       MOORPARK, CA 93021                    BOERNE, TX 78006




TEXAS COMPTROLLER OF PUBLIC            TEXAS DIRECT AUTO                     TEXSTARS, INC.
ACCOUNTS                               12053 SW FREEWAY                      1081 PAYSPHERE CIRCLE
P.O. BOX 149348                        STAFFORD, TX 77477                    CHICAGO, IL 60674
AUSTIN, TX 78714-9348




TEXTRON AVIATION                       THAYER CORPORATION                    THE AEROBATIC EXPERIENCE
1643 S. MAIZE ROAD                     1400 HOTEL RD                         4900 US-1
WICHITA, KS 67209                      AUBURN, ME 04210                      ST AUGUSTINE, FL 32095




THE ARVAI GROUP, INC                   THE BANK OF NEW YORK MELLON TRUST     THE BANK OF NEW YORK MELLON TRUST
PO BOX 468                             COMPANY, N.A.                         COMPANY, N.A.
WINDHAM, NH 03087-0468                 900 ASHWOOD PARKWAY, SUITE 425        AS COLLATERAL AGENT FOR HOLD OF THE
                                       ATTN: LEE ANN WILLIS                  DEBTORS' SERIES A-1 NOTES
                                       ATLANTA, GA 30338                     900 ASHWOOD PARKWAY
                                                                             SUITE 425
                                                                             ATLANTA, GA 30338

THE BANK OF NEW YORK MELLON TRUST      THE BANK OF NEW YORK MELLON TRUST     THE BANK OF NEW YORK MELLON TRUST
COMPANY, N.A.                          COMPANY, N.A.                         COMPANY, N.A.
AS COLLATERAL AGENT FOR HOLD OF THE    AS COLLATERAL AGENT FOR HOLD OF THE   AS COLLATERAL AGENT FOR HOLD OF THE
DEBTORS' SERIES A-1 NOTES              DEBTORS' SERIES A-2 NOTES             DEBTORS' SERIES A-2 NOTES
900 ASKWOOD PARKWAY                    900 ASHWOOD PARKWAY                   900 ASKWOOD PARKWAY
SUITE 425                              SUITE 425                             SUITE 425
ATLANTA, GA 30338                      ATLANTA, GA 30338                     ATLANTA, GA 30338
THE BOLT COMPANY          Case 18-12309-JKS     Doc INSURANCE
                                       THE CINCINNATI 17 FiledCOMPANY
                                                               10/10/18         Page
                                                                                  THE69 of 77 NEWS COMPANY, INC.
                                                                                     CONVENTION
2121 MENAUL BLVD NE                     P.O. BOX 145496                           214 FRANKLIN AVE.
ALBUQUERQUE, NM 87107                   CINCINNATI, OH 45250                      MIDLAND PARK, NJ 07432




THE COTE CORPORATION                    THE CULTURAL NORTH                        THE DEVELOPMENT ASSOCIATION, INC.
2980 HOTEL RD                           BEAU WALSH DESIGN LLC                     205 BELKNAP ST
AUBURN, ME 04210                        DBA THE CULTURAL NORTH                    SUPERIOR, WI 54880
                                        600 N 23RD AVE E APT 205
                                        DULUTH, MN 55812



THE EASTWOOD COMPANY                    THE ELEVATION COMPANY (TODD LOHENRY)      THE EXTRA ATTIC SELF STORAGE
263 SHOEMAKER ROAD                      305 STEELE STREET, SUITE 305              1074 CLEMENTS FERRY ROAD
POTTSTOWN, PA 19464                     ALGOMA, WI 54201                          WANDO, SC 29492




THE FITNESS SUPERSTORE                  THE HARTFORD (VOLUNTARY LIFE)             THE HARTFORD
4840 PAN AMERICAN FWY.                  PO BOX 783690                             PO BOX 660916
ALBUQUERQUE, NM 87109                   PHILADELPHIA, PA 19178                    DALLAS, TX 75266-0916




THE HILLTOP                             THE HOME DEPOT                            THE HUNTSVILLE TIMES
7909 EDITH NE                           1220 RENAISSANCE BLVD NE                  ALABAMA MEDIA GROUP
ALBUQUERQUE, NM 87184                   ALBUQUERQUE, NM 87107                     P.O. BOX 905924
                                                                                  CHARLOTTE, NC 28290




THE NORTHSPAN GROUP                     THE PORT AUTHORITY OF NEW YORK & NEW      THE SHERWIN WILLIAMS COMPANY
221 W FIRST STREET                      JERSEY                                    ROBERT F. LYNCH SUP-SW
DULUTH, MN 55802                        CORPORATE OFFICES                         4440 WARRENSVILLE CENTER ROAD
                                        4 WORLD TRADE CENTER                      WARRENSVILLE HIEGHTS, OH 44128
                                        150 GREENWICH STREET
                                        NEW YORK, NY 10007


THE SOFTWARE MINT LLC                   THE STATE OF CALIFORNIA FRANCHISE TAX     THE STATE OF CALIFORNIA STATE BOARD
1463 MERCURY DR.                        BOARD                                     OF EQUALIZATION
SCHAUMBURG, IL 60193                    PO BOX 942840                             P.O. BOX 942879
                                        SACRAMENTO, CA 94240-0001                 SACRAMENTO, CA 94279-0001




THE WICHITA EAGLE                       THE YARD                                  THOMAS DENNIS
330 N. MEAD                             725 E CENTRAL AVENUE                      3006 21ST AVE SE
WICHITA, KS 67202                       WICHITA, KS 67202                         RIO RANCHO, NM 87124




THOMAS LEVEEN                           THOMAS PARENTEAU                          THOMAS WITTROCK
16 MARLOW STREET                                                                  9120 AUTUMN ROSE DR NE
PORTLAND, ME 04103                                                                ALBUQUERQUE, NM 87113




THYCOTIC SOFTWARE LTD                   TIGERDIRECT, INC.                         TIGHITCO LATINOAMERICA, S.A. DE C.V
1101 17TH STREET NW SUITE 1102          3401-110 GRESHAM LAKE ROAD                AV.COMISION FEDERAL DE ELECTR 635-2
WASHINGTON, DC 20036                    RALEIGH, NC 27615                         SAN LUIS POTOSI 11087 MEXICO
TIGHITCO, INC.             Case 18-12309-JKS     Doc 17 Filed 10/10/18
                                        TIMOTHY RUSCHMEYER               Page
                                                                           TINA70 of 77
                                                                                EWEN
245 OLD BRICKYARD LANE                  6184 GREEN NEEDLE DR               535 NORTHAMPTON LANE
BERLIN, CT 06037                        LOVES PARK, IL 61111               ROSELLE, IL 60172




TIRES PLUS                              TITAN METAL FABRICATORS INC        TLC ADMINISTRATORS
333 E. LAKE STREET                      835 FLYNN ROAD                     MELINDA BENNETT
BLOOMINGTON, IL 60108                   CAMARILLO, CA 93012                3340 WALNUT AVE SUITE 290
                                                                           FREEMONT, CA 94538




TLC ADMINISTRATORS, INC.                TLC ADMINISTRATORS, INC.           TLG AEROSPACE, LLC
3340 WALNUT AVE                         3340 WALNUT AVE                    1700 WESTLAKE AVENUE NORTH SUITE 430
SUITE 290                               SUITE 290                          SEATTLE, WA 98109
FREEMONT, CA 94538                      FREMONT, CA 94538




TLG AEROSPACE, LLC                      TLG AEROSPACE, LLC                 TMDE CALIBRATION LABE, INC.
1700 WESTLAKE AVENUE NORTH              P.O. BOX 17853                     PO BOX 8
SUITE 430                               SEATTLE, WA 98127                  RICHMOND, ME 04357
SEATTLE, WA 98109




TODAY'S FURNITURE OUTLET, INC.          TODD BRODEUR                       TODD HURLEY
SHAWN DAY                               PO BOX 90763
10357 MORGAN AVE S                      ALBUQUERQUE, NM 87199
BLOOMINGTON, MN 55431




TODD JOHNSON                            TODD PERFITO                       TOLTEC SCREEN PRINT
                                        6340 MESQUITE DR NW                PO BOX 93484
                                        ALBUQUERQUE, NM 87120              ALBUQUERQUE, NM 87199




TOMMIE KUYKENDALL                       TONI F. UNDERWOOD                  TONY ACOSTA
12310 CLAREMONT AVE NE                  11 SUGAR BEACH DRIVE               7951 JAMESTOWN RD
ALBUQUERQUE, NM 87112                   SANTA ROSA BEACH, FL 32459         ALBUQUERQUE, NM 87114




TONY BRADFORD                           TONY PARKER                        TONY SUTTON
1239 DESERT PAINTBRUSH LOOP NE          8431 NORTHPORT DRIVE               7109 METE SOL DRIVE NW
ALBUQUERQUE, NM 87144                   HUNTINGTON BEACH, CA 92646         ALBUQUERQUE, NM 87120




TOOL TESTING LAB, INC                   TOP FLIGHT ENGINEERING, INC.       TORADEX INC.
11601 N. DIXIE DRIVE                    2571 LINDSAY PRIVADO DRIVE         219 1ST AVE S. STE 410
TIPP CITY, OH 45371                     ONTARIO, CA 91761-3452             SEATTLE, WA 98104




TORNADO ALLEY TURBO                     TOWN & COUNTRY SIGN & LIGHTING     TOWN OF BRUNSWICK
300 AIRPORT ROAD - HANGAR B             93628 TWILIGHT LANE                85 UNION STREET
ADA, OK 74820                           MOOSE LAKE, MN 55767               BRUNSWICK, ME 04011
                         Case LTDA
TRACKER INDUSTRIA E ENGENHARIA  18-12309-JKS      Doc 17 Filed
                                        TRADE-A-PLANE              10/10/18   Page 71TRUNG
                                                                                TRAN   of 77
RUA PENHA, 109 - CHACARAS REUNIDAS      ATTN: DISPLAY DEPARTMENT                519 HARTMAN DR SW
SAO JOSE DOS CAMPOS 12238-380 BRAZIL    PO BOX 509                              ALBUQUERQUE, NM 87121
                                        CROSSVILLE, TN 38557




TRAVERSE LLC                           TRAVIS PAUL                              TRISTAN FITZGERALD
PO BOX 4187                            8432 HAWK EYE RD NW                      517 N 8TH AVE E
MISSION VIEJO, CA 92690                ALBUQUERQUE, NM 87120                    DULUTH, MN 55805




TRISTAR, INC.                          TRI-STATE BUSINESS SYSTEMS               TRIUMPH AEROSPACE SYSTEMS - SEATTLE
3740 E. LA SALLE ST                    2829 BANKS AVENUE                        PRESIDENT
PHOENIX, AZ 85040                      SUPERIOR, WI 54880                       22922 NE ALDER CREST DRIVE
                                                                                REDMOND, WA 98053




TRIUMPH AEROSPACE SYSTEMS              TRIUMPH AEROSPACE SYSTEMS                TRIUMPH FABRICATIONS - SAN DIEGO
899 CASSATT ROAD #210                  PO BOX 643389                            203 N. JOHNSON AVE
BERWYN, PA 19312                       PITTSBURGH, PA 15264-3389                EL CAJON, CA 92020




TRONAIR, INC.                          TROY BUNTING                             TROY GONZALES
1740 EBER ROAD                         2140 WENTWORTH AVE                       1659 16TH AVE SE
HOLLAND, OH 43528                      ROCKFORD, IL 61108                       RIO RANCHO, NM 87124




TROY MCDONALD                          TROY REABE                               TROY WONDER
815 1ST AVE APT 5                      1401 TOWER AVE                           6712 TIERRA MADRE CT NW
PROCTOR, MN 55810                      SUPERIOR, WI 54880                       ALBUQUERQUE, NM 87120




TRUBIQUITY INC                         TRUNG TRAN                               TTI, INC.
5480 CORPORATE DR., SUITE 300          519 HARTMAN DR SW                        2441 NORTHEAST PARKWAY
TROY, MI 48098                         ALBUQUERQUE, NM 87121                    FORT WORTH, TX 76106-1816




TURNKEY NETWORK SYSTEMS, INC           TW METALS                                TX COMPTROLLER
210 S, MILWAUKEE AVE                   760 CONSTITUTION DR                      ATTN: GLENN HEGAR
WHEELING, IL 60090                     EXTON, PA 19341                          PO BOX 13528
                                                                                CAPITOL STATION
                                                                                AUSTIN, TX 78711



TYCO INTEGRATED SECURITY LLC           ULINE                                    ULTIMATE AVIATION SOLUTIONS
NKA JOHNSON CONTROLS                   PO BOX 88741                             11251 NW 20TH ST.
4700 EXCHANGE COURT, SUITE 300         CHICAGO, IL 60680-1741                   MIAMI, FL 33172
BOCA RATON, FL 33431




UMAINE                                 UMECO                                    UNICOR, LLC
UNIVERSITY OF MAINE                    UMECO STRUCTURAL MATERIALS (OK) INC      1615 BROADWAY NE
ACCOUNTS RECEIVABLE                    PO BOX 108809                            ALBUQUERQUE, NM 87102
5703 ALUMNI HALL, ROOM 100             OKLAHOMA CITY, OK 73101
ORONO, ME 04469
UNIQUE SERVICES, LLC       Case 18-12309-JKS     Doc 17
                                        UNITED DISPATCH     Filed 10/10/18   Page 72 DRILL
                                                                               UNITED of 77BUSHING CORP.
3100 MENAUL BLVD, NE                    5200 N. OTTO AVE                        1200 WOODRUFF AVENUE
ALBUQUERQUE, NM 87107                   CHICAGO, IL 60656                       DOWNEY, CA 90241




UNIVERSAL AEROSPACE CO., INC.           UNIVERSAL AVIONICS SYSTEMS CORP.        UNIVERSAL FUELS, INC
18640 59TH DRIVE, NE                    3440 FLAIR DRIVE                        PO BOX 301164
ARLINGTON, WA 98223                     EL MONTE, CA 91731                      DALLAS, TX 75303-1164




UNIVERSAL WEATHER & AVIATION            UPS FREIGHT                             UPS FREIGHT
PO BOX 301164                           1000 SEMMES AVENUE                      PO BOX 650690
DALLAS, TX 75303-1164                   P.O. BOX 1216                           DALLAS, TX 75265-0690
                                        RICHMOND, VA 23218-1216




UPS SUPPLY CHAIN SOLUTIONS              UPS                                     UPS
55 GLENLAKE PARKWAY, NE                 28013 NETWORK PLACE                     PO BOX 7247-0244
ATLANTA, GA 30328                       CHICAGO, IL 60673                       PHILADELPHIA, PA 19170-0001




US DEPARTMENT OF LABOR                  US INTERNET                             USETECH CO, LTD.
WAGE & HOUR DIVISION                    12450 WAYZATA BLVD                      KANAE5005-18
230 S. DEARBORN STREET, SUITE 530       SUITE 315                               KIRIISHI, LIDA-CITY, NAGANO 3950807
CHICAGO, IL 60604                       MINNETONKA, MN 55305                    JAPAN




UT FINANCE CORPORATION                  UTC AEROSPACE SYSTEMS                   UVAIR EUROPEAN FUELING SERVICES
400 MAIN STREET; MAIL STOP 133-54       225 STRINGTOWN ROAD                     UVAIR EUROPEAN FUELING SERVICES LTD
EAST HARTFORD, CT 06108                 UNION, WV 24983                         PO BOX 301667
                                                                                DALLAS, TX 75303-1667




UW - MILWAUKEE                          UW - SUPERIOR CAREER SERVICES           VACUCOAT TECHNOLOGIES, INC.
UNIVERSITY OF WISCONSIN - MILWAUKEE     PO BOX 2000                             33575 GIFTOS DR
PO BOX 500                              SUPERIOR, WI 54880                      CLINTON TOWNSHIP, MI 48035
MILWAUKEE, WI 53201




VALENCIA COFFEE INC                     VALERIE FITZSIMMONS                     VALERO MARKETING & SUPPLY COMPANY
2 SHADOW VIEW CT                        9716 COMANCHE NE #3D                    ONE VALERO WAY
LOS LUNAS, NM 87031                     ALBUQUERQUE, NM 87111                   SAN ANTONIO, TX 78249-1616




VALLEY FENCE COMPANY                    VALUETRONICS INTERNATIONAL, INC         VAN BEEK AEROSPACE, LLC
1932 COORS BLVD SW                      1675 CAMBRIDGE DR.                      187 EL REY DRIVE
ALBUQUERQUE, NM 87121                   ELGIN, IL 60123                         CORRALES, NM 87048




VANESSA DIAZ                            VECTOR AIR                              VECTOR-MASSPORT
348 PASEO VISTA LP                      395 AIRPORT DR.                         PHILADELPHIA, PA 19178
RIO RANCHO, NM 87124                    ERIE, CO 80516
                        Case
VECTOR-SANTA MONICA AIRPORT    18-12309-JKS    Doc 17AIRPORT
                                       VECTOR-SIKORSKY  Filed 10/10/18   Page 73 of
                                                                           VEDRAN   77
                                                                                  GROZDANOVIC
LOS ANGELES, CA 90084                  LOCKBOX 7061                        4208 SEPULVEDA BLVD APT 28
                                       PHILADELPHIA, PA 19178              TORRANCE, CA 90505




VER SALES, INC                         VERISURF SOFTWARE INC.              VERIZON WIRELESS BANKRUPTCY
2509 NOTH NAOMI ST                     4907 E. LANDON DRIVE                ADMINISTRATION
BURBANK, CA 91504                      ANAHEIM, CA 92807                   500 TECHNOLOGY DRIVE
                                                                           SUITE 550
                                                                           WELDON SPRING, MO 63304



VERIZON WIRELESS                       VERIZON                             VERIZON
P.O. BOX 650457                        600 HIDDEN RIDGE                    P.O. BOX 6601108
DALLAS, TX 75266                       IRVING, TX 75308                    DALLAS, TX 75266-0108




VERIZON                                VERMILLION, INC.                    VERMONT GAGE
PO BOX 660108                          4754 S PALISADE AVE                 SWANSON, VT 05488
DALLAS, TX 75266-0108                  WICHITA, KS 67217




VERNON AKES                            VERTIV SERVICES, INC.               VIASAT
8417 CHERRY HILLS DRIVE                610 EXECUTIVE CAMPUS DRIVE          6155 EL CAMINO REAL
ALBUQUERQUE, NM 87111                  WESTERVILLE, OH 43082               CARLSBAD, CA 92009-1699




VIATECH PUBLISHING SOLUTIONS           VIATECH PUBLISHING SOLUTIONS        VIC BROWN SALES, INC.
2007 MEADOWTREE LN                     5668 61ST STREET                    8005 EDITH NE
ST LOUIS, MO 63122                     COMMERCE, CA 90040                  ALBUQUERQUE, NM 87113




VICTOR ARROYO                          VICTOR FERNANDES                    VICTOR MAESTAS
1804 JERRYS PL SW                      6124 COSTA BLANCA NW                05 ANASAZI RD
ALBUQUERQUE, NM 87105                  ALBUQUERQUE, NM 87114               PLACITAS, NM 87043




VICTOR PALAZUELOS                      VICTOR SANCHEZ                      VINTAGE TRAILERS
99 AVENITA JARDIN                      1043 WALNUT CT SE
LOS LUNAS, NM 87031                    LOS LUNAS, NM 87031




VIP INSTRUMENTS                        VISHAY MEASUREMENTS GROUP, INC      VISION SERVICE PLAN INSURANCE
58 LINDBERGH DR                        PO BOX 731487                       COMPANY
HARTFORD, CT 06114                     DALLAS, TX 75373-1487               THERESA HAMMERGREN
                                                                           3333 QUALITY DR
                                                                           RANCHO CORDOVA, CA 95670



VISION SERVICE PLAN                    VITO MAZZARINO                      VM TECHNOLOGY, INC
FILE # 73077                           1030 VIA CORDOVA                    2 REATA RD.
SAN FRANCISCO, CA 94160                SAN PEDRO, CA 90732                 SANTA FE, NM 87507
VMWARE                    Case 18-12309-JKS     Doc
                                       VON BRIESEN   17 Filed
                                                   & ROPER, S.C. 10/10/18        Page 74INDUSTRIES,
                                                                                   VOSS   of 77     LLC
3401 HILLVIEW AVE                        411 EAST WISCONSIN AVENUE, SUITE 1000      2168 WEST 25TH STREET
PALO ALTO, CA 93404                      MILWAUKEE, WI 53202-4409                   CLEVELAND, OH 44113-4172




VSP VISION CARE                          VSP                                        VTR, INC.
333 QUALITY DRIVE                        VISION SERVICE PLAN                        2525 MAIN STREET, SUITE 100
RANCHO CORDOVA, CA 95670                 PO BOX 742529                              IRVINE, CA 92614
                                         LOS ANGELES, CA 90074-2529




W. B. MASON CO., INC.                    WALTER PHILLIPS                            WALTONEN ENGINEERING, INC
PO BOX 981101                            10732 FOUR MILE RD                         31330 MOUND ROAD
BOSTON, MA 02298-1101                    ALBUQUERQUE, NM 87121                      WARREN, MI 48092




WANDA GARCIA                             WASTE MANAGEMENT                           WASTE MANAGEMENT
1126 CALLE PALO VERDE                    1001 FANNIN STREET                         PO BOX 4648
BERNALILLO, NM 87004                     SUITE 4000                                 CAROL STREAM, IL 60197-4648
                                         HOUSTON, TX 77002




WATERJET CUTTING, INC.                   WCDLF SUB CDE XXXVI LLC                    WCDLF SUB CDE XXXVI LLC
2711 KARSTEN COURT SE                    139 SOUTH HIGH STREET                      201 WEST WASHINGTON AVENUE
ALBUQUERQUE, NM 87102                    HILLSBOROUGH, OH 45133                     SUITE 700
                                                                                    MADISON, WI 53703




WCDLF SUB CDE XXXVI LLC                  WCDLF SUB CDE XXXVI LLC                    WEAVER MANUFACTURING, INC.
C/O FOLEY & LARDNER LLP                  C/O KEATING MUETHING & KLEKAMP PLL         1005 E. 17TH STREET
WAYMAN LAWRENCE, ESQ                     ATTN JOHN CRANLEY, ESQ                     WICHITA, KS 67214
150 EAST GILMAN STREET                   ONE EAST FOURTH STREET, SUITE 1400
MADISON, WI 53703                        CINCINNATI, OH 45202



WEBAIR, LLC                              WEDC                                       WEISS BERZOWSKI BRADY LLP
15711 W. 13TH                            WISCONSIN ECONOMIC DEV CORP                700 NORTH WATER STREET
GODDARD, KS 67052                        PO BOX 78229                               SUITE 1400
                                         MILWAUKEE, WI 53278-0229                   MILWAUKEE, WI 53202-4222




WELLS FARGO BANK                         WELLS FARGO BANK, NATIONAL                 WELLS FARGO C/O RICOH USA PROGRAM
2048 W COUNTY HIGHWAY 30A                ASSOCIATION                                DALLAS, TX 75265-0073
SUITE 108                                301 SOUTH COLLEGE STREET
SANTA ROSA BEACH, FL 32459               CHARLOTTE, NC 28202




WELLS FARGO                              WELLS FARGO                                WESCO AIRCRAFT HARDWARE CORP.
177 MEETING ST                           200 LOMAS BLVD                             24911 AVENUE STANFORD
2ND FLOOR                                ALBUQUERQUE, NM 87102                      VALENCIA, CA 91355
CHARLESTON, SC 29401




WESCO AIRCRAFT HARDWARE CORP.            WESPAC ABRASIVE & SUPPLY INC               WEST STAR AVIATION, INC
JOHN HOLLAND GENERAL COUNCIL             2121 S PRIEST #118                         796 HERITAGE WAY
27727 AVENUE SCOTT                       TEMPE, AZ 85282                            GRAND JUNCTION, CO 81506
VALENCIA, CA 91355
                          Case 18-12309-JKS
WESTERN STATES FIRE PROTECTION CO      WESTPORTDoc   17 Filed
                                                 INSURANCE      10/10/18
                                                            CORPORATION    Page
                                                                             WEX75 of 77
5200 PASEDENA NE SUITE A&B             SSL CONSOLIDATED PREMIUM ACCOUNT      PO BOX 6293
ALBUQUERQUE, NM 87113                  PO BOX 419401                         CHICAGO, IL 60197-6293
                                       BOSTON, MA 02241-9401




WHITE PINES LEASING, LLC              WHITE PINES LEASING, LLC               WHITNEY VAN BRINK
3557 NELSON RD                        ALAN KLAPMEIER                         6601 TENNYSON ST NE APT 12207
CLOQUET, MN 55720                     3577 NELSON RD                         ALBUQUERQUE, NM 87111
                                      CLOQUET, MN 55328




WILDE GROWTH                          WILKERSON GUTHMANN                     WILKERSON GUTHMANN
PO BOX 356                            1210 W COUNTRY ROAD E, STE 100         1210 WEST COUNTY ROAD E
TWO HARBORS, MN 55616                 ARDEN HILLS, MN 55112                  SUITE 100
                                                                             ARDEN HILLS, MN 55112




WILLIAM BARCLAY                       WILLIAM BRITT                          WILLIAM DELEEUW
7304 CALLE MONTANA NE                 1502 RICHVALE LN                       3236 POPLAR RD
ALBUQUERQUE, NM 87113                 HOUSTON, TX 77062                      DULUTH, MN 55804




WILLIAM EMBRY                         WILLIAM JAMES SHARP                    WILLIAM MCCORMICK
2819 SIERRA VISTA ST NW               11 SUGAR BEACH DRIVE                   9 DREAMCATCHER TRAIL
ALBUQUERQUE, NM 87107                 SANTA ROSA BEACH, FL 32459             ALBUQUERQUE, NM 87043




WILLIAM SCHMIDT                       WILLIAM VORCE                          WILLIAM WEST
7909 ROUGH RIDER RD NE                7000 TAMPICO RD NE                     6101 IMPERATA ST. NE, APT 2521
ALBUQEURQUE, NM 87109                 RIO RANCHO, NM 87144                   ALBUQUERQUE, NM 87111




WILLIAM WEST                          WILLIAMS SCOTSMAN                      WILLIAMS SERVICE
WILLIAM WEST                          CHICAGO, IL 60693
7400 SAN PEDRO DRIVE NE, APT 1094
ALBUQUERQUE, NM 87109




WILLOUGHBY & HOEFER, P.A.             WILMINGTON TRUST NATIONAL              WINDEL INTERNATIONAL
ATTN: ELIZABETH ZECK                  ASSOCIATION                            133 WHITTINGTON COURSE STREET
930 RICHLAND STREET                   AS ADMINISTRATIVE AGENT                ST. CHARLES, IL 60174
COLUMBIA, SC 29202                    50 SOUTH SIXTH STREET
                                      SUITE 1290
                                      MINNEAPOLIS, MN 55402


WINDSOR DOOR SALES, INC               WINGNUT INTERNATIONAL                  WINGS OVER ASIA
3901-A BOGAN AVE NE                   1166 LINCOLN AVE                       66 SELETAR AEROSPACE VIEW #03-01
ALBUQUERQUE, NM 87109                 HIGLAND PARK, IL 60035                 797509 SINGAPORE




WINNER AVIATION CORPORATION           WISCO SUPPLY, INC.                     WISCONSIN DEPARTMENT OF REVENUE
1453 YOUNGSROWN KINGSVILLE RD         3430 PAN AMERICAN FREEWAY NE           2135 RIMROCK RD
VIENNA, OH 44473                      ALBUQUERQUE, NM 87107                  MADISON, WI 53713
WISCONSIN DEPARTMENT OF Case   18-12309-JKS
                         REVENUE       WISCONSINDoc  17 Filed
                                                  DEPARTMENT      10/10/18
                                                              OF REVENUE            Page 76 of 77
                                                                                      WISCONSIN DEPARTMENT OF REVENUE
BUSINESS REGISTRATION TAX              PO BOX 8908                                     PO BOX 930208
PO BOX 8902                            MADISON, WI 53708-8908                          MILWAUKEE, WI 53293-0208
MADISON, WI 53708-8902




WISCONSIN DEPT OF FINANCIAL               WISCONSIN ECONOMIC DEVELOPMENT               WITC -SUW
INSTITUTIONS                              CORPORATION                                  WISCONSIN INDIANHEAD TECHNICAL
WISCONSIN CORPORATION ANNUAL REPORT       201 W WASHINGTON AVENUE                      COLLEGE
DRAWER 554                                MADISON, WI 53703                            CAMPUS
WILWAUKEE, WI 53293-0554                                                               600 NORTH 21ST STREET
                                                                                       SUPERIOR, WI 54880


WOLFF AEROSPACE                           WOODWARD, INC                                WOODWARD, INC.
1725 OAKTON STREET                        5001 N. SECOND STREET                        PO BOX 75861
EVANSTON, IL 60202                        ROCKFORD, IL 61125                           CHARLOTTE, NC 28275




WORDEN SAFETY PRODUCTS, LLC               WORKSPACE DYNAMICS                           WORLD FUEL SERVICES
1548 BURDEN LAKE RD                       4711 LOMAS BLVD N.E.                         2458 PAYSPHERE CIRCLE
AVERILL PARK, NY 12018                    ALBUQUERQUE, NM 87110                        CHICAGO, IL 60674




WTI INC                                   WTI INC                                      WYOMING TEST FIXTURES
ATTN: JEFFREY R. PARKER, VICE PRESIDENT   ATTN: JEFFREY R. PARKER, VICE PRESIDENT      2960 E MILLCREEK RD
AND GENERAL COUNSEL                       AND GENERAL COUNSEL                          SALT LAKE CITY, UT 84109
3737 EAST BROADWAY ROAD                   6633 WEST POST ROAD
PHOENIX, AZ 85040-2966                    LAS VEGAS, NV 89113-2113



XCELLERENT LLC                            XECUTE BUSINESS SOLUTIONS                    XEROX CAPITAL SERVICES, LLC
1955 UNIVERSITY AVE W #200                2618 ORLEANS DR                              100 CLINTON AVENUE
ST PAUL, MN 55104                         SEABROOK, TX 77586                           SOUTH
                                                                                       ROCHESTER, NY 14604-1801




YANKEE PACIFIC AEROSPACE, INC.            YARDE METALS                                 YASH TECHNOLOGIES, INC
AIRCRAFT SYSTEMS DIVISION                 PO BOX 781227                                605 17TH AVE
8664 S PEORIA AVENUE                      PHILADELPHIA, PA 19178-1227                  EAST MOLINE, IL 61244
TULSA, OK 74132




YEZITT HERRERA                            YIWEI ZHOU                                   YOLANDA BROADFOOT
1785 LEE LOOP                             ROLLING MEADOWS, IL 60008                    4 V HILL RD
RIO RANCHO, NM 87144                                                                   EDGEWOOD, NM 87015




YOSHIYUKI NAKAO                           ZACHARY ARBOGAST                             ZEB JOHNSTON
9225 E TANQUE VERDE RD APT 7201           3709 GENERAL CHENNAULT NE
TUCSON, AZ 85749                          ALBUQUERQUE, NM 87111




ZENON GARCIA                              ZERON CORPORATION                            ZHEJIANG JINGGONG HOLDING CO LTD
731 STETSON DR. SW                        43 MONTICELLO DR NE                          KEBEI VILLAGE
ALBUQUERQUE, NM 87121                     ALBUQUERQUE, NM 87123                        SHAOXING 312030 CHINA
ZHEJIANG JINGGONG HOLDING Case   18-12309-JKS
                           CO., LTD.              Doc 17 SYSTEMS
                                         ZODIAC AEROSAFETY   Filed 10/10/18   Page 77 of 77
                                                                                ZORO
19TH FLOOR, JINGGONG PLAZA               4 RUE LESAGE MAILLE CAUDEBEC LES       909 ASBURY DRIVE
NO. 112 JINKEQUIAO ROAD                  ELBEUF 76320 FRANCE                    BUFFALO GROVE, IL 60089
KEQIAO DISTRICT, SHAOXING CITY
ZHEJIANG PROVINCE CHINA



Total: 2253
